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                                                                                             8
                                                                                                                      UNITED STATES DISTRICT COURT
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                                                                                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                                                            11   JUKIN MEDIA, INC., a California             CASE NO. 2:17-cv-356
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                 corporation,
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                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                                                           Plaintiff,        COMPLAINT FOR:
                                                                                            13
                                                                             310-229-9900




                                                                                                                      v.                     1) COPYRIGHT
                                                                                            14                                               INFRINGEMENT; AND
                                                                                                 VIUMBE, LLC a Delaware limited
                                                                                            15   liability company, d/b/a Ebaum’s World;     2) CONTRIBUTORY
                                                                                                 and DOES 1 through 10,                      COPYRIGHT INFRINGEMENT
                                                                                            16
                                                                                                                           Defendants.       DEMAND FOR JURY TRIAL
                                                                                            17
                                                                                                                                             Action Filed:
                                                                                            18                                               Trial Date:
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                                                                                             1         Plaintiff Jukin Media, Inc., for its complaint, alleges the following:
                                                                                             2                                    INTRODUCTION
                                                                                             3         1.     Jukin Media, Inc. (“Jukin”) is a digital media company headquartered
                                                                                             4   in Los Angeles, California. Jukin provides content and licensing resources for
                                                                                             5   internet video content and has a library of over 30,000 pieces of original user-
                                                                                             6   generated content. To build this library, Jukin employs twenty people full time to
                                                                                             7   discover trending and valuable content. These employees devote their time to
                                                                                             8   identifying content that will be popular and valuable – determinations that depend
                                                                                             9   on their data analysis and experience in the digital media industry. Jukin then
                                                                                            10   commits its resources to finding the correct owner of the content and acquiring or
                                                                                            11   licensing it. Once Jukin and the owner enter into a deal, Jukin actively markets the
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                                                                                            12   video to increase its value to the benefit of the creator and Jukin.
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                                                                                            13         2.     Jukin provides private individuals a way to monetize their videos by
                                                                             310-229-9900




                                                                                            14   accessing a historically difficult-to-enter market for media content, and has become
                                                                                            15   a market leader in the discovery, acquisition, monetization, licensing, and
                                                                                            16   distribution of short-form viral video content. In fact, Jukin is consistently ranked
                                                                                            17   among the top watched media properties. Jukin offers a proprietary platform that
                                                                                            18   allows its partners access to its library for use in various commercial applications.
                                                                                            19   Jukin also offers curated video collections via its themed YouTube channels and
                                                                                            20   content-focused websites, and independently produces or co-produces content
                                                                                            21   displayed on broadcast television and other traditional means of media distribution.
                                                                                            22         3.     Jukin also employs a rights management team to actively mitigate the
                                                                                            23   effects of lost revenue to its video owners by seeking licenses or advertising
                                                                                            24   revenue monetization from infringing parties.
                                                                                            25         4.     Despite notice of Jukin’s proprietary rights, Defendant Viumbe, LLC
                                                                                            26   doing business as Ebaum’s World (“Defendant” or “Viumbe”) has and continues to
                                                                                            27   infringe Jukin’s rights, as hundreds of Jukin videos are on Defendants’ website
                                                                                            28   without permission from Jukin or the video creators.
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                                                                                             1                                     THE PARTIES
                                                                                             2         5.     Plaintiff Jukin Media, Inc. is a California corporation with its
                                                                                             3   principal place of business in Los Angeles, California.
                                                                                             4         6.     On information and belief, Defendant Viumbe, LLC is a Delaware
                                                                                             5   LLC with its principal place of business at 1550 Bryant Street, Suite 470, San
                                                                                             6   Francisco, CA 94103.
                                                                                             7         7.     Defendant operates a website at ebaumsworld.com that stores and
                                                                                             8   displays videos, images, and articles uploaded by third parties. Separately, upon
                                                                                             9   information and belief, Defendant’s staff uploads videos to Defendant’s Facebook,
                                                                                            10   Instagram and Twitter accounts (collectively referred to herein as the “Viumbe
                                                                                            11   Social Media Accounts”).
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                                                                                            12         8.     Jukin is currently unaware of the identities of Defendants Does 1–10,
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                                                                                            13   and therefore, sues such Defendants by such pseudonyms. Upon information and
                                                                             310-229-9900




                                                                                            14   belief, discovery will reveal the true identities of those Defendants and Jukin will
                                                                                            15   then amend this Complaint to identify those Defendants by name.
                                                                                            16         9.     Upon information and belief, there now exists, and at all relevant
                                                                                            17   times herein there existed, a unity of interest and ownership between and among
                                                                                            18   Defendants, such that any individuality and separateness between and among them
                                                                                            19   has ceased to exist, and Defendants, and each of them, are the alter egos of each
                                                                                            20   other. Upon information and belief, at all material times herein, each Defendant
                                                                                            21   was the agent, employee, partner, or representative of every other Defendant, and
                                                                                            22   each has the authority to bind the others in transactions with third parties. Upon
                                                                                            23   information and belief, each Defendant named herein committed acts and
                                                                                            24   omissions leading to Jukin’s damages, were acting in concert and active
                                                                                            25   participation with each other in committing the wrongful acts alleged herein, and in
                                                                                            26   so doing acted within the scope and course of their agency with every other
                                                                                            27   Defendant named herein and each of them authorized, directed, accepted, ratified,
                                                                                            28   and approved of such actions.
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                                                                                                                                                                          COMPLAINT
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                                                                                             1                              JURISDICTION AND VENUE
                                                                                             2          10.    This Complaint arises under the Copyright Act, 17 U.S.C. § 101 et
                                                                                             3   seq. Accordingly, this Court has subject matter jurisdiction pursuant to 28 U.S.C.
                                                                                             4   §§ 1331 and 1338.
                                                                                             5          11.    Viumbe is subject to the personal jurisdiction of this Court because,
                                                                                             6   among other things, Viumbe is doing business in the state of California, and the
                                                                                             7   acts of infringement complained of in this Complaint took place in the state of
                                                                                             8   California.
                                                                                             9          12.    Venue is proper in this judicial district pursuant to 28 U.S.C. §
                                                                                            10   1391(b)(2) because a substantial part of the events that give rise to this Complaint
                                                                                            11   occurred in this judicial district.
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                                                                                            12                               FACTUAL ALLEGATIONS
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                                                                                            13          13.    Jukin invests in substantial research and analytical efforts to discover
                                                                             310-229-9900




                                                                                            14   short-form viral videos that it believes may be interesting to the public. Jukin’s
                                                                                            15   twenty full time employees research and evaluate videos, on a case-by-case basis,
                                                                                            16   that are likely to be popular and valuable, i.e., have the potential to go viral. For
                                                                                            17   every 400 videos it reviews, only about 20 are considered for acquisition. Jukin
                                                                                            18   then either licenses or acquires the right to use the videos, or portions thereof, in
                                                                                            19   various commercial applications. Jukin often acquires these rights on an exclusive
                                                                                            20   basis. Jukin monetizes these videos through advertising revenue and by licensing
                                                                                            21   to various distribution channels for use in advertisements, entertainment
                                                                                            22   productions, news programs, and other productions desirous of short-form content.
                                                                                            23   For purposes of this Complaint, videos acquired or licensed by Jukin will be
                                                                                            24   referred to as the “Jukin Original Videos” or simply the “Original Videos.”
                                                                                            25          14.    Jukin also monetizes the Original Videos via broadcast on Jukin’s
                                                                                            26   own branded YouTube channels, on several of its websites including
                                                                                            27   www.JukinVideo.com, and through other partners such as Verizon’s Go90
                                                                                            28   platform and Comcast’s Watchable. Jukin may also re-publish certain videos in
                                                                                                                                            3
                                                                                                                                                                            COMPLAINT
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                                                                                             1   order to increase their distribution. When Jukin republishes the Original Videos, it
                                                                                             2   typically does so almost immediately after acquiring the rights to these videos so
                                                                                             3   that it can expand the virality of the videos and increase its revenue generated
                                                                                             4   therefrom.
                                                                                             5         15.    Jukin’s in-house rights management team spends significant time
                                                                                             6   searching the internet for infringing copies of its Original Videos and identifying
                                                                                             7   persistent infringers. Once infringing content has been identified, the rights
                                                                                             8   management team contacts the infringer and works diligently to try resolving the
                                                                                             9   infringement through a licensing agreement.
                                                                                            10         16.    By acquiring the rights to these Original Videos in exchange for a
                                                                                            11   license fee or a share of net proceeds earned from the videos, Jukin provides a way
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                                                                                            12   for individuals to maximize the potential of their videos in a manner that they
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                                                                                            13   would not be able to otherwise do on their own. Individual video owners are
                                                                             310-229-9900




                                                                                            14   unlikely to have the full resources, knowledge, or contacts to fully monetize their
                                                                                            15   videos, increase views of their videos (from which increased revenue may be
                                                                                            16   derived), or enforce their rights against infringers like Defendants.
                                                                                            17                                          Viumbe
                                                                                            18         17.    Defendant operates a website known as ebaumsworld.com and the
                                                                                            19   Viumbe Social Media Accounts.
                                                                                            20         18.    Ebaumsworld.com operates as a content aggregation site, where its
                                                                                            21   users upload videos, images, and news content. The bulk of the content featured
                                                                                            22   on ebaumsworld.com, and the Viumbe Social Media Accounts, consists of video.
                                                                                            23   The ebaumsworld.com site is accessible via the web, including Facebook,
                                                                                            24   Instagram, and Twitter, and other similar methods of distribution. With respect to
                                                                                            25   the infringing videos on ebaumsworld.com, and the Viumbe Social Media
                                                                                            26   Accounts, each method of distribution constitutes a new and different infringement
                                                                                            27   of the same Jukin Original Video.
                                                                                            28         19.    Many of the videos posted on ebaumsworld.com, and the Viumbe
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                                                                                                                                                                          COMPLAINT
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                                                                                             1   Social Media Accounts are Jukin Original Videos.
                                                                                             2         20.    Defendant does not passively host the infringing content of its users.
                                                                                             3   Instead, Defendant implements a policy of encouraging its subscribers to upload
                                                                                             4   files and uses a screening procedure in which, upon information and belief, its
                                                                                             5   employees (1) view files uploaded and (2) rearrange them based on a specific set
                                                                                             6   of criteria. For example, upon information and belief, Defendant implements a
                                                                                             7   screening procedure in which it scans all uploaded content, and labels certain
                                                                                             8   videos as “featured.” On information and belief, Defendant’s employees then move
                                                                                             9   these “featured” videos so they are prominently placed on ebausmworld.com.
                                                                                            10   These volitional acts cause Defendant to be directly responsible for the
                                                                                            11   infringement of the Jukin Original Videos on ebaumsworld.com.
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                                                                                            12         21.    In addition, upon information and belief, Defendant is solely
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                                                                                            13   responsible for selecting the videos to be posted on the Viumbe Social Media
                                                                             310-229-9900




                                                                                            14   Accounts. While Defendant accepts user generated video submissions, users
                                                                                            15   cannot post videos to the Viumbe Social Media Accounts.
                                                                                            16         22.    Beginning in November 2013, Jukin began to send take-down
                                                                                            17   requests to Defendant, which put Defendant on notice of its infringing activity, and
                                                                                            18   requested Defendant remove the infringing videos from ebaumsworld.com.
                                                                                            19         23.    The volume of Defendant’s infringing videos needing to be reported
                                                                                            20   via the DMCA process became overwhelming. Furthermore, Defendant was still
                                                                                            21   able to take advantage of and profit from the infringement of a Jukin Original
                                                                                            22   Video for the several days preceding its processing of a DMCA take-down request.
                                                                                            23   In many instances, Defendant was taking advantage of the most valuable period of
                                                                                            24   time since the first days and weeks of a video’s posting is typically when it is most
                                                                                            25   viewed.
                                                                                            26         24.    Sometime after Jukin notified Defendant of its infringements in an
                                                                                            27   October 20, 2016 letter, Defendant removed many of the infringing videos. This
                                                                                            28   removal does not compensate Jukin for the harm caused by past infringements of
                                                                                                                                           5
                                                                                                                                                                            COMPLAINT
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                                                                                             1   the Jukin Original Videos, nor does it safeguard against new infringements. To
                                                                                             2   date, new infringing videos are continually uploaded to ebaumsworld.com and the
                                                                                             3   Viumbe Social Media Accounts despite Jukin’s frequent objections and notices of
                                                                                             4   infringement.
                                                                                             5         25.    There have been over 600 unauthorized uses of Jukin’s Original
                                                                                             6   Videos on ebaumsworld.com or Social Media Accounts.
                                                                                             7         26.    Defendant’s actions with respect to its infringements on
                                                                                             8   ebaumsworld.com and the Viumbe Social Media Accounts are not good-faith
                                                                                             9   misunderstandings of the source of the infringed content. The Jukin Original
                                                                                            10   Videos often include licensing information in the description of the video on
                                                                                            11   YouTube, e.g. “Jukin Media Verified (Original) *For licensing/ permission to use:
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                                                                                            12   Contact: licensing@jukinmedia.com.” Jukin Original Videos often also contain a
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                                                                                            13   Jukin trademark, Jukin watermark, and/or Jukin end credits.
                                                                             310-229-9900




                                                                                            14                         Viumbe is Not Protected by the DMCA
                                                                                            15         27.    With respect to the Jukin videos uploaded by third party users to
                                                                                            16   ebaumsworld.com, Defendant is not eligible for safe harbor protection under 17
                                                                                            17   U.S.C. §512(c). Under the Digital Millenium Copyright Act (“DMCA”), an online
                                                                                            18   service provider is only exempt from liability for the infringing acts of its users if it
                                                                                            19   has provided the Copyright Office with an agent to receive notifications of claimed
                                                                                            20   infringement. 17 U.S.C. § 512(c)(2). An exhaustive search of the Copyright
                                                                                            21   Office’s Directory of Service Provider Agents reveals that, at the time of these
                                                                                            22   uses, Viumbe had not designated an agent to receive notifications of claimed
                                                                                            23   infringement. See http://www.copyright.gov/onlinesp/list/a_agents.html.
                                                                                            24   Accordingly, Viumbe cannot rely upon the DMCA safe harbor provision as a
                                                                                            25   defense to its infringement.
                                                                                            26                                  Jukin’s Infringed Videos
                                                                                            27         28.    The videos listed below will collectively be referred to herein as the
                                                                                            28   “Infringing Videos.” As evidenced below, Defendant and its users often publish
                                                                                                                                             6
                                                                                                                                                                            COMPLAINT
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                                                                                             1   the Infringing Videos within days of Jukin’s publication of the Jukin Original
                                                                                             2   Videos.
                                                                                             3            29.   INFRINGEMENT #1: Jukin acquired the rights to “Slow Motion
                                                                                             4   Dock Jump Nutshot” on August 18, 2014, available at
                                                                                             5   https://www.youtube.com/watch?v=qQA5kG9KekE, and incorporated by
                                                                                             6   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             7   Jukin also obtained copyright registration number PA 1-940-806 for this video.
                                                                                             8            30.   On or around October 9, 2014, a video was posted to Defendant’s
                                                                                             9   website entitled “Nothing Like Kicking Back With A Beer And Enjoying The
                                                                                            10   Sunset” at http://www.ebaumsworld.com/video/watch/84268799 and incorporated
                                                                                            11   by reference herein. “Nothing Like Kicking Back With A Beer And Enjoying The
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                                                                                            12   Sunset” copies significant portions of the “Slow Motion Dock Jump Nutshot”
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                                                                                            13   video.
                                                                             310-229-9900




                                                                                            14            31.   INFRINGEMENT #2: Jukin acquired the rights to “Jet Ski Travels
                                                                                            15   through Water in Canyon” on August 27, 2014, available at
                                                                                            16   https://www.youtube.com/watch?v=mQg3hlilED0, and incorporated by reference
                                                                                            17   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            18   obtained copyright registration number PA 1-940-828 for this video.
                                                                                            19            32.   On or around October 9, 2014, a video was posted to Defendant’s
                                                                                            20   website entitled “High Speed Jet Skiing Through Narrow Lake Powell Canyon” at
                                                                                            21   http://www.ebaumsworld.com/video/watch/84269421 and incorporated by
                                                                                            22   reference herein. “High Speed Jet Skiing Through Narrow Lake Powell Canyon”
                                                                                            23   copies significant portions of the “Jet Ski Travels through Water in Canyon” video.
                                                                                            24            33.   INFRINGEMENT #3: Jukin acquired the rights to “Little Boy Not
                                                                                            25   Happy Mom’s Pregnancy Surprise” on August 28, 2014, available at
                                                                                            26   https://www.youtube.com/watch?v=hmQN95ROBcI, and incorporated by
                                                                                            27   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            28   Jukin also obtained copyright registration number PA 1-927-265 for this video.
                                                                                                                                           7
                                                                                                                                                                        COMPLAINT
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                                                                                             1            34.   On or around October 9, 2014, a video was posted to Defendant’s
                                                                                             2   website entitled “Little Boy Goes Off On His Mom For Getting Pregnant” at
                                                                                             3   http://www.ebaumsworld.com/video/watch/84270242 and incorporated by
                                                                                             4   reference herein. “Little Boy Goes Off On His Mom For Getting Pregnant” copies
                                                                                             5   significant portions of the “Little Boy Not Happy Mom’s Pregnancy Surprise”
                                                                                             6   video.
                                                                                             7            35.   INFRINGEMENT #4: Jukin acquired the rights to “Mount Huashan
                                                                                             8   Mountainside Plank Walk” on September 24, 2014, available at
                                                                                             9   https://www.youtube.com/watch?v=Wd-T_YTfxDs, and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA 1-941-393 for this video.
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                                                                                            12            36.   On or around October 10, 2014, a video was posted to Defendant’s
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   website entitled “Mount Hua Shan Plank Walk Without a Harness” at
                                                                             310-229-9900




                                                                                            14   http://www.ebaumsworld.com/video/watch/84293594 and incorporated by
                                                                                            15   reference herein. “Mount Hua Shan Plank Walk Without a Harness” copies
                                                                                            16   significant portions of the “Mount Huashan Mountainside Plank Walk” video.
                                                                                            17            37.   INFRINGEMENT #5: Jukin acquired the rights to “Cat Swings in
                                                                                            18   Baby Swing” on September 17, 2014, available at
                                                                                            19   https://www.youtube.com/watch?v=mU6utt9Kc0k, and incorporated by reference
                                                                                            20   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            21   obtained copyright registration number PA 1-940-800 for this video.
                                                                                            22            38.   On or around October 3, 2014, a video was posted to Defendant’s
                                                                                            23   website entitled “Cat Thinks It’s A Human Baby” at
                                                                                            24   http://www.ebaumsworld.com/video/watch/84293529 and incorporated by
                                                                                            25   reference herein. “Cat Thinks It’s A Human Baby” copies significant portions of
                                                                                            26   the “Cat Swings in Baby Swing” video.
                                                                                            27            39.   INFRINGEMENT #6: Jukin acquired the rights to “Pomeranian Dog
                                                                                            28   Loves Watermelon” on September 22, 2014, available at
                                                                                                                                           8
                                                                                                                                                                       COMPLAINT
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                                                                                             1   https://www.youtube.com/watch?v=QgsTgkxGTQo, and incorporated by reference
                                                                                             2   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             3   obtained copyright registration number PA 1-940-793 for this video.
                                                                                             4         40.    On or around October 2, 2014, a video was posted to Defendant’s
                                                                                             5   website entitled “Can’t Let My Master Know of my Temptation” at
                                                                                             6   http://www.ebaumsworld.com/video/watch/84297021 and incorporated by
                                                                                             7   reference herein. “Can’t Let My Master Know of my Temptation” copies
                                                                                             8   significant portions of the “Pomeranian Dog Loves Watermelon” video.
                                                                                             9         41.    INFRINGEMENT #7: Jukin acquired the rights to “Bear Attacks
                                                                                            10   Camera” on September 29, 2014, available at
                                                                                            11   https://www.youtube.com/watch?v=YnWFRO4SNEM, and incorporated by
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                                                                                            12   reference herein. Jukin subsequently republished this video on its own channel.
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                                                                                            13   Jukin also obtained copyright registration number PA 1-941-387 for this video.
                                                                             310-229-9900




                                                                                            14         42.    On or around October 3, 2014, a video was posted to Defendant’s
                                                                                            15   website entitled “Bear ATTACKS Trail Camera” at
                                                                                            16   http://www.ebaumsworld.com/video/watch/84306466 and incorporated by
                                                                                            17   reference herein. “Bear ATTACKS Trail Camera” copies significant portions of
                                                                                            18   the “Bear Attacks Camera” video.
                                                                                            19         43.    INFRINGEMENT #8: Jukin acquired the rights to “Cat does
                                                                                            20   Impression of President Obama” on October 7, 2014, available at
                                                                                            21   https://www.youtube.com/watch?v=6mTH_pYarGs, and incorporated by reference
                                                                                            22   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            23   obtained copyright registration number PA 1-941-478 for this video.
                                                                                            24         44.    On or around October 8, 2014, a video was posted to Defendant’s
                                                                                            25   website entitled “Just a cat giving a speech on ebola” at
                                                                                            26   http://www.ebaumsworld.com/video/watch/84317010 and incorporated by
                                                                                            27   reference herein. “Just a cat giving a speech on ebola” copies significant portions
                                                                                            28   of the “Cat does Impression of President Obama” video.
                                                                                                                                           9
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                                                                                             1         45.    INFRINGEMENT #9: Jukin acquired the rights to “Kid Lies on
                                                                                             2   Track While Train Passes Over” on October 13, 2014, available at
                                                                                             3   https://www.youtube.com/watch?v=nMlEsSMc274, and incorporated by reference
                                                                                             4   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             5   obtained copyright registration number PA 1-941-465 for this video.
                                                                                             6         46.    On October 15, 2014, a video was posted to Defendant’s website
                                                                                             7   entitled “Kid Lays Down in the Middle of Train Tracks!” at
                                                                                             8   http://www.ebaumsworld.com/video/watch/84325724 and incorporated by
                                                                                             9   reference herein. “Kid Lays Down in the Middle of Train Tracks!” copies
                                                                                            10   significant portions of the “Kid Lies on Track While Train Passes Over” video.
                                                                                            11         47.    INFRINGEMENT #10: Jukin acquired the rights to “Cat Interrupts
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                                                                                            12   Ukelele Practice” on October 14, 2014, available at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   https://www.youtube.com/watch?v=0fYuYPViw_c, and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            15   obtained copyright registration number PA 1-941-428 for this video.
                                                                                            16         48.    On October 15, 2014, a video was posted to Defendant’s website
                                                                                            17   entitled “Interrupting Cat” at http://www.ebaumsworld.com/video/watch/84325294
                                                                                            18   and incorporated by reference herein. “Interrupting Cat” copies significant
                                                                                            19   portions of the “Cat Interrupts Ukelele Practice” video.
                                                                                            20         49.    INFRINGEMENT #11: Jukin acquired the rights to “Redneck Couch
                                                                                            21   Moving System” on October 15, 2014, available at
                                                                                            22   https://www.youtube.com/watch?v=cAuNCNMp0Go, and incorporated by
                                                                                            23   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            24   Jukin also obtained copyright registration number PA 1-941-483 for this video.
                                                                                            25         50.    On October 15, 2014, a video was posted to Defendant’s website
                                                                                            26   entitled “How to move a Couch” at
                                                                                            27   http://www.ebaumsworld.com/video/watch/84324938 and incorporated by
                                                                                            28   reference herein. “How to move a Couch” copies significant portions of the
                                                                                                                                          10
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                                                                                             1   “Redneck Couch Moving System” video. Upon information and belief, the video
                                                                                             2   creator did not post the video to ebaumsworld.com prior to its acquisition by Jukin.
                                                                                             3   Jukin never gave permission for video to be posted to ebaumsworld.com.
                                                                                             4         51.    INFRINGEMENT #12: Jukin acquired the rights to “Puppy Tries to
                                                                                             5   Pull Off Girl's Bikini” on October 25, 2014, available at
                                                                                             6   https://www.youtube.com/watch?v=vVB8cp-t2ag, and incorporated by reference
                                                                                             7   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             8   obtained copyright registration number PA 1-941-493 for this video.
                                                                                             9         52.    On October 22, 2015, a video was posted to Defendant’s website
                                                                                            10   under the following title and at the following link, incorporated by reference
                                                                                            11   herein: “The Best Trick A Dog Can Learn” at
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                                                                                            12   http://www.ebaumsworld.com/video/watch/84332662.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         53.    On April 27, 2016, a video was posted to Defendant’s website under
                                                                             310-229-9900




                                                                                            14   the following title and at the following link, incorporated by reference herein:
                                                                                            15   “Beach Babe Almost Loses Her Top To A Pesky Dog” at
                                                                                            16   http://www.ebaumsworld.com/videos/dog-tries-stealing-bikini-from-babe-at-
                                                                                            17   beach/85007324.
                                                                                            18         54.    The video, at both links, copies significant portions of the “Puppy
                                                                                            19   Tries to Pull Off Girl's Bikini” video.
                                                                                            20         55.    INFRINGEMENT #13: Jukin acquired the rights to “Tree Almost
                                                                                            21   Falls on Target Shooter” on October 23, 2014, available at
                                                                                            22   https://www.youtube.com/watch?v=fA9nTNelQ6o, and incorporated by reference
                                                                                            23   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            24   obtained copyright registration number PA-1-927-271 for this video.
                                                                                            25         56.    On October 29, 2014, a video was posted to Defendant’s website
                                                                                            26   entitled “Man Almost Kills Himself Shooting Gun For The First Time” at
                                                                                            27   http://www.ebaumsworld.com/video/watch/84338674 and incorporated by
                                                                                            28   reference herein. “Man Almost Kills Himself Shooting Gun For The First Time”
                                                                                                                                           11
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                                                                                             1   copies significant portions of the “Tree Almost Falls on Target Shooter” video.
                                                                                             2         57.   INFRINGEMENT #14: Jukin acquired the rights to “Motorist
                                                                                             3   Stopped by Suspicious Road Block” on November 5, 2014, available at
                                                                                             4   https://www.youtube.com/watch?v=ClPZINVp0y8, and incorporated by reference
                                                                                             5   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             6   obtained copyright registration number PA 1-941-422 for this video.
                                                                                             7         58.   On November 5, 2014, a video was posted to Defendant’s website
                                                                                             8   entitled “Suspicious Late Night Roadblock In New Jersey” at
                                                                                             9   http://www.ebaumsworld.com/video/watch/84346736 and incorporated by
                                                                                            10   reference herein. “Suspicious Late Night Roadblock In New Jersey” copies
                                                                                            11   significant portions of the “Motorist Stopped by Suspicious Road Block” video.
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                                                                                            12   Upon information and belief, the video creator did not post the video to
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                             310-229-9900




                                                                                            14   for video to be posted to ebaumsworld.com.
                                                                                            15         59.   INFRINGEMENT #15: Jukin acquired the rights to “Puppy Cannot
                                                                                            16   Wake Up from Nap” on November 5, 2014, available at
                                                                                            17   https://www.youtube.com/watch?v=ZVQbtPl92Kk, and incorporated by reference
                                                                                            18   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            19   obtained copyright registration number PA 1-941-440 for this video.
                                                                                            20         60.   On August 31, 2015, a video was posted to Defendant’s website
                                                                                            21   entitled “Adorable Pit Bull Puppy Taking His Nap” at
                                                                                            22   http://www.ebaumsworld.com/video/watch/84717616 and incorporated by
                                                                                            23   reference herein. “Adorable Pit Bull Puppy Taking His Nap” copies significant
                                                                                            24   portions of the “Puppy Cannot Wake Up from Nap” video.
                                                                                            25         61.   INFRINGEMENT #16: Jukin acquired the rights to “Dog Teaches
                                                                                            26   Baby to Bounce in Swing” on November 6, 2014, available at
                                                                                            27   https://www.youtube.com/watch?v=YD9SEtaVKgA, and incorporated by
                                                                                            28   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                                                                          12
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                                                                                             1   Jukin also obtained copyright registration number PA 1-941-421 for this video.
                                                                                             2         62.   On November 6, 2015, a video was posted to Defendant’s website
                                                                                             3   entitled “Dog And Baby At Play” at
                                                                                             4   http://www.ebaumsworld.com/video/watch/84348347 and incorporated by
                                                                                             5   reference herein. “Dog And Baby At Play” copies significant portions of the “Dog
                                                                                             6   Teaches Baby to Bounce in Swing” video. Upon information and belief, the video
                                                                                             7   creator did not post the video to ebaumsworld.com prior to its acquisition by Jukin.
                                                                                             8   Jukin never gave permission for video to be posted to ebaumsworld.com.
                                                                                             9         63.   INFRINGEMENT #17: Jukin acquired the rights to “Christmas
                                                                                            10   Light Display as Seen by Drone” on December 9, 2014, available at
                                                                                            11   https://www.youtube.com/watch?v=IXieGSAdj4s, and incorporated by reference
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                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   obtained copyright registration number PA 1-941-540 for this video.
                                                                             310-229-9900




                                                                                            14         64.   On December 9, 2014, a video was posted to Defendant’s website
                                                                                            15   entitled “Taking Christmas Light Shows To The Next Level” at
                                                                                            16   http://www.ebaumsworld.com/video/watch/84381171 and incorporated by
                                                                                            17   reference herein. “Taking Christmas Light Shows To The Next Level” copies
                                                                                            18   significant portions of the “Christmas Light Display as Seen by Drone” video.
                                                                                            19   Upon information and belief, the video creator did not post the video to
                                                                                            20   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                            21   for video to be posted to ebaumsworld.com.
                                                                                            22         65.   INFRINGEMENT #18: Jukin acquired the rights to “Christmas
                                                                                            23   Light Show Set to ‘What Does the Fox Say’” on December 15, 2014, available at
                                                                                            24   https://www.youtube.com/watch?v=Ou9FQyde2kY, and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            26   obtained copyright registration number PA 1-941-435 for this video.
                                                                                            27         66.   On December 15, 2014, a video was posted to Defendant’s website
                                                                                            28   entitled “What Does The Fox Say Christmas Light Decorations” at
                                                                                                                                          13
                                                                                                                                                                        COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 15 of 168 Page ID #:15



                                                                                             1   http://www.ebaumsworld.com/video/watch/84386898 and incorporated by
                                                                                             2   reference herein. “What Does The Fox Say Christmas Light Decorations” copies
                                                                                             3   significant portions of the “Christmas Light Show Set to ‘What Does the Fox Say’”
                                                                                             4   video. Upon information and belief, the video creator did not post the video to
                                                                                             5   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                             6   for video to be posted to ebaumsworld.com.
                                                                                             7         67.    INFRINGEMENT #19: Jukin acquired the rights to “Guy Puts
                                                                                             8   Googly Eyes on Sleeping Pit Bull” on January 22, 2015, available at
                                                                                             9   https://www.youtube.com/watch?v=3PkIuO4N9c4, and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA 1-940-905 for this video.
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                                                                                            12         68.    On January 23, 2015, a video was posted to Defendant’s website
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   under the following title and at the following link, incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein: “This Is A new Breed of Pitbull” at
                                                                                            15   http://www.ebaumsworld.com/video/watch/84434361.
                                                                                            16         69.    On January 9, 2016, a video was posted to Defendant’s website under
                                                                                            17   the following title and at the following link, incorporated by reference herein: “Is
                                                                                            18   Than An Upside Down Dog or Something Else?” at
                                                                                            19   http://www.ebaumsworld.com/video/watch/84891239.
                                                                                            20         70.    The video, at both links, copies significant portions of the “Guy Puts
                                                                                            21   Googly Eyes on Sleeping Pit Bull” video.
                                                                                            22         71.    INFRINGEMENT #20: Jukin acquired the rights to “Road Raged
                                                                                            23   Driver Verbally Assaults Woman” on January 28, 2015, available at
                                                                                            24   https://www.youtube.com/watch?v=MDr_J_pLg0A, and incorporated by reference
                                                                                            25   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            26   obtained copyright registration number PA 1-941-516 for this video.
                                                                                            27         72.    On January 28, 2015, a video was posted to Defendant’s website
                                                                                            28   entitled “Crazy Woman Terrorizes Child During Road Rage” at
                                                                                                                                           14
                                                                                                                                                                          COMPLAINT
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                                                                                             1   http://www.ebaumsworld.com/video/watch/84441907 and incorporated by
                                                                                             2   reference herein. “Crazy Woman Terrorizes Child During Road Rage” copies
                                                                                             3   significant portions of the “Road Raged Driver Verbally Assaults Woman” video.
                                                                                             4   Upon information and belief, the video creator did not post the video to
                                                                                             5   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                             6   for video to be posted to ebaumsworld.com.
                                                                                             7         73.    INFRINGEMENT #21: Jukin acquired the rights to “Octopus
                                                                                             8   Emerges from Reef Camouflage” on February 3, 2015, available at
                                                                                             9   https://www.youtube.com/watch?v=l2UeR2pvoMA, and incorporated by reference
                                                                                            10   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            11   obtained copyright registration number PA 1-941-541 for this video.
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                                                                                            12         74.    On February 3, 2015, a video was posted to Defendant’s website
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   entitled “Octopus Shocks Diver With Amazing Camouflage Skills” at
                                                                             310-229-9900




                                                                                            14   http://www.ebaumsworld.com/video/watch/84449846 and incorporated by
                                                                                            15   reference herein. “Octopus Shocks Diver With Amazing Camouflage Skills”
                                                                                            16   copies significant portions of the “Octopus Emerges from Reef Camouflage”
                                                                                            17   video. Upon information and belief, the video creator did not post the video to
                                                                                            18   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                            19   for video to be posted to ebaumsworld.com.
                                                                                            20         75.    INFRINGEMENT #22: Jukin acquired the rights to “Squirrel Hides
                                                                                            21   Nuts in Bra” on February 4, 2015, available at
                                                                                            22   https://www.youtube.com/watch?v=Fneow2aUH3Y, and incorporated by reference
                                                                                            23   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            24   obtained copyright registration number PA 1-941-517 for this video.
                                                                                            25         76.    On February 6, 2015, a video was posted to Defendant’s website
                                                                                            26   entitled “Squirrel hides his nuts..” at
                                                                                            27   http://www.ebaumsworld.com/video/watch/84454446 and incorporated by
                                                                                            28   reference herein. “Squirrel hides his nuts..” copies significant portions of the
                                                                                                                                           15
                                                                                                                                                                          COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 17 of 168 Page ID #:17



                                                                                             1   “Squirrel Hides Nuts in Bra” video.
                                                                                             2         77.    INFRINGEMENT #23: Jukin acquired the rights to “Man and
                                                                                             3   Young Boy Sucked into Drain” on February 5, 2015, available at
                                                                                             4   https://www.youtube.com/watch?v=nTO5gD5th-0, and incorporated by reference
                                                                                             5   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             6   obtained copyright registration number PA0001967929 for this video.
                                                                                             7         78.    On February 3, 2015, a video was posted to Defendant’s website
                                                                                             8   entitled “Group of People Get Sucked Underground” at
                                                                                             9   http://www.ebaumsworld.com/video/watch/84449570 and incorporated by
                                                                                            10   reference herein. “Group of People Get Sucked Underground” copies significant
                                                                                            11   portions of the “Man and Young Boy Sucked into Drain” video. Upon information
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                                                                                            12   and belief, the video creator did not post the video to ebaumsworld.com prior to its
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   acquisition by Jukin. Jukin never gave permission for video to be posted to
                                                                             310-229-9900




                                                                                            14   ebaumsworld.com.
                                                                                            15         79.    INFRINGEMENT #24: Jukin acquired the rights to “Little Girl
                                                                                            16   Sings Metal ABC’s” on February 5, 2015, available at
                                                                                            17   https://www.youtube.com/watch?v=zBvhTA9asug, and incorporated by reference
                                                                                            18   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            19   obtained copyright registration number PA 1-941-437 for this video.
                                                                                            20         80.    On February 9, 2015, a video was posted to Defendant’s website
                                                                                            21   entitled “Little girls doesn’t like the traditional ABC song” at
                                                                                            22   http://www.ebaumsworld.com/video/watch/84460701 and incorporated by
                                                                                            23   reference herein. “Little girls doesn’t like the traditional ABC song” copies
                                                                                            24   significant portions of the “Little Girl Sings Metal ABC’s” video.
                                                                                            25         81.    INFRINGEMENT #25: Jukin acquired the rights to “Little Kid
                                                                                            26   Wobbles down Playground Slide” on February 6, 2015, available at
                                                                                            27   https://www.youtube.com/watch?v=lND7jCY5iFg, and incorporated by reference
                                                                                            28   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                                                                           16
                                                                                                                                                                         COMPLAINT
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                                                                                             1   obtained copyright registration number PA 1-941-520 for this video.
                                                                                             2         82.   On or around February 5, 2015, a video was posted to Defendant’s
                                                                                             3   website entitled “Kid Forgets How to Slide” at
                                                                                             4   http://www.ebaumsworld.com/video/watch/84452430 and incorporated by
                                                                                             5   reference herein. “Kid Forgets How to Slide” copies significant portions of the
                                                                                             6   “Little Kid Wobbles down Playground Slide” video. Upon information and belief,
                                                                                             7   the video creator did not post the video to ebaumsworld.com prior to its acquisition
                                                                                             8   by Jukin. Jukin never gave permission for video to be posted to
                                                                                             9   ebaumsworld.com.
                                                                                            10         83.   INFRINGEMENT #26: Jukin acquired the rights to “Driver Runs
                                                                                            11   Red Light and Hits Car Triggering Airbags” on February 8, 2015, available at
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                                                                                            12   https://www.youtube.com/watch?v=ny01_mvJyjA, and incorporated by reference
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                             310-229-9900




                                                                                            14   obtained copyright registration number PA 1-941-531 for this video.
                                                                                            15         84.   On February 7, 2015, a video was posted to Defendant’s website
                                                                                            16   entitled “Woman Runs Redlight And Hits Car With Dashcam” at
                                                                                            17   http://www.ebaumsworld.com/video/watch/84457850 and incorporated by
                                                                                            18   reference herein. “Woman Runs Redlight And Hits Car With Dashcam” copies
                                                                                            19   significant portions of the “Driver Runs Red Light and Hits Car Triggering
                                                                                            20   Airbags” video. Upon information and belief, the video creator did not post the
                                                                                            21   video to ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave
                                                                                            22   permission for video to be posted to ebaumsworld.com.
                                                                                            23         85.   INFRINGEMENT #27: Jukin acquired the rights to “Woman
                                                                                            24   Struggles to Exit Tiny BMW” on February 9, 2015, available at
                                                                                            25   https://www.youtube.com/watch?v=GBoJlIYF2Z4, and incorporated by reference
                                                                                            26   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            27   obtained copyright registration number PA 1-941-434 for this video.
                                                                                            28         86.   On June 7, 2016, a video was posted to Defendant’s website entitled
                                                                                                                                          17
                                                                                                                                                                        COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 19 of 168 Page ID #:19



                                                                                             1   “Fat Women Try it to Exit from BMW, She Can Do it.” at
                                                                                             2   http://www.ebaumsworld.com/video/fat-women-try-it-to-exit-from-bmw-she-can-
                                                                                             3   do-it/85046841 and incorporated by reference herein. “Fat Women Try it to Exit
                                                                                             4   from BMW, She Can Do it.” copies significant portions of the “Woman Struggles
                                                                                             5   to Exit Tiny BMW” video.
                                                                                             6            87.   INFRINGEMENT #28: Jukin acquired the rights to “Silverback
                                                                                             7   Gorilla Cracks Protective Glass at Zoo” on April 16, 2015, available at
                                                                                             8   https://www.youtube.com/watch?v=KK67kaMWN-8, and incorporated by
                                                                                             9   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            10   Jukin also obtained copyright registration number PA0001967921 for this video.
                                                                                            11            88.   On April 17, 2015, a video was posted to Defendant’s website entitled
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   “Silverback Gorilla Charges And Cracks Safety Glass” at
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   http://www.ebaumsworld.com/video/watch/84550854 and incorporated by
                                                                             310-229-9900




                                                                                            14   reference herein. “Silverback Gorilla Charges And Cracks Safety Glass.” copies
                                                                                            15   significant portions of the “Silverback Gorilla Cracks Protective Glass at Zoo”
                                                                                            16   video.
                                                                                            17            89.   INFRINGEMENT #29: Jukin acquired the rights to “Homeless Man
                                                                                            18   Speaks from the Heart” on June 2, 2015, available at
                                                                                            19   https://www.youtube.com/watch?v=RfU8TUZRtZg, and incorporated by reference
                                                                                            20   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                            21   obtained copyright registration number PA0001956219 for this video.
                                                                                            22            90.   On October 5, 2015, a video was posted to Defendant’s website
                                                                                            23   entitled “Homeless guy spits some Truth” at
                                                                                            24   http://www.ebaumsworld.com/video/watch/84762815 and incorporated by
                                                                                            25   reference herein. “Homeless guy spits some Truth” copies significant portions of
                                                                                            26   the “Homeless Man Speaks from the Heart” video.
                                                                                            27            91.   INFRINGEMENT #30: Jukin acquired the rights to “Groomsman
                                                                                            28   Backflips Into Bridesmaid at Wedding” on July 21, 2015, available at
                                                                                                                                           18
                                                                                                                                                                           COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 20 of 168 Page ID #:20



                                                                                             1   https://www.youtube.com/watch?v=fZShaaPRUNg, and incorporated by reference
                                                                                             2   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                                                             3   obtained copyright registration number PA0001967901 for this video.
                                                                                             4         92.    On July 29, 2015, a video was posted to Defendant’s website entitled
                                                                                             5   “Wedding knockout with UFC commentary !” at
                                                                                             6   http://www.ebaumsworld.com/video/watch/84675588 and incorporated by
                                                                                             7   reference herein. “Wedding knockout with UFC commentary !” copies significant
                                                                                             8   portions of the “Groomsman Backflips Into Bridesmaid at Wedding” video.
                                                                                             9         93.    INFRINGEMENT #31: Jukin acquired the rights to “Bikers Crash
                                                                                            10   into Support Vehicles during Race” on August 9, 2015, available at
                                                                                            11   https://www.youtube.com/watch?v=hRM3bFXlyNk, and incorporated by reference
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                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin also
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   obtained copyright registration number PA0001967899 for this video.
                                                                             310-229-9900




                                                                                            14         94.    On August 9, 2015, a video was posted to Defendant’s website under
                                                                                            15   the following title and at the following link, incorporated by reference herein:
                                                                                            16   “Cyclist Slams Into Vehicle At High Speed” at
                                                                                            17   http://www.ebaumsworld.com/video/watch/84691015.
                                                                                            18         95.    On August 15, 2015, a video was posted to Defendant’s website under
                                                                                            19   the following title and at the following link, incorporated by reference herein:
                                                                                            20   “Cyclist’s Race Comes To A Bone Crushing End” at
                                                                                            21   http://www.ebaumsworld.com/video/watch/84697940.
                                                                                            22         96.    On August 10, 2015, Defendant posted a video under the following
                                                                                            23   title and at the following link, incorporated by reference herein: “This probably
                                                                                            24   hurt :(” at https://twitter.com/ebaumsworld/status/630832130965159936.
                                                                                            25         97.    The video, at all three links, copies significant portions of the “Bikers
                                                                                            26   Crash into Support Vehicles during Race” video. Upon information and belief, the
                                                                                            27   video creator did not post the video to ebaumsworld.com prior to its acquisition by
                                                                                            28   Jukin. Jukin never gave permission for video to be posted to ebaumsworld.com.
                                                                                                                                           19
                                                                                                                                                                           COMPLAINT
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                                                                                             1         98.    INFRINGEMENT #32: Jukin acquired the rights to “Truck Destroys
                                                                                             2   Highway Sign” on August 18, 2015, available at
                                                                                             3   https://www.jukinmedia.com/licensing/view/908235, and incorporated by
                                                                                             4   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                             5   Jukin also obtained copyright registration number PA0001967897 for this video.
                                                                                             6         99.    On August 17, 2015, a video was posted to Defendant’s website under
                                                                                             7   the following title and at the following link, incorporated by reference herein:
                                                                                             8   “DUMP TRUCK DRIVER FORGETS TO PUT HIS LIFTING STRUCTURE
                                                                                             9   DOWN” at http://www.ebaumsworld.com/video/watch/84700341.
                                                                                            10         100. On August 17, 2015, a video was posted to Defendant’s website under
                                                                                            11   the following title and at the following link, incorporated by reference herein:
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                                                                                            12   “Dude… You forgot something!” at
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   http://www.ebaumsworld.com/video/watch/84698772.
                                                                             310-229-9900




                                                                                            14         101. On August 17, 2015, Defendant posted a video under the following
                                                                                            15   title and at the following link, incorporated by reference herein: “You only have to
                                                                                            16   learn this lesson once…” at
                                                                                            17   https://www.facebook.com/ebaumsworld/videos/vb.286683382423/101531668700
                                                                                            18   57424/?type=2&theater.
                                                                                            19         102. The video, at all three links, copies significant portions of the “Truck
                                                                                            20   Destroys Highway Sign” video. Upon information and belief, the video creator did
                                                                                            21   not post the video to ebaumsworld.com prior to its acquisition by Jukin and
                                                                                            22   Defendant did not obtain permission from the video creator to post the video.
                                                                                            23   Jukin never gave permission for video to be posted to ebaumsworld.com or
                                                                                            24   Facebook.
                                                                                            25         103. INFRINGEMENT #33: Jukin acquired the rights to “Motorcyclist
                                                                                            26   Grabs Feet on the Freeway” on November 16, 2015, available at
                                                                                            27   https://www.youtube.com/watch?v=bNKHcJocvSQ, and incorporated by reference
                                                                                            28   herein. Jukin has also filed an application for copyright registration with the
                                                                                                                                           20
                                                                                                                                                                          COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 22 of 168 Page ID #:22



                                                                                             1   United States Copyright Office for this video, application case number 1-
                                                                                             2   3916922464, and is awaiting issuance of the registration.
                                                                                             3         104. On November 16, 2015, a video was posted to Defendant’s website
                                                                                             4   entitled “Grabbing Feet on the Freeway” at
                                                                                             5   http://www.ebaumsworld.com/video/watch/84818213 and incorporated by
                                                                                             6   reference herein. “Grabbing Feet on the Freeway” copies significant portions of
                                                                                             7   the “Motorcyclist Grabs Feet on the Freeway” video. Upon information and belief,
                                                                                             8   the video creator did not post the video to ebaumsworld.com prior to its acquisition
                                                                                             9   by Jukin. Jukin never gave permission for video to be posted to
                                                                                            10   ebaumsworld.com.
                                                                                            11         105. INFRINGEMENT #34: Jukin acquired the rights to “How to
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Properly Insert a Card into an ATM” on December 11, 2015, available at
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   https://www.youtube.com/watch?v=Mg_6rlje6Ao and incorporated by reference
                                                                             310-229-9900




                                                                                            14   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            15   also filed an application for copyright registration with the United States Copyright
                                                                                            16   Office for this video, application case number 1-3916922224, and is awaiting
                                                                                            17   issuance of the registration.
                                                                                            18         106. On December 10, 2015, a video was posted to Defendant’s website
                                                                                            19   entitled “Please Follow The Directions On The Screen” at
                                                                                            20   http://www.ebaumsworld.com/video/watch/84857032 and incorporated by
                                                                                            21   reference herein. “Please Follow The Directions On The Screen” copies
                                                                                            22   significant portions of the “How to Properly Insert a Card into an ATM” video.
                                                                                            23   Upon information and belief, the video creator did not post the video to
                                                                                            24   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                            25   for video to be posted to ebaumsworld.com.
                                                                                            26         107. INFRINGEMENT #35: Jukin acquired the rights to “Broken Urinal
                                                                                            27   Shoots out Water” on December 14, 2015, available at
                                                                                            28   https://www.youtube.com/watch?v=YzZS8CH2jYI and incorporated by reference
                                                                                                                                          21
                                                                                                                                                                         COMPLAINT
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                                                                                             1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             2   also filed an application for copyright registration with the United States Copyright
                                                                                             3   Office for this video, application case number 1-3916904149, and is awaiting
                                                                                             4   issuance of the registration.
                                                                                             5         108. On December 14, 2015, a video was posted to Defendant’s website
                                                                                             6   entitled “Broken Urinal Causes Massive Flood In Bathroom” at
                                                                                             7   http://www.ebaumsworld.com/video/watch/84861725 and incorporated by
                                                                                             8   reference herein. “Broken Urinal Causes Massive Flood In Bathroom” copies
                                                                                             9   significant portions of the “Broken Urinal Shoots out Water” video. Upon
                                                                                            10   information and belief, the video creator did not post the video to
                                                                                            11   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   for video to be posted to ebaumsworld.com.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         109. INFRINGEMENT #36: Jukin acquired the rights to “Lamborghini
                                                                             310-229-9900




                                                                                            14   Drives Through Flood” on January 6, 2016, available at
                                                                                            15   https://www.youtube.com/watch?v=DJM7AEUBmkk and incorporated by
                                                                                            16   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            17   Jukin has also filed an application for copyright registration with the United States
                                                                                            18   Copyright Office for this video, application case number 1-3916904014, and is
                                                                                            19   awaiting issuance of the registration.
                                                                                            20        110.    On January 8, 2016, a video was posted to Defendant’s website
                                                                                            21   entitled “Lamborghini Drives Through a Flood in San Diego” at
                                                                                            22   http://www.ebaumsworld.com/video/watch/84889159 and incorporated by
                                                                                            23   reference herein. “Lamborghini Drives Through a Flood in San Diego” copies
                                                                                            24   significant portions of the “Lamborghini Drives Through Flood” video.
                                                                                            25         111. INFRINGEMENT #37: Jukin acquired the rights to “Woman Pole
                                                                                            26   Dances with Baby” on January 20, 2016, available at
                                                                                            27   https://www.youtube.com/watch?v=snBYPuajEdE&feature=youtu.be, and
                                                                                            28   incorporated by reference herein. Jukin subsequently republished this video on its
                                                                                                                                          22
                                                                                                                                                                          COMPLAINT
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                                                                                             1   own channel. Jukin has also filed an application for copyright registration with the
                                                                                             2   United States Copyright Office for this video, application case number 1-
                                                                                             3   3916872874, and is awaiting issuance of the registration.
                                                                                             4         112. On January 23, 2016, a video was posted to Defendant’s website
                                                                                             5   entitled “Woman Pole Dances with Baby” at
                                                                                             6   http://www.ebaumsworld.com/video/watch/84906482 and incorporated by
                                                                                             7   reference herein. “Woman Pole Dances with Baby” copies significant portions of
                                                                                             8   the “Woman Pole Dances with Baby” video.
                                                                                             9         113. INFRINGEMENT #38: Jukin acquired the rights to “Girlfriend Gets
                                                                                            10   a Math Lesson” on March 27, 2016, available at
                                                                                            11   https://www.jukinmedia.com/licensing/view/930567, and incorporated by
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   reference herein. Jukin subsequently republished this video on its own channel.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Jukin has also filed an application for copyright registration with the United States
                                                                             310-229-9900




                                                                                            14   Copyright Office for this video, application case number 1-3916872839, and is
                                                                                            15   awaiting issuance of the registration.
                                                                                            16         114. On March 27, 2016, a video was posted to Defendant’s website
                                                                                            17   entitled “Guy’s Girlfriend Can’t Figure Out Simple Math Riddle” at
                                                                                            18   http://www.ebaumsworld.com/videos/the-girlfriends-math-lesson/84970993 and
                                                                                            19   incorporated by reference herein. “Guy’s Girlfriend Can’t Figure Out Simple
                                                                                            20   Math Riddle” copies significant portions of the “Girlfriend Gets a Math Lesson”
                                                                                            21   video. Upon information and belief, the video creator did not post the video to
                                                                                            22   ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                            23   for video to be posted to ebaumsworld.com.
                                                                                            24         115. INFRINGEMENT #39: Jukin acquired the rights to “Brothers
                                                                                            25   Convince Little Sister of Zombie Apocalypse” on April 11, 2016, available at
                                                                                            26   https://www.youtube.com/watch?v=-hVWEefD5ag and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
                                                                                                                                          23
                                                                                                                                                                          COMPLAINT
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                                                                                             1   Office for this video, application case number 1-3916872644, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3         116. On April 11, 2016, a video was posted to Defendant’s website entitled
                                                                                             4   “Brothers Convince Little Sister of Zombie Apocalypse” at
                                                                                             5   http://www.ebaumsworld.com/videos/brothers-convince-little-sister-of-zombie-
                                                                                             6   apocalypse/84988725 and incorporated by reference herein. “Brothers Convince
                                                                                             7   Little Sister of Zombie Apocalypse” copies significant portions of the Jukin
                                                                                             8   “Brothers Convince Little Sister of Zombie Apocalypse” video. Upon information
                                                                                             9   and belief, the video creator did not post the video to ebaumsworld.com prior to its
                                                                                            10   acquisition by Jukin. Jukin never gave permission for video to be posted to
                                                                                            11   ebaumsworld.com.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         117. INFRINGEMENT #40: Jukin acquired the rights to “Son Likes to
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Scare Dad” on April 21, 2016, available at
                                                                             310-229-9900




                                                                                            14   https://www.youtube.com/watch?v=wCgGX6z_2yM and incorporated by
                                                                                            15   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                            16   Jukin has also filed an application for copyright registration with the United States
                                                                                            17   Copyright Office for this video, application case number 1-3916872439, and is
                                                                                            18   awaiting issuance of the registration.
                                                                                            19         118. On May 9, 2016, a video was posted to Defendant’s website entitled
                                                                                            20   “Guy Enjoys Scaring His Dad Mega Compilation!” at
                                                                                            21   http://www.ebaumsworld.com/videos/guy-enjoys-scaring-his-dad-mega-
                                                                                            22   compilation/85021127 and incorporated by reference herein. “Guy Enjoys Scaring
                                                                                            23   His Dad Mega Compilation!” copies significant portions of the “Son Likes to
                                                                                            24   Scare Dad” video.
                                                                                            25         119. INFRINGEMENT #41: Jukin acquired the rights to “Little Girl
                                                                                            26   Argues with Dad over Future Boyfriend” on April 26, 2016, available at
                                                                                            27   https://www.youtube.com/watch?v=EkmGLBQX6Cg and incorporated by
                                                                                            28   reference herein. Jukin subsequently republished this video on its own channel.
                                                                                                                                          24
                                                                                                                                                                          COMPLAINT
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                                                                                             1   Jukin has also filed an application for copyright registration with the United States
                                                                                             2   Copyright Office for this video, application case number 1-3916872404, and is
                                                                                             3   awaiting issuance of the registration.
                                                                                             4         120. On April 27, 2016, a video was posted to Defendant’s website entitled
                                                                                             5   “Scottish Father Has The Boyfriend Talk With His Daughter” at
                                                                                             6   http://www.ebaumsworld.com/videos/scottish-father-has-the-boyfriend-talk-with-
                                                                                             7   his-daughter/85007017 and incorporated by reference herein. “Scottish Father Has
                                                                                             8   The Boyfriend Talk With His Daughter” copies significant portions of the “Little
                                                                                             9   Girl Argues with Dad over Future Boyfriend” video.
                                                                                            10         121. INFRINGEMENT #42: Jukin acquired the rights to “Raccoon Snaps
                                                                                            11   at Man” on April 26, 2016, available at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   https://www.youtube.com/watch?v=Yl8CpkxyBmM and incorporated by reference
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                             310-229-9900




                                                                                            14   also filed an application for copyright registration with the United States Copyright
                                                                                            15   Office for this video, application case number 1-3916872359, and is awaiting
                                                                                            16   issuance of the registration.
                                                                                            17         122. On May 2, 2016, a video was posted to Defendant’s website entitled
                                                                                            18   “Idiot Tries To Feed A Raccoon From The Palm Of His Hand” at
                                                                                            19   http://www.ebaumsworld.com/videos/idiot-tries-to-feed-a-raccoon-from-the-palm-
                                                                                            20   of-his-hand/85014599 and incorporated by reference herein. “Idiot Tries To Feed
                                                                                            21   A Raccoon From The Palm Of His Hand” copies significant portions of the
                                                                                            22   “Raccoon Snaps at Man” video.
                                                                                            23         123. INFRINGEMENT #43: Jukin acquired the rights to “Guy Tries to
                                                                                            24   Front Flip off Swegway” on May 3, 2016, available at
                                                                                            25   https://www.youtube.com/watch?v=NmnB_llbbaY and incorporated by reference
                                                                                            26   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            27   also filed an application for copyright registration with the United States Copyright
                                                                                            28   Office for this video, application case number 1-3916872244, and is awaiting
                                                                                                                                           25
                                                                                                                                                                          COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 27 of 168 Page ID #:27



                                                                                             1   issuance of the registration.
                                                                                             2         124. On May 5, 2016, a video was posted to Defendant’s website under the
                                                                                             3   following title and at the following link, incorporated by reference herein: “Epic
                                                                                             4   Hoverboard Front Flip” at http://www.ebaumsworld.com/videos/epic-hoverboard-
                                                                                             5   front-flip/85017443.
                                                                                             6         125. On May 18, 2016, a video was posted to Defendant’s website under
                                                                                             7   the following title and at the following link, incorporated by reference herein:
                                                                                             8   “How NOT To Dismount A Hoverboard” at
                                                                                             9   http://www.ebaumsworld.com/videos/how-not-to-dismount-a-
                                                                                            10   hoverboard/85030130.
                                                                                            11         126. On August 10, 2016, a video was posted to Defendant’s website under
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   the following title and at the following link, incorporated by reference herein:
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   “Front Flip Off Hoverboard Fail” at http://www.ebaumsworld.com/videos/front-
                                                                             310-229-9900




                                                                                            14   flip-off-hoverboard-fail/85102108.
                                                                                            15         127. The video, at all three links, copies significant portions of the “Guy
                                                                                            16   Tries to Front Flip off Swegway” video.
                                                                                            17         128. INFRINGEMENT #44: Jukin acquired the rights to “Drunk Guy
                                                                                            18   Drives onto Beach” on May 12, 2016, available at
                                                                                            19   https://www.youtube.com/watch?v=T2L08dzkg_g and incorporated by reference
                                                                                            20   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            21   also filed an application for copyright registration with the United States Copyright
                                                                                            22   Office for this video, application case number 1-3916922995, and is awaiting
                                                                                            23   issuance of the registration.
                                                                                            24         129. On May 11, 2016, a video was posted to Defendant’s website under
                                                                                            25   the following title and at the following link, incorporated by reference herein:
                                                                                            26   “Drunk Gets Stuck Attempting To Offroad With His Jeep” at
                                                                                            27   http://www.ebaumsworld.com/videos/drunk-gets-stuck-attempting-to-offroad-
                                                                                            28   with-his-jeep/85023707.
                                                                                                                                           26
                                                                                                                                                                          COMPLAINT
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                                                                                             1         130. On June 27, 2016, a video was posted to Defendant’s website under
                                                                                             2   the following title and at the following link, incorporated by reference herein:
                                                                                             3   “Drunk Guy Gets His Jeep Stuck In The Ocean” at
                                                                                             4   http://www.ebaumsworld.com/videos/drunk-guy-drives-his-jeep-into-the-
                                                                                             5   ocean/85064787.
                                                                                             6         131. The video, at both links, copies significant portions of the “Drunk
                                                                                             7   Guy Drives onto Beach” video. Upon information and belief, the video creator did
                                                                                             8   not post the video to ebaumsworld.com prior to its acquisition by Jukin. Jukin
                                                                                             9   never gave permission for video to be posted to ebaumsworld.com.
                                                                                            10         132. INFRINGEMENT #45: Jukin acquired the rights to “Snakes Eats
                                                                                            11   Eggs in Nest” on May 14, 2016, available at
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   https://www.youtube.com/watch?v=uzHwsW5EVvw and incorporated by
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   reference herein. Jukin subsequently republished this video on its own channel.
                                                                             310-229-9900




                                                                                            14   Jukin has also filed an application for copyright registration with the United States
                                                                                            15   Copyright Office for this video, application case number 1-3913838375, and is
                                                                                            16   awaiting issuance of the registration.
                                                                                            17         133. On May 13, 2016, a video was posted to Defendant’s website entitled
                                                                                            18   “Guy Sets Up a Go-Pro In a Bird’s Nest, Catches Horrifying Visitor” at
                                                                                            19   http://www.ebaumsworld.com/videos/guy-sets-up-a-go-pro-in-a-birds-nest-
                                                                                            20   catches-horrifying-visitor/85026078 and incorporated by reference herein. “Guy
                                                                                            21   Sets Up a Go-Pro In a Bird’s Nest, Catches Horrifying Visitor” copies significant
                                                                                            22   portions of the “Snakes Eats Eggs in Nest” video. Upon information and belief,
                                                                                            23   the video creator did not post the video to ebaumsworld.com prior to its acquisition
                                                                                            24   by Jukin. Jukin never gave permission for video to be posted to
                                                                                            25   ebaumsworld.com.
                                                                                            26         134. INFRINGEMENT #46: Jukin acquired the rights to “Mother Rat
                                                                                            27   Saves Baby from Snake” on July 3, 2016, available at
                                                                                            28   https://www.youtube.com/watch?v=pG24RyFd2BI incorporated by reference
                                                                                                                                          27
                                                                                                                                                                          COMPLAINT
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                                                                                             1   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             2   also filed an application for copyright registration with the United States Copyright
                                                                                             3   Office for this video, application case number 1-3913754002, and is awaiting
                                                                                             4   issuance of the registration.
                                                                                             5         135. On July 3, 2016, a video was posted to Defendant’s website entitled
                                                                                             6   “Rat Mom Saves Baby Rat From Snake . . . ” at
                                                                                             7   http://www.ebaumsworld.com/videos/rat-mom-saves-baby-rat-from-snake-rat-vs-
                                                                                             8   snake/85070381 and incorporated by reference herein. “Rat Mom Saves Baby Rat
                                                                                             9   From Snake . . .” copies significant portions of the “Mother Rat Saves Baby from
                                                                                            10   Snake” video. Upon information and belief, the video creator did not post the
                                                                                            11   video to ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   permission for video to be posted to ebaumsworld.com.
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         136. INFRINGEMENT #47: Jukin acquired the rights to “People
                                                                             310-229-9900




                                                                                            14   Stampede to Catch Pokemon in Central Park” on July 16, 2016, available at
                                                                                            15   https://www.youtube.com/watch?v=MLdWbwQJWI0 incorporated by reference
                                                                                            16   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            17   also filed an application for copyright registration with the United States Copyright
                                                                                            18   Office for this video, application case number 1-3913753867, and is awaiting
                                                                                            19   issuance of the registration.
                                                                                            20         137. On July 16, 2016, a video was posted to Defendant’s website entitled
                                                                                            21   “Rare Pokemon Causes Stampede in The Streets” at
                                                                                            22   http://www.ebaumsworld.com/videos/pokemon-stampede-in-the-streets/85081631
                                                                                            23   and incorporated by reference herein. “Rare Pokemon Causes Stampede in The
                                                                                            24   Streets” copies significant portions of the “People Stampede to Catch Pokemon in
                                                                                            25   Central Park” video. Upon information and belief, the video creator did not post
                                                                                            26   the video to ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave
                                                                                            27   permission for video to be posted to ebaumsworld.com.
                                                                                            28         138. INFRINGEMENT #48: Jukin acquired the rights to “Skateboarder
                                                                                                                                          28
                                                                                                                                                                         COMPLAINT
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                                                                                             1   Smashes Window of Expensive Car” on July 20, 2016, available at
                                                                                             2   https://www.youtube.com/watch?v=l7yt-VPYtOA incorporated by reference
                                                                                             3   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                             4   also filed an application for copyright registration with the United States Copyright
                                                                                             5   Office for this video, application case number 1-3913626969, and is awaiting
                                                                                             6   issuance of the registration.
                                                                                             7         139. On July 20, 2016, a video was posted to Defendant’s website entitled
                                                                                             8   “Asshole In Sports Car Almost Hits Skateboarder And Gets His Windshield
                                                                                             9   Smashed” at http://www.ebaumsworld.com/videos/skateboarder-smashes-
                                                                                            10   windshield-of-a-250000-mclaren/85083728 and incorporated by reference herein.
                                                                                            11   “Asshole In Sports Car Almost Hits Skateboarder And Gets His Windshield
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   Smashed” copies significant portions of the “Skateboarder Smashes Window of
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Expensive Car” video. Upon information and belief, the video creator did not post
                                                                             310-229-9900




                                                                                            14   the video to ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave
                                                                                            15   permission for video to be posted to ebaumsworld.com.
                                                                                            16         140. INFRINGEMENT #49: Jukin acquired the rights to “Bears Breaks
                                                                                            17   into House” on July 31, 2016, available at
                                                                                            18   https://www.youtube.com/watch?v=_aFOt4I7SP8 incorporated by reference
                                                                                            19   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            20   also filed an application for copyright registration with the United States Copyright
                                                                                            21   Office for this video, application case number 1-3956484032, and is awaiting
                                                                                            22   issuance of the registration.
                                                                                            23         141. On July 31, 2016, a video was posted to Defendant’s website under
                                                                                            24   the following title and at the following link, incorporated by reference herein:
                                                                                            25   “Homeowner Comes Home To Find a Bear Inside the House” at
                                                                                            26   http://www.ebaumsworld.com/videos/homeowner-comes-home-to-find-a-bear-
                                                                                            27   inside-the-house/85093831.
                                                                                            28         142. On August 9, 2016, a video was posted to Defendant’s website under
                                                                                                                                          29
                                                                                                                                                                          COMPLAINT
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                                                                                             1   the following title and at the following link, incorporated by reference herein:
                                                                                             2   “Bear Breaks Into House” at http://www.ebaumsworld.com/videos/bear-breaks-
                                                                                             3   into-house/85101357.
                                                                                             4         143. The video, at both links, copies significant portions of the Jukin
                                                                                             5   “Bears Breaks into House” video. Upon information and belief, the video creator
                                                                                             6   did not post the video to ebaumsworld.com prior to its acquisition by Jukin. Jukin
                                                                                             7   never gave permission for video to be posted to ebaumsworld.com.
                                                                                             8         144. INFRINGEMENT #50: Jukin acquired the rights to “Python Attacks
                                                                                             9   Man Trying to Take a Selfie” on September 25, 2016, available at
                                                                                            10   https://www.jukinmedia.com/licensing/view/941312 and incorporated by reference
                                                                                            11   herein. Jukin subsequently republished this video on its own channel. Jukin has
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   also filed an application for copyright registration with the United States Copyright
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   Office for this video, application case number 1-4257676602, and is awaiting
                                                                             310-229-9900




                                                                                            14   issuance of the registration.
                                                                                            15         145. On September 24, 2016, a video was posted to Defendant’s website
                                                                                            16   entitled “Snake Selfie Turns Painful for this Photobomber” at
                                                                                            17   http://www.ebaumsworld.com/videos/snake-selfie-turns-painful-for-this-
                                                                                            18   photobomber/85146497 and incorporated by reference herein. “Snake Selfie Turns
                                                                                            19   Painful for this Photobomber” copies significant portions of the “Python Attacks
                                                                                            20   Man Trying to Take a Selfie” video. Upon information and belief, the video
                                                                                            21   creator did not post the video to ebaumsworld.com prior to its acquisition by Jukin.
                                                                                            22   Jukin never gave permission for video to be posted to ebaumsworld.com.
                                                                                            23         146. INFRINGEMENT #51: Jukin acquired the rights to “Driver
                                                                                            24   Witnesses Major Speed Trap” on September 13, 2016, available at
                                                                                            25   https://www.jukinmedia.com/licensing/view/940598 and incorporated by reference
                                                                                            26   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            27   also filed an application for copyright registration with the United States Copyright
                                                                                            28   Office for this video, application case number 1-4240931381, and is awaiting
                                                                                                                                          30
                                                                                                                                                                          COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 32 of 168 Page ID #:32



                                                                                             1   issuance of the registration.
                                                                                             2         147. On September 13, 2016, a video was posted to Defendant’s website
                                                                                             3   entitled “Las Vegas Speed Trap” at http://www.ebaumsworld.com/videos/las-
                                                                                             4   vegas-speed-trap/85134769 and incorporated by reference herein. “Las Vegas
                                                                                             5   Speed Trap” copies significant portions of the “Driver Witnesses Major Speed
                                                                                             6   Trap” video. Upon information and belief, the video creator did not post the video
                                                                                             7   to ebaumsworld.com prior to its acquisition by Jukin. Jukin never gave permission
                                                                                             8   for video to be posted to ebaumsworld.com.
                                                                                             9         148. INFRINGEMENT #52: Jukin acquired the rights to “Car Tries to
                                                                                            10   Pass Up Bus and Crashes” on October 13, 2016, available at
                                                                                            11   https://www.jukinmedia.com/licensing/view/942469 and incorporated by reference
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                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   also filed an application for copyright registration with the United States Copyright
                                                                             310-229-9900




                                                                                            14   Office for this video, application case number 1-4260308554, and is awaiting
                                                                                            15   issuance of the registration.
                                                                                            16         149. On October 13, 2016, a video was posted to Defendant’s website
                                                                                            17   entitled “Instant Karma for This Impatient Prick In A BMW” at
                                                                                            18   http://www.ebaumsworld.com/videos/instant-karma-for-bmw-driver-in-a-
                                                                                            19   rush/85164278 and incorporated by reference herein. “Instant Karma for This
                                                                                            20   Impatient Prick In A BMW” copies significant portions of the “Car Tries to Pass
                                                                                            21   Up Bus and Crashes” video. Upon information and belief, the video creator did
                                                                                            22   not post the video to ebaumsworld.com prior to its acquisition by Jukin. Jukin
                                                                                            23   never gave permission for video to be posted to ebaumsworld.com.
                                                                                            24         150. INFRINGEMENT #53: Jukin acquired the rights to “Man Uses
                                                                                            25   Drone to Catch Cheating Wife” on November 14, 2016, available at
                                                                                            26   https://www.jukinmedia.com/licensing/view/944585 and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
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                                                                                                                                                                         COMPLAINT
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                                                                                             1   Office for this video, application case number 1-4260308826, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3         151. On November 15, 2016, a video was posted to Defendant’s website
                                                                                             4   entitled “Drone Used to Catch Cheating Wife” at
                                                                                             5   http://www.ebaumsworld.com/videos/drone-used-to-catch-cheating-
                                                                                             6   wife/85192598 and incorporated by reference herein. “Drone Used to Catch
                                                                                             7   Cheating Wife” copies significant portions of the “Man Uses Drone to Catch
                                                                                             8   Cheating Wife” video.
                                                                                             9         152. INFRINGEMENT #54: Jukin acquired the rights to “Fire Erupts in
                                                                                            10   Firework Store” on November 2, 2016, available at
                                                                                            11   https://www.jukinmedia.com/licensing/view/943769 and incorporated by reference
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   also filed an application for copyright registration with the United States Copyright
                                                                             310-229-9900




                                                                                            14   Office for this video, application case number 1-4292765342, and is awaiting
                                                                                            15   issuance of the registration.
                                                                                            16         153. On November 2, 2016, a video was posted to Defendant’s website
                                                                                            17   entitled “Watch an Entire Street Selling Fireworks in India Catch on Fire” at
                                                                                            18   http://www.ebaumsworld.com/videos/an-entire-street-selling-fireworks-in-india-
                                                                                            19   caught-fire/85181124 and incorporated by reference herein. “Watch an Entire
                                                                                            20   Street Selling Fireworks in India Catch on Fire” copies significant portions of the
                                                                                            21   “Fire Erupts in Firework Store” video. Upon information and belief, the video
                                                                                            22   creator did not post the video to ebaumsworld.com prior to its acquisition by Jukin.
                                                                                            23   Jukin never gave permission for video to be posted to ebaumsworld.com.
                                                                                            24         154. INFRINGEMENT #55: Jukin acquired the rights to “Girl Can't Take
                                                                                            25   off 100 Pieces of Clothing” on October 19, 2016, available at
                                                                                            26   https://www.jukinmedia.com/licensing/view/942667 and incorporated by reference
                                                                                            27   herein. Jukin subsequently republished this video on its own channel. Jukin has
                                                                                            28   also filed an application for copyright registration with the United States Copyright
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                                                                                                                                                                         COMPLAINT
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                                                                                             1   Office for this video, application case number 1-4292765276, and is awaiting
                                                                                             2   issuance of the registration.
                                                                                             3         155. On October 23, 2016, a video was posted to Defendant’s website
                                                                                             4   entitled “Girl Has Panic Attack Trying To Remove T-Shirt?” at
                                                                                             5   http://www.ebaumsworld.com/videos/girl-has-panic-attack-trying-to-remove-t-
                                                                                             6   shirt/85172649 and incorporated by reference herein. “Girl Has Panic Attack
                                                                                             7   Trying To Remove T-Shirt?” copies significant portions of the “Girl Can't Take off
                                                                                             8   100 Pieces of Clothing” video.
                                                                                             9                                   Other Infringing Videos
                                                                                            10         156. In addition to the Original Videos described above, Defendant also
                                                                                            11   used the following Jukin Original Videos without Jukin’s authorization. Upon
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   information and belief, the video creator did not post any of these videos to
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   ebaumsworld.com prior to their acquisition by Jukin.
                                                                             310-229-9900




                                                                                            14         157. In each of the following cases, Defendant’s Infringing Videos copy a
                                                                                            15   significant portion or the entirety of the Original Video. Jukin reserves the right to
                                                                                            16   file copyright applications with respect to these videos and to amend this
                                                                                            17   Complaint to bring claims based on these videos.
                                                                                            18          JUKIN ORIGINAL VIDEO                    DEFENDANTS’ INFRINGING
                                                                                            19          AND ACQUISITION DATE                    VIDEO AND POST DATE
                                                                                            20   1.     “High Dive Accident”                    “This Girl Jumping From High Dive
                                                                                            21          (https://www.youtube.com/watch?         Board Results In Complete Disaster!”
                                                                                            22          v=VFKUKX9ToNI) – acquired               (http://www.ebaumsworld.com/video
                                                                                            23          July 28, 2014                           /watch/84737182/) – posted Sept. 16,
                                                                                            24                                                  2015
                                                                                            25   2.     “Epic Fail – Drunk Guy With             “Big Wave Launches Guide
                                                                                            26          Bicycle Kick vs Punching                Airborne”
                                                                                            27          Machine”                                (http://www.ebaumsworld.com/video
                                                                                            28                                                  /watch/84635585/) – posted on June
                                                                                                                                           33
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                                                                                             1        (https://www.youtube.com/watch?        27, 2015
                                                                                             2        v=_-xAYHWnzFs) – acquired
                                                                                             3        June 7, 2015
                                                                                             4   3.   “Giraffe Tries to Hump                 “How Can You Tell If A Giraffe
                                                                                             5        Motorcycles”                           Likes Your Motorcycle?”
                                                                                             6        (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             7        v=dP-pXTeCiJU) – acquired Aug. /watch/84266594) – posted Oct. 9,
                                                                                             8        8, 2014                                2014
                                                                                             9

                                                                                            10   4.   “Insane Roller Coaster”                “This Crazy Dude May Give You
                                                                                            11        (https://www.youtube.com/watch?        Anxiety!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12        v=xv-rdyCByaE) – acquired July         (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13        15, 2015                               /watch/84702606/) – posted Aug. 19,
                                                                             310-229-9900




                                                                                            14                                               2015
                                                                                            15   5.   “French Bulldog Can't Reach Ball       “Dogs Failing At Being Dogs
                                                                                            16        on Sofa Cushion”                       Compilation”
                                                                                            17        (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            18        v=sVqTQqnds20) – acquired              /watch/84538377/) – posted April 6,
                                                                                            19        Aug. 14, 2014                          2015
                                                                                            20   6.   “Brazilian Rodeo Kicks off with        “Insane Helicopter Pilot Dances
                                                                                            21        Helicopter Show”                       Waltz in Rodeio Show”
                                                                                            22        (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            23        v=K16vRppBw6U) – acquired              /watch/84267789) – posted Aug. 26,
                                                                                            24        Aug. 14, 2014                          2014
                                                                                            25   7.   “ALS Ice Bucket Challenge              “ALS Ice Bucket Challenge FAIL”
                                                                                            26        FAIL”                                  (http://www.ebaumsworld.com/video
                                                                                            27                                               /watch/84258610) – posted Oct. 2,
                                                                                            28                                               2014
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                                                                                             1         (https://www.youtube.com/watch?
                                                                                             2         v=l8kjhmIM9JM) – acquired
                                                                                             3         Aug. 19, 2014
                                                                                             4   8.    “ALS Ice Bucket Challenge             “ALS Ice Bucket Challenge Gone
                                                                                             5         Bucket Falls on Girl”                 Very Wrong”
                                                                                             6         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             7         v=IYkTliRG3mU) – acquired             /watch/84259481) – posted Oct. 2,
                                                                                             8         Aug. 19, 2014                         2014
                                                                                             9   9.    “Cat Wants More Petting”              “If You Pet This Cat, He’ll Pet You
                                                                                            10         (https://www.youtube.com/watch?       Back”
                                                                                            11         v=JMScDk3ZMgw) – acquired             (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Aug. 22, 2014                         /watch/84266447) – posted Oct. 9,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               2014
                                                                             310-229-9900




                                                                                            14   10.   “Cheese Roll Downhill Race            “Epic Faceplant During The Cheese
                                                                                            15         Faceplant”                            Rolling Run”
                                                                                            16         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            17         v=OW2108LQ63U) – acquired             /watch/84266800) – posted Oct. 9,
                                                                                            18         Aug. 23, 2014                         2014
                                                                                            19   11.   “ALS Ice Bucket Challenge Fail        “Ice Bucket Challenge Almost Kills
                                                                                            20         Tractor Hits Head”                    This Guy”
                                                                                            21         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22         v=Jj4HE-IA0ig) – acquired Aug.        /watch/84274153) – posted Oct. 8,
                                                                                            23         23, 2014                              2014
                                                                                            24   12.   “Roofer Dancing On Roof”              “Roof Tiler Dances To Latin Music
                                                                                            25         (https://www.youtube.com/watch?       On The Job”
                                                                                            26         v=dWnhSJZ6L58) – acquired             (http://www.ebaumsworld.com/video
                                                                                            27         Aug. 27, 2014                         /watch/84282322) – posted Sept. 9,
                                                                                            28                                               2014
                                                                                                                                        35
                                                                                                                                                                      COMPLAINT
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                                                                                             1   13.   “Pit Bull Dog Goes Crazy for          “Pit Bull Goes Crazy For Bubbles”
                                                                                             2         Bubbles”                              (http://www.ebaumsworld.com/video
                                                                                             3         (https://www.youtube.com/watch?       /watch/84267188) – posted Aug. 25,
                                                                                             4         v=gSZeiGLUXEY) – acquired             2014
                                                                                             5         Aug. 27, 2014
                                                                                             6   14.   “Yorkie Dog Pets Owner's Face”               “Little Yorkie Dog Petting a
                                                                                             7         (https://www.youtube.com/watch?       Man’s Face”
                                                                                             8         v=vyZOEzEzm-Q) – acquired             (http://www.ebaumsworld.com/video
                                                                                             9         Aug. 27, 2014                         /watch/84270246) – posted Oct. 9,
                                                                                            10                                               2014
                                                                                            11   15.   “Coyote Roams Streets Past            “Cleveland Coyote!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Pedestrians”                          (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         (https://www.youtube.com/watch?       /watch/84272747) – posted Oct. 3,
                                                                             310-229-9900




                                                                                            14         v=h0kcEa_uRuA) – acquired             2014
                                                                                            15         Aug. 28, 2014
                                                                                            16   16.   “Surfer Swaps Surfboard (Video        “Surfer Switches Board On A Huge
                                                                                            17         2)”                                   Wave”
                                                                                            18         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            19         v=BOsVnB3Zix4) – acquired             /watch/84271422) – posted Aug. 29,
                                                                                            20         Aug. 28, 2014                         2014
                                                                                            21   17.   “Helpful Motorcyclist Gets            “Biker Gets Threatened For Being
                                                                                            22         Threatened”                           Helpful”
                                                                                            23         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            24         v=7IhTi0-7xhU) – acquired Sept.       /watch/84271502) – posted Aug. 29,
                                                                                            25         2, 2014                               2014
                                                                                            26   18.   “Hammerhead Shark Hunts Near          “People Have close Call With
                                                                                            27         Swimmers”                             Hammerhead Shark”
                                                                                            28

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                                                                                             1         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             2         v=BLG2v8yD0Fk) – acquired             /watch/84271494) – posted Aug. 24,
                                                                                             3         Sept. 2, 2014                         2014
                                                                                             4   19.   “Bald Eagle Steals GoPro              “Eagle Steals GoPro”
                                                                                             5         Camera”                               (http://www.ebaumsworld.com/video
                                                                                             6         (https://www.youtube.com/watch?       /watch/84269011) – posted Aug. 27,
                                                                                             7         v=r5mo50OyO1M) – acquired             2014
                                                                                             8         Sept. 2, 2014
                                                                                             9   20.   “Uphill Dirt Bike Crashes into        “Dirt Biker vs Tree”
                                                                                            10         Tree”                                 (http://www.ebaumsworld.com/video
                                                                                            11         (https://www.youtube.com/watch?       /watch/84267954)
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=I5ZoBIc735E)                        – posted Aug. 26, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         – acquired Sept. 2, 2014
                                                                             310-229-9900




                                                                                            14   21.   “Little Girl Sad That Hello Kitty Is “Little Girl Goes Scary On Mom’s
                                                                                            15         A Girl”                               Ass When She Discovers…”
                                                                                            16         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            17         v=ia8TApyPhH0) – acquired             /watch/84275134) – posted Oct. 10,
                                                                                            18         Sept. 2, 2014                         2014
                                                                                            19   22.   “Woman Misses Building                “Dog Trolls His Owner Into Missing
                                                                                            20         Implosion Because of Dog”             Building Demolition”
                                                                                            21         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22         v=3NzcqTyofnE) – acquired Sept. /watch/84287553) – posted Oct. 3,
                                                                                            23         15, 2014                              2014
                                                                                            24   23.   “Stunt Plane Crashes into Ocean”      “Plane Crashes Into Pacific Ocean
                                                                                            25         (https://www.youtube.com/watch?       During Air Show”
                                                                                            26         v=ChcWmK7lq_I) – acquired             (http://www.ebaumsworld.com/video
                                                                                            27         Sept. 15, 2014                        /watch/84288321) – posted Oct. 9,
                                                                                            28                                               2014
                                                                                                                                        37
                                                                                                                                                                      COMPLAINT
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                                                                                             1   24.   “World Coyote Howling                  “Hunter Does A Coyote Call”
                                                                                             2         Champion Howls into Forest”            (http://www.ebaumsworld.com/video
                                                                                             3         (https://www.youtube.com/watch?        /watch/84289593) – posted Oct. 8,
                                                                                             4         v=vI_xEzMhGYo) – acquired              2014
                                                                                             5         Sept. 17, 2014
                                                                                             6                                                “Hunter Uses Coyote Call, Gets
                                                                                             7                                                Terrifying Response”
                                                                                             8                                                (http://www.ebaumsworld.com/video
                                                                                             9                                                /watch/84290112) – posted Oct. 8,
                                                                                            10                                                2014
                                                                                            11   25.   “Playful Puppy Rolls Down Hill”        “English Bulldog Puppy Loves
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?        Rolling Down The Hill”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         v=DVefdkqOkp8) – acquired              (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         Sept. 18, 2014                         /watch/84293530) – posted Oct. 8,
                                                                                            15                                                2014
                                                                                            16   26.   “Guys Tease Drunk Friend Trying        “Funny Encounter Between Two
                                                                                            17         to Puke in Public”                     Drunks”
                                                                                            18         (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                            19         nsing/view/13343) – acquired           /watch/84293728) – posted Oct. 9,
                                                                                            20         Sept. 19, 2014                         2014
                                                                                            21   27.   “Girl Chugs Pint of Beer in 5.5        “Look Ma! No Hands!”
                                                                                            22         Seconds”                               (http://www.ebaumsworld.com/video
                                                                                            23         (https://www.youtube.com/watch?        /watch/84300592) – posted Oct. 9,
                                                                                            24         v=dV-b0qIHBgA) – acquired              2014
                                                                                            25         Sept. 24, 2014
                                                                                            26   28.   “Cat Drinks a Beer”                    “Cat Drinks Beer”
                                                                                            27

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                                                                                             1         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             2         v=saB6nTVQ2sA) – acquired              /watch/84308804/) – posted Oct. 2,
                                                                                             3         Oct. 1, 2014                           2014
                                                                                             4   29.   “Rain Cloud Rolls in over Ocean        “Wall of Rain Approaches Greece”
                                                                                             5         at Insanely Fast Speed”                (http://www.ebaumsworld.com/video
                                                                                             6         (https://www.youtube.com/watch?        /watch/84317015/) – posted Oct. 8,
                                                                                             7         v=UtjXGCVL1ng) – acquired              2014
                                                                                             8         Oct. 3, 2014
                                                                                             9   30.   “Amazing Rope Swing Slow               “The Best Tarzan Fail Ever”
                                                                                            10         Motion Jump Fail Over Creek”           (http://www.ebaumsworld.com/video
                                                                                            11         (https://www.youtube.com/watch?        /watch/84315277/) – posted Oct. 7,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=4B_y-XogQr0) – acquired Oct.         2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         3, 2014
                                                                             310-229-9900




                                                                                            14   31.   “Videographer Almost Struck by         “Almost Got Struck By Lighting”
                                                                                            15         Lightning”                             (http://www.ebaumsworld.com/video
                                                                                            16         (https://www.youtube.com/watch?        /watch/84324935/) – posted Oct. 15,
                                                                                            17         v=Egg9kCPz4PY) – acquired Oct. 2014
                                                                                            18         10, 2014
                                                                                            19   32.   “Little Boy Dances to Local            “Kid Dupstepping Like a Boss!”
                                                                                            20         Pakistani Song”                        (http://www.ebaumsworld.com/video
                                                                                            21         (https://www.youtube.com/watch?        /watch/84327146/) – posted Oct. 16,
                                                                                            22         v=BbIaX1L5rVc) – acquired Oct.         2014
                                                                                            23         14, 2014
                                                                                            24   33.   “Driver Rear Ends Car after Road       “Two Angry Drivers Screwing With
                                                                                            25         Rage Taunting”                         Each Other”
                                                                                            26         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            27         v=L-qvEgF12OA) – acquired Oct. /watch/84329173/) – posted Oct. 18,
                                                                                            28         18, 2014                               2015
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                                                                                             1   34.   “Old Man Boxer Takes Out Young “Student Challenges His Old Boxing
                                                                                             2         Boxer”                              Trainer and Gets Knocked Out!”
                                                                                             3         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             4         v=h7tHWa1Zr9s) – acquired Oct.      /watch/84449668/) – posted Feb. 3,
                                                                                             5         20, 2014                            2015
                                                                                             6   35.   “Guy Speeds Off on Homemade         “The Fastest Homemade Boat In The
                                                                                             7         Boat”                               Amazon”
                                                                                             8         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             9         v=ybpdNcMPs8s) – acquired Oct. /watch/84346016/) – posted Nov. 4,
                                                                                            10         25, 2014                            2014
                                                                                            11   36.   “Rocker Beats Up Fan”               “Fat Mike Kicks a Fan During a
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?     NOFX Concert in Sydney”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         v=Ip1ZEPXIO_w) – acquired           (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         Nov. 6, 2014                        /watch/84346720/) – posted Nov. 5,
                                                                                            15                                             2014
                                                                                            16   37.   “Soda Stream Causes Red Wine        “Making Sparking Wine With
                                                                                            17         Explosion”                          SodaStream Machine Fail”
                                                                                            18         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            19         v=bITUjh6pWkc) – acquired           /watch/84347319/) – posted Nov. 5,
                                                                                            20         Nov. 6, 2014                        2014
                                                                                            21   38.   “Roommate Cleans While              “Roommate Gets Caught In The Act”
                                                                                            22         Dancing in Underwear”               (http://www.ebaumsworld.com/video
                                                                                            23         (https://www.youtube.com/watch?     /watch/84349584/) – posted Nov. 8,
                                                                                            24         v=L7R35qjky7w) – acquired Nov. 2014
                                                                                            25         8, 2014
                                                                                            26   39.   “Kid Microwaves Glow Stick and      “Microwaved Glo-Stick Explodes in
                                                                                            27         it Blows Up in His Face”            Kid’s Face”
                                                                                            28

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                                                                                                                                                                    COMPLAINT
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                                                                                             1         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             2         v=iRUSQm5ZskQ) – acquired             /watch/84351503/) – posted Nov. 10,
                                                                                             3         Nov. 10, 2014                         2014
                                                                                             4   40.   “Owl Smiles for the Camera”           “Laughing Owl”
                                                                                             5         (https://www.jukinmedia.com/lice      (http://www.ebaumsworld.com/video
                                                                                             6         nsing/view/14456) – acquired          /watch/84349377/) – posted Nov. 7,
                                                                                             7         Nov. 10, 2014                         2014
                                                                                             8   41.   “Baby Plays Heavy Metal on            “A Baby Plays The Drums”
                                                                                             9         Make-shift Drum Set”                  (http://www.ebaumsworld.com/video
                                                                                            10         (https://www.youtube.com/watch?       /watch/84352721/) – posted Nov. 11,
                                                                                            11         v=losTyef5Nxg) – acquired Nov.        2014
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         10, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               “A Baby Plays The Drums”
                                                                             310-229-9900




                                                                                            14                                               (http://www.ebaumsworld.com/video
                                                                                            15                                               /watch/84354378/) – posted Nov. 11,
                                                                                            16                                               2014
                                                                                            17   42.   “Multiple Boats Crash during          “Rowing Team’s Competition Fail”
                                                                                            18         Crew Race”                            (http://www.ebaumsworld.com/video
                                                                                            19         (https://www.jukinmedia.com/lice      /watch/84462782/) – posted Feb. 2,
                                                                                            20         nsing/view/14507) – acquired          2015
                                                                                            21         Nov. 11, 2014
                                                                                            22   43.   “Wife Reveals Pregnancy to            “Husband’s Funny Reaction To
                                                                                            23         Husband through Box”                  Pregnancy News”
                                                                                            24         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            25         v=DI2HsEAUdck) – acquired             /watch/84361608/) – posted Nov. 20,
                                                                                            26         Nov. 18, 2014                         2014
                                                                                            27   44.   “Ferret Jumps Short of Target”        “Ferret Takes A Leap Of Faith”
                                                                                            28         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                                                                        41
                                                                                                                                                                      COMPLAINT
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                                                                                             1         v=FkHbC1RSjv8) – acquired             /watch/84364833/) – posted Nov. 21,
                                                                                             2         Nov. 18, 2014                         2014
                                                                                             3   45.   “Cat Gets Trapped in Plastic Box”     “How To Trap A Cat With A Laser
                                                                                             4         (https://www.youtube.com/watch?       Pointer”
                                                                                             5         v=YApmmxkXF6Y) – acquired             (http://www.ebaumsworld.com/video
                                                                                             6         Nov. 19, 2014                         /watch/84361697/) – posted Nov.
                                                                                             7                                               18, 2014
                                                                                             8   46.   “Guy Farts Star Wars Imperial         “This Guy Can Fart The Imperial
                                                                                             9         March”                                Death March”
                                                                                            10         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            11         v=Q4-yIf5ocig) – acquired Nov.        /watch/84359845/ ) – posted Nov.
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         19, 2014                              17, 2014
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   47.   “Little Girl Dances Along with        “Little Girl Initiates A Spontaneous
                                                                             310-229-9900




                                                                                            14         Subway Performers”                    Subway Dance Party”
                                                                                            15         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            16         v=g1tVbD2aQ7E) – acquired             /watch/84376997/) – posted Dec. 5,
                                                                                            17         Dec. 5, 2014                          2014
                                                                                            18   48.   “Baby Won't Let Mom Sleep”            “Mom Sleeping With Baby
                                                                                            19         (https://www.youtube.com/watch?       Interrupts!”
                                                                                            20         v=3DrB_rfiFu8) – acquired Dec.        (http://www.ebaumsworld.com/video
                                                                                            21         7, 2014                               /watch/84377828/) – posted Dec. 5,
                                                                                            22                                               2014
                                                                                            23   49.   “Kid Makes People                     “British People React To
                                                                                            24         Uncomfortable with Public Phone       Uncomfortable Things In Public”
                                                                                            25         Calls”                                (http://www.ebaumsworld.com/video
                                                                                            26         (https://www.youtube.com/watch?       /watch/84378408/) – posted Dec. 6,
                                                                                            27         v=49p0snQwo0M) – acquired             2014
                                                                                            28         Dec. 7, 2014
                                                                                                                                        42
                                                                                                                                                                        COMPLAINT
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                                                                                             1                                                “How To Make People Feel
                                                                                             2                                                Uncomfortable”
                                                                                             3                                                (http://www.ebaumsworld.com/video
                                                                                             4                                                /watch/84378477/) – posted Dec. 6,
                                                                                             5                                                2014
                                                                                             6   50.   “The Grinch Steals Spotlight in        “How To Unwind After Stealing
                                                                                             7         Yoga Class”                            Christmas”
                                                                                             8         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             9         v=HsvyjePPFRs) – acquired Dec.         /watch/84380953/) – posted Dec. 9,
                                                                                            10         9, 2014                                2014
                                                                                            11   51.   “Developer Hides Resignation           “Game Developer Quits, Leaves
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Letter in Phone Game”                  Surprise Ending For Boss”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         v=opLuIroZVUQ) – acquired              /watch/84384452/) – posted Dec. 12,
                                                                                            15         Dec. 12, 2014                          2014
                                                                                            16   52.   “Dog Balances Treat on Nose            “Dog Has The Discipline Of A
                                                                                            17         without Eating it”                     Samurai”
                                                                                            18         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            19         v=gbEn0U6raGw) – acquired              /watch/84387570/) – posted Dec. 16,
                                                                                            20         Dec. 16, 2014                          2014
                                                                                            21   53.   “Megatron Street Performer Calls       “Megatron Slams This Generation’s
                                                                                            22         Out Selfie Seeker”                     Obsession With Selfies”
                                                                                            23         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            24         v=M5rpbCQlo6Q) – acquired              /watch/84387926/) – posted Dec. 17,
                                                                                            25         Dec. 17, 2014                          2014
                                                                                            26   54.   “Woman Drives Police Boot off          “Woman Gets Her BMW Booted and
                                                                                            27         Car at Bad Girls Club Audition”        Drives Off Anyway”
                                                                                            28         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                         43
                                                                                                                                                                        COMPLAINT
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                                                                                             1         v=fC4uhOxHqk8) – acquired               s/woman-gets-her-bmw-booted-and-
                                                                                             2         Dec. 21, 2014                           drives-off-anyway/85123445/) –
                                                                                             3                                                 posted Sept. 1, 2016
                                                                                             4   55.   “Dog Loves Jumping in Ball Pit”         “Dog Loses His Sh*t In The Ball
                                                                                             5         (https://www.youtube.com/watch?         Pits”
                                                                                             6         v=f3u3Xs8sQwQ) – acquired Jan. (http://www.ebaumsworld.com/video
                                                                                             7         4, 2015                                 /watch/84696668/) – posted Aug. 14,
                                                                                             8                                                 2015
                                                                                             9   56.   “Base Jumper Trips and Falls off        “Huge Trip and Fall Base Jump!”
                                                                                            10         Building”                               (http://www.ebaumsworld.com/video
                                                                                            11         (https://www.youtube.com/watch?         /watch/84599513/) – posted May 26,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=lv7GcS_v32Y) – acquired Jan.          2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         12, 2015
                                                                             310-229-9900




                                                                                            14   57.   “Rare Michigan Ermine Pops out          “Peek-A-Boo”
                                                                                            15         of Tree”                                (http://www.ebaumsworld.com/video
                                                                                            16         (https://www.youtube.com/watch?         /watch/84723918/) – posted Sept. 4,
                                                                                            17         v=vkemK00kPo4) – acquired Jan. 2015
                                                                                            18         15, 2015
                                                                                            19   58.   “Baby Twins Play Peekaboo”              “Peekaboo Twins”
                                                                                            20         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            21         v=PEQNzcnz0rU) – acquired Jan. /watch/84434860/) – posted Jan. 23,
                                                                                            22         16, 2015                                2015
                                                                                            23   59.   “Dog Rescued from Island in             “Dog Rescue”
                                                                                            24         River”                                  (http://www.ebaumsworld.com/video
                                                                                            25         (https://www.youtube.com/watch?         /watch/84453267/) – posted Feb. 5,
                                                                                            26         v=V8cSXS-xhnc) – acquired Jan.          2015
                                                                                            27         20, 2015
                                                                                            28   60.   “Little Kid Freaks out when             “Oh My Goodness!”
                                                                                                                                          44
                                                                                                                                                                        COMPLAINT
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                                                                                             1         Tortoises Mate”                       (http://www.ebaumsworld.com/video
                                                                                             2         (https://www.youtube.com/watch?       /watch/84433753/) – posted Jan. 23,
                                                                                             3         v=bhftttaOiQ4) – acquired Jan.        2015
                                                                                             4         23, 2015
                                                                                             5   61.   “Guy Gets Stuck on Pole”              “How to Prank Your Friends With a
                                                                                             6         (https://www.youtube.com/watch?       Lamp Post”
                                                                                             7         v=sZC1Op7eKqg) – acquired Jan. (http://www.ebaumsworld.com/video
                                                                                             8         26, 2015                              /watch/84437894/) – posted Jan. 26,
                                                                                             9                                               2015
                                                                                            10   62.   “Guy Pops Champagne Bottle            “The Grossest Way To Open A Beer”
                                                                                            11         with Butt”                            (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?       /watch/84436759/) – posted Jan. 25,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         v=m1PnDWyAxRM) – acquired             2015
                                                                             310-229-9900




                                                                                            14         Jan. 26, 2015
                                                                                            15                                               “Party Boy Opens Champagne Bottle
                                                                                            16                                               With His Butt Cheeks”
                                                                                            17                                               (http://www.ebaumsworld.com/video
                                                                                            18                                               s/party-boy-opens-champagne-bottle-
                                                                                            19                                               with-his-butt-cheeks/85109456/) –
                                                                                            20                                               posted Aug. 18, 2016
                                                                                            21   63.   “Dog Frees Cat's Head Stuck in        “Don’t Move Buddy I got This”
                                                                                            22         Cup”                                  (http://www.ebaumsworld.com/video
                                                                                            23         (https://www.youtube.com/watch?       /watch/84436016/)
                                                                                            24         v=ZanVBv1XBIo) – acquired Jan. – posted Jan. 24, 2015
                                                                                            25         26, 2015
                                                                                            26   64.   “Little Kid Rocks on Electric         “Awesome 12 Year Old Kid Rocks
                                                                                            27         Guitar Street Performance”            Out To AC-DC”
                                                                                            28         (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                                                                        45
                                                                                                                                                                      COMPLAINT
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                                                                                             1         v=LcD3z23KvOo) – acquired Jan. /watch/84440055/) – posted Jan. 27,
                                                                                             2         29, 2015                            2015
                                                                                             3   65.   “Cat Punishes Bad Singer”           “Spazaline is in an abusive
                                                                                             4         (https://www.youtube.com/watch?     relationship”
                                                                                             5         v=SdBLgrp0VWo) – acquired           (http://www.ebaumsworld.com/video
                                                                                             6         Jan. 28, 2015                       /watch/84438287/) – posted Jan. 26,
                                                                                             7                                             2015
                                                                                             8

                                                                                             9   66.   “Overloaded Truck Topples Over” “The Best Funny Fails Ever!”
                                                                                            10         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            11         v=VHqHI4wHuQk) – acquired           s/the-best-funny-fails-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Jan. 29, 2015                       ever/85129949/) – posted Sept. 7,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                             2016
                                                                             310-229-9900




                                                                                            14   67.   “Student Plays Indiana Jones        “Here Comes Indiana Jones!”
                                                                                            15         Theme because of Professor's Hat” (http://www.ebaumsworld.com/video
                                                                                            16         (https://www.youtube.com/watch?     /watch/84442665/) – posted Jan. 29,
                                                                                            17         v=wDuLNx7Q_RE) – acquired           2015
                                                                                            18         Jan. 29, 2015
                                                                                            19   68.   “Man Frees Young Buck from          “Louisiana Man Frees Deer Caught
                                                                                            20         Fence”                              in Fence”
                                                                                            21         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            22         v=krMrQ6TtDe4) – acquired Jan.      /watch/84445165/) – posted Jan. 30,
                                                                                            23         29, 2015                            2015
                                                                                            24   69.   “Man Plays Jenga with Mouse         “Want To Play A Game Of Mouse
                                                                                            25         Trap, Loses”                        Trap Jenga?”
                                                                                            26         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            27         v=EA5Z1761ImI) – acquired Feb. /watch/84447359/) – posted Feb. 2,
                                                                                            28         2, 2015                             2015
                                                                                                                                      46
                                                                                                                                                                     COMPLAINT
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                                                                                             1   70.   “Man Creates New Way to Shovel         “Snow shovel hack…”
                                                                                             2         Snow”                                  (http://www.ebaumsworld.com/video
                                                                                             3         (https://www.youtube.com/watch?        /watch/84469793/) – posted Feb. 16,
                                                                                             4         v=FNdUAatXLY4) – acquired              2015
                                                                                             5         Feb. 2, 2015
                                                                                             6   71.   “Thieves Slip on Ice Robbing           “Drunk Thief Gets Painful Instant
                                                                                             7         Consignment Store”                     Karma For Stealing Concrete Lion”
                                                                                             8         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             9         v=IfgFa3bHDXI) – acquired Feb.         /watch/84448748/) – posted Feb. 2,
                                                                                            10         3, 2015                                2015
                                                                                            11   72.   “Friend Shows Off Freaky Neck          “Kid Moves His Head Like An
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Move”                                  Owl…”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         v=7rQhBlTkvt4) – acquired Feb.         /watch/84456691/) – posted Feb. 7,
                                                                                            15         3, 2015                                2015
                                                                                            16   73.   “Two Guys Freak Out over Missy         “Super Bowl 2015 Halftime Show
                                                                                            17         Elliott's Superbowl Performance”       Reaction To Surprise Guest Missy”
                                                                                            18         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            19         v=BYef6JugQCM) – acquired              /watch/84449847/) – posted Feb. 3,
                                                                                            20         Feb. 3, 2015                           2015
                                                                                            21   74.   “Drone Crashes into Skyscraper         “Drone Goes Out Of Range And
                                                                                            22         Twice”                                 Crashes Into Skyscraper”
                                                                                            23         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            24         v=YN1nLff6k0k) – acquired Feb.         /watch/84449666/) – posted Feb. 3,
                                                                                            25         4, 2015                                2015
                                                                                            26   75.   “Sheep Raised by Collies Thinks        “After Growing up With Just Dogs,
                                                                                            27         She's a Dog”                           Sheep Believes its a Dog Too”
                                                                                            28         (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                         47
                                                                                                                                                                         COMPLAINT
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                                                                                             1         v=0y2ZxgJNlWs) – acquired Feb. /watch/84452282/) posted Feb. 4,
                                                                                             2         5, 2015                                 2015
                                                                                             3   76.   “Girl Struggles to Walk in Heels        “Stripper Has Trouble Getting Home
                                                                                             4         on Ice”                                 In Her High Heals”
                                                                                             5         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             6         v=Yxl6gaa4n8c) – acquired Feb.          /watch/84452929/) – posted Feb. 5,
                                                                                             7         9, 2015                                 2015
                                                                                             8

                                                                                             9   77.   “Kid Screams and Sings                  “How to Come Back From Being
                                                                                            10         Chandelier”                             Scared”
                                                                                            11         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=lDEWuLQDOCA) – acquired               /watch/84476524/) – posted Feb. 19,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         Feb. 13, 2015                           2015
                                                                             310-229-9900




                                                                                            14   78.   “Sea Lion Chases Child's Glove at       “Sea Lion Playing Fetch With Little
                                                                                            15         Zoo”                                    Girls Glove”
                                                                                            16         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            17         v=bOyAO0H1gck) – acquired               /watch/84471319/) – posted Feb. 16,
                                                                                            18         Feb. 16, 2015                           2015
                                                                                            19   79.   “Drunk Guy Falls when Door              “Drunk Polish Guy Makes an
                                                                                            20         Opens”                                  Entrance”
                                                                                            21         (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            22         nsing/view/16394) – acquired            /watch/84481184/) – posted Feb. 23,
                                                                                            23         Feb. 18, 2015                           2015
                                                                                            24   80.   “Bass on ‘Turn Down for What’           “How to Remove Snow From Your
                                                                                            25         Removes Snow on Car”                    Car”
                                                                                            26         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            27         v=IdM8bVwTyIU) – acquired               /watch/84497348/) – posted March
                                                                                            28         Feb. 20, 2015                           5, 2015
                                                                                                                                          48
                                                                                                                                                                        COMPLAINT
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                                                                                             1   81.   “Behind the Back Ping Pong Shot” “Game Winning Behind-The-Back
                                                                                             2         (https://www.youtube.com/watch?     Trick Shot”
                                                                                             3         v=IumELWqOScA) – acquired           (http://www.ebaumsworld.com/video
                                                                                             4         Feb. 23, 2015                       /watch/84512888/) – posted March
                                                                                             5                                             17, 2015
                                                                                             6

                                                                                             7                                             “Table Tennis Thus Life”
                                                                                             8                                             (http://www.ebaumsworld.com/video
                                                                                             9                                             /watch/84545494/) – posted April
                                                                                            10                                             12, 2015
                                                                                            11   82.   “Kid Hits Mid-Air Archery Target    “Little Kid Makes Impressive
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         Over his Shoulder”                  Archery Shot”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         v=KuvmR20yCe8) – acquired           /watch/84487788/) – posted Feb. 26,
                                                                                            15         Feb. 23, 2015                       2015
                                                                                            16

                                                                                            17   83.   “Man Rescues Pelican with           “Men Save Pelican With Fishing
                                                                                            18         Fishing Wire Stuck on Beak”         Line Wrapped Around Its Beak”
                                                                                            19         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            20         v=Q95plibVr3A) – acquired Feb.      /watch/84507025/) – posted March
                                                                                            21         24, 2015                            12, 2015
                                                                                            22

                                                                                            23                                             “Good Samaritans Free Pelican
                                                                                            24                                             Trapped in Fishing Line”
                                                                                            25                                             (http://www.ebaumsworld.com/video
                                                                                            26                                             /watch/84697908/) – posted Aug. 15,
                                                                                            27                                             2015
                                                                                            28   84.   “Friend Films Guy as He Poses for “Goofball gets owned with a fake
                                                                                                                                      49
                                                                                                                                                                      COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 51 of 168 Page ID #:51



                                                                                             1         Picture”                             selfie”
                                                                                             2         (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             3         v=1hkZw8E_J1U) – acquired            /watch/84474854/) – posted Feb. 23,
                                                                                             4         Feb. 23, 2015                        2015
                                                                                             5

                                                                                             6                                              “Trolled By Girlfriend During Photo
                                                                                             7                                              Op”
                                                                                             8                                              (http://www.ebaumsworld.com/video
                                                                                             9                                              /watch/84626282/) – posted June 18,
                                                                                            10                                              2015
                                                                                            11   85.   “Dog Adds More Cowbell”              “Needs More Cowbell”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=ui0PwmmzJTE) – acquired            /watch/84481396/) – posted Feb. 23,
                                                                             310-229-9900




                                                                                            14         Feb. 24, 2015                        2015
                                                                                            15   86.   “Husky Puppy Tries to Talk”          “Talking Husky Puppy Has A Lot To
                                                                                            16         (https://www.youtube.com/watch?      Say”
                                                                                            17         v=QNot4iC7K8s) – acquired Feb. (http://www.ebaumsworld.com/video
                                                                                            18         25, 2015                             /watch/84485552/) – posted Feb. 25,
                                                                                            19                                              2015
                                                                                            20   87.   “Attempted Car Thief Hits Self in    “Instant Karma for this Stupid
                                                                                            21         Head with Brick”                     Thief!”
                                                                                            22         (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            23         v=jdQw9dGrAEU) – acquired            /watch/84492743/) – posted March
                                                                                            24         Feb. 27, 2015                        2, 2015
                                                                                            25

                                                                                            26                                              “When Brick Throwing Backfires”
                                                                                            27                                              (http://www.ebaumsworld.com/video
                                                                                            28                                              s/when-brick-throwing-
                                                                                                                                       50
                                                                                                                                                                      COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 52 of 168 Page ID #:52



                                                                                             1                                                 backfires/85110456/) – posted Aug.
                                                                                             2                                                 19, 2016
                                                                                             3   88.   “Playful Kitten Yelled at by            “Asshole Instantly Regrets Trying To
                                                                                             4         Cranky Cat”                             Fuck With Someone Who Was
                                                                                             5         (https://www.youtube.com/watch?         Minding Their Own Business”
                                                                                             6         v=N2y4JioxUMs) – acquired               (http://www.ebaumsworld.com/video
                                                                                             7         March 2, 2015                           /watch/84494400/) – posted March
                                                                                             8                                                 2, 2015
                                                                                             9   89.   “Skier Flips into Tree and Lands        “Trees Are Hard To See In a Snow
                                                                                            10         in Hospital”                            Storm!”
                                                                                            11         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         v=nlKQoXPGY7Q) – acquired               /watch/84507037/) – posted March
                                                    LOS ANG ELES, CA 90067
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                                                                                            13         March 3, 2015                           12, 2015
                                                                             310-229-9900




                                                                                            14   90.   “Dog Taken out by Guy on Slip N         “Dog Gets Destroyed In Slow Motion
                                                                                            15         Slide”                                  On a Slip-n-Slide”
                                                                                            16         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            17         v=RtOUBXDcrB0) – acquired               /watch/84667497/) – posted July 22,
                                                                                            18         March 2, 2015                           2015
                                                                                            19   91.   “Jumping on Exercise Ball Prank”        “F.R.I.E.N.D.S”
                                                                                            20         (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            21         v=wfu1GlIF67c) – acquired               /watch/84894989/) – posted Jan. 13,
                                                                                            22         March 4, 2015                           2016
                                                                                            23   92.   “Talented Rapping Dog”                  “Rocky the Yorkshire Dog Raps
                                                                                            24         (https://www.youtube.com/watch?         Insanely Fast”
                                                                                            25         v=oEejgX1NANE) – acquired               (http://www.ebaumsworld.com/video
                                                                                            26         March 4, 2015                           /watch/84496539/) – posted March
                                                                                            27                                                 4, 2015
                                                                                            28   93.   “Guy Makes Model Teeth                  “Screaming Teeth”
                                                                                                                                          51
                                                                                                                                                                        COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 53 of 168 Page ID #:53



                                                                                             1         Scream”                             (http://www.ebaumsworld.com/video
                                                                                             2         (https://www.jukinmedia.com/lice    /watch/84498812/) – posted March
                                                                                             3         nsing/view/16719) – acquired        6, 2015
                                                                                             4         March 5, 2015
                                                                                             5   94.   “Sledding in Shopping Cart          “Parking Lot Shopping Cart
                                                                                             6         Towed by Truck”                     Sledding”
                                                                                             7         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             8         v=UbqpayDui8I) – acquired           /watch/84521972/) – posted March
                                                                                             9         March 6, 2015                       23, 2015
                                                                                            10   95.   “Baby Goes Body Surfing with        “AWESOME FOOTAGE SHOWS
                                                                                            11         Dad”                                BABY TEARING UP SOME
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         (https://www.youtube.com/watch?     WAVES”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13         v=grpr4-G0EeU) – acquired           (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14         March 6, 2015                       /watch/84511530/) – posted March
                                                                                            15                                             16, 2015
                                                                                            16   96.   “Grandma Falls for Ping Pong        “Grandma Loves Ping Pong”
                                                                                            17         Save”                               (http://www.ebaumsworld.com/video
                                                                                            18         (https://www.youtube.com/watch?     /watch/84502400/) – posted March
                                                                                            19         v=s0BCnhCMoDY) – acquired           9, 2015
                                                                                            20         March 9, 2015
                                                                                            21   97.   “Beer Bong Guy Blows Beer into      “Frat Douche Destroys Girl With
                                                                                            22         Girl's Face”                        Weird Beer Bong Prank”
                                                                                            23         (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            24         v=0Z_AVl8Ds2I) – acquired Mar.      s/guy-pranks-girl-with-nasty-beer-
                                                                                            25         10, 2015                            bong-prank/84991197/) – posted Apr.
                                                                                            26                                             13, 2016
                                                                                            27   98.   “Cat Hides to Sneak Attack other    “Ninja Cat Attack”
                                                                                            28         Cat”                                (http://www.ebaumsworld.com/video
                                                                                                                                      52
                                                                                                                                                                     COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 54 of 168 Page ID #:54



                                                                                             1          (https://www.youtube.com/watch?         /watch/84542798/) – posted Apr. 10,
                                                                                             2          v=cvJ2BDkcLjE) – acquired Mar.          2015
                                                                                             3          14, 2015
                                                                                             4   99.    “Bird Plucks Fur off Sleeping           “Birds take advantage of an Old Dog,
                                                                                             5          Dog”                                    lol”
                                                                                             6          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             7          v=TjkNkrVcT3E) – acquired Mar.          /watch/84510668/) – posted Mar. 14,
                                                                                             8          14, 2015                                2015
                                                                                             9   100.   “Cop Stun Guns Naked Man in the “Cops Shoots [sic] Naked Man In
                                                                                            10          Junk”                                   The Groin With Taser Gun”
                                                                                            11          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=TgQiTPkAwNQ) – acquired               /watch/84512434/) – posted Mar. 17,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Mar. 17, 2015                           2015
                                                                             310-229-9900




                                                                                            14   101.   “Labrador Retriever Smiles on           “Ultimate Dog Trick”
                                                                                            15          Command”                                (http://www.ebaumsworld.com/video
                                                                                            16          (https://www.youtube.com/watch?         /watch/84517311/) – posted Mar. 19,
                                                                                            17          v=J26RRpg-FX4) – acquired Mar.          2015
                                                                                            18          17, 2015
                                                                                            19   102.   “Baby Dances to Turn Down for           “Baby Dancing To Turn Down For
                                                                                            20          What”                                   What”
                                                                                            21          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            22          v=1ctchcuX60s) – acquired Mar.          /watch/84670883/) – posted July 25,
                                                                                            23          20, 2015                                2015
                                                                                            24   103.   “Ice Skater Propels Himself with        “Ice Skating With a Chainsaw”
                                                                                            25          Chainsaw”                               (http://www.ebaumsworld.com/video
                                                                                            26          (https://www.youtube.com/watch?         /watch/84609593/) – posted June 3,
                                                                                            27          v=8PhQijiAl84) – acquired Mar.          2015
                                                                                            28          27, 2015
                                                                                                                                           53
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 55 of 168 Page ID #:55



                                                                                             1   104.   “Gangnam Style Karate Nutshot         “Guy Beats Opponent With Sneaky
                                                                                             2          Win”                                  Ninja Style Move”
                                                                                             3          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             4          v=X3GifphtS6s) – acquired Dec.        s/guy-beats-opponent-with-sneaky-
                                                                                             5          12, 2012                              ninja-style-move/85077934/) –
                                                                                             6                                                posted July 12, 2016
                                                                                             7   105.   “Puddle Jump Gone Wrong”              “WTF Best Fails of the Week 2
                                                                                             8          (https://www.youtube.com/watch?       January 2016”
                                                                                             9          v=0mVQ5fu6q8M) – acquired             (http://www.ebaumsworld.com/video
                                                                                            10          Mar. 12, 2013                         /watch/84901669/) – posted Jan. 19,
                                                                                            11                                                2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   106.   “London Underground Escalator         “Guy Has Epic Wipeout On
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Slide Fail”                           Escalator”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            15          v=tZMaEPPw1Zs) – acquired June /watch/84929042/) – posted Feb. 16,
                                                                                            16          3, 2013                               2016
                                                                                            17   107.   “Guy Runs and Slides down             “Idiot Attempts To Slide Down An
                                                                                            18          Upwards Escalator”                    Escalator”
                                                                                            19          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            20          v=jK3OyXOMQYc) – acquired             s/sliding-down-an-
                                                                                            21          Aug. 2, 2013                          escalator/84997319/) – posted Apr.
                                                                                            22                                                18, 2016
                                                                                            23   108.   “Ballet Dancer Gets Her Wisdom        “When Dancers Get Their Wisdom
                                                                                            24          Teeth Out”                            Teeth Out”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            26          v=-pi7LZh2LKY) – acquired Apr.        s/when-dancers-get-their-wisdom-
                                                                                            27          21, 2016                              teeth-out/85001188/) – posted Apr.
                                                                                            28                                                21, 2016
                                                                                                                                         54
                                                                                                                                                                       COMPLAINT
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                                                                                             1   109.   “Fake Shark Attack Scares              “Grandma Shark Scare Prank”
                                                                                             2          Grandma”                               (http://www.ebaumsworld.com/video
                                                                                             3          (https://www.youtube.com/watch?        /watch/84784057/) – posted October
                                                                                             4          v=va-4dicX8DA) – acquired May          20, 2015
                                                                                             5          19, 2015
                                                                                             6                                                 “I’m told not to tap the glass but I
                                                                                             7                                                 do”
                                                                                             8                                                 (http://www.ebaumsworld.com/video
                                                                                             9                                                 /watch/84912640/) – posted January
                                                                                            10                                                 29, 2016
                                                                                            11   110.   “Woman Quickly Putting Spam in         “Top Viral Video of The Week 3
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Mailboxes”                             February 2016”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=WKKXo5woHCE) – acquired              /watch/84930855/) – posted Feb. 17,
                                                                                            15          Oct. 1, 2015                           2016
                                                                                            16   111.   “Horny Turtle Humps Sneaker”           “You only have to learn this lesson
                                                                                            17          (https://www.jukinmedia.com/lice       once…”
                                                                                            18          nsing/view/658) – acquired Mar.        (https://www.facebook.com/ebaums
                                                                                            19          24, 2009                               world/videos/vb.286683382423/1015
                                                                                            20                                                 3160050892424/?type=2&theater) –
                                                                                            21                                                 posted Aug. 14, 2015
                                                                                            22   112.   “Girl Can't Figure Out MPH Math        “If you’re going 80 miles per hour”
                                                                                            23          Question”                              (http://www.ebaumsworld.com/video
                                                                                            24          (https://www.youtube.com/watch?        s/if-youre-going-80-miles-per-
                                                                                            25          v=TgQiTPkAwNQhttps://www.yo hour/85025677/) – posted May 13,
                                                                                            26          utube.com/watch?v=m2eyq9qTO            2016
                                                                                            27          QY) – acquired May 13, 2016
                                                                                            28                                                 “Ditzy Girl Can’t Figure Out A
                                                                                                                                          55
                                                                                                                                                                           COMPLAINT
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                                                                                             1                                                Simple Math Question”
                                                                                             2                                                (http://www.ebaumsworld.com/video
                                                                                             3                                                s/ditzy-girl-cant-figure-out-a-simple-
                                                                                             4                                                math-question/85108174/) – posted
                                                                                             5                                                Aug. 17, 2016
                                                                                             6   113.   “Workers Drop Cases of Beer           “How Not To Unload Beer From
                                                                                             7          from Truck”                           Truck”
                                                                                             8          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             9          v=mBbV8EoG5J4) – acquired             /watch/84517311/http://www.ebaums
                                                                                            10          Dec. 3, 2015                          world.com/video/watch/84854380/) –
                                                                                            11                                                posted Dec. 8, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                “How Many Idiots Does It Take To
                                                                             310-229-9900




                                                                                            14                                                Unload A Truck Of Beer?”
                                                                                            15                                                (http://www.ebaumsworld.com/video
                                                                                            16                                                s/three-idiots-unload-a-beer-
                                                                                            17                                                truck/84991601/) – posted Apr. 13,
                                                                                            18                                                2016
                                                                                            19   114.   “Drunk Guy Fights Bush and            “Drunk Kid Loses a Fight With a
                                                                                            20          Loses”                                Bush”
                                                                                            21          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22          v=WVvsvIDshl0) – acquired June        /watch/84725720/) – posted Sept. 6,
                                                                                            23          16, 2015                              2015
                                                                                            24   115.   “Drunk Guy Gets Hurt Trying to        “Drunk Idiot Gets Tased While
                                                                                            25          Attack Woman at Bus Stop”             Running Away From Cops &
                                                                                            26          (https://www.youtube.com/watch?       Drinking a Be”
                                                                                            27          v=yMN38q5AYR4) – acquired             (http://www.ebaumsworld.com/video
                                                                                            28          Aug. 12, 2015                         /watch/84725730/) – posted Sept. 6,
                                                                                                                                         56
                                                                                                                                                                         COMPLAINT
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                                                                                             1                                                2015
                                                                                             2   116.   “Basset Hound Clown Car”              “Basset hound clown car”
                                                                                             3          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             4          v=cG4CEr2aiSg) – acquired Mar.        /watch/84485035/) – posted Feb. 25,
                                                                                             5          12, 2014                              2015
                                                                                             6   117.   “Dog Dressed as Football Player”      “football dog”
                                                                                             7          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             8          v=ggGLFCi1R64) – acquired Mar. /watch/84288378/) – posted Oct. 8,
                                                                                             9          31, 2014                              2014
                                                                                            10   118.   “Yo-Yo Trick Hits Eye”                “Yo-Yo guy Nearly Knocks Himself
                                                                                            11          (https://www.youtube.com/watch?       Out”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=gbXSufuLTfM) – acquired May (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          6, 2014                               s/yo-yo-guy-bashes-himself-in-the-
                                                                             310-229-9900




                                                                                            14                                                face/85045853/) – posted June 6,
                                                                                            15                                                2016
                                                                                            16   119.   “Longest Fart Ever”                   “Guy Releases An Epic Fart”
                                                                                            17          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            18          v=oYYsj6YTDwg) – acquired             /watch/84074790/) – posted Oct. 8,
                                                                                            19          May 15, 2014                          2014
                                                                                            20   120.   “Bench Press Safety Bars Fail”        “This Weightlifter Really Needs To
                                                                                            21          (https://www.youtube.com/watch?       Rethink His Technique”
                                                                                            22          v=y1zB-Bu6V44) – acquired May         (http://www.ebaumsworld.com/video
                                                                                            23          29, 2014                              s/this-weightlifter-really-needs-to-
                                                                                            24                                                rethink-his-technique/85097350/) –
                                                                                            25                                                posted Aug. 4, 2016
                                                                                            26

                                                                                            27                                                “Instant Karma When Showoff Tries
                                                                                            28                                                To Lift By Himself”
                                                                                                                                         57
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 59 of 168 Page ID #:59



                                                                                             1                                                 (http://www.ebaumsworld.com/video
                                                                                             2                                                 s/instant-karma-for-muscle-man-
                                                                                             3                                                 gym-show-off/85105293/) – posted
                                                                                             4                                                 Aug. 14, 2016
                                                                                             5   121.   “Keyboard Collapses during Choir “Choir Piano FAIL”
                                                                                             6          Recital”                               (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.youtube.com/watch?        /watch/84529309/) – posted Mar. 29,
                                                                                             8          v=t2LQq63143E) – acquired Mar.         2015
                                                                                             9          27, 2015
                                                                                            10   122.   “Dog Moves Bowl to Eat Closer to “Rescued Puppy Refuses To Eat
                                                                                            11          Friend”                                Alone”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=jdM5IHoGgbY) – acquired Apr. /watch/84551517/) – posted Apr. 17,
                                                                             310-229-9900




                                                                                            14          24, 2015                               2015
                                                                                            15   123.   “Guy Flips off Crowd, Falls off        “When Acting Hard Goes Wrong”
                                                                                            16          Truck”                                 (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.jukinmedia.com/lice       /watch/84525256/) – posted Mar. 25,
                                                                                            18          nsing/view/893187) – acquired          2015
                                                                                            19          Mar. 26, 2015
                                                                                            20                                                 “Hipster Doofus Flips Off Crowd,
                                                                                            21                                                 Gets Instant Karma”
                                                                                            22                                                 (http://www.ebaumsworld.com/video
                                                                                            23                                                 s/hipster-doofus-flips-off-crowd-gets-
                                                                                            24                                                 instant-karma/85043898/) – posted
                                                                                            25                                                 June 3, 2016
                                                                                            26   124.   “Woman Asks For Cigarette”             “Ya”ll [sic] Got a Cigarette—I’m
                                                                                            27          (https://www.youtube.com/watch?        Addicted!!!!!!!!!!!!!”
                                                                                            28          v=h6oCNJ_AVGs) – acquired              (http://www.ebaumsworld.com/video
                                                                                                                                          58
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 60 of 168 Page ID #:60



                                                                                             1          Mar. 30, 2015                       /watch/84529606/) – posted Mar. 20,
                                                                                             2                                              2015
                                                                                             3

                                                                                             4                                              “You have a cigarette? The Remix”
                                                                                             5                                              (http://www.ebaumsworld.com/video
                                                                                             6                                              /watch/84541003/) – posted Apr. 8,
                                                                                             7                                              2015
                                                                                             8

                                                                                             9                                              “Crazy Women [sic] Ask For A
                                                                                            10                                              Cigarette and Her Reaction To Being
                                                                                            11                                              Told ‘we don’t smoke’ is Priceless!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                              (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                              s/crazy-women-ask-for-a-cigarette-
                                                                             310-229-9900




                                                                                            14                                              and-her-reaction-to-being-told-we-
                                                                                            15                                              dont-smoke-is-priceless/85016842/) –
                                                                                            16                                              posted May 4, 2016
                                                                                            17

                                                                                            18                                              “Ronda Rousey 10 years after getting
                                                                                            19                                              knocked out by Holly…”
                                                                                            20                                              (https://www.facebook.com/ebaums
                                                                                            21                                              world/videos/10153355601892424/)
                                                                                            22                                              – posted Nov. 18, 2015
                                                                                            23

                                                                                            24                                              “Hey, y’all got a cigarette?”
                                                                                            25                                              (https://instagram.com/p/1BZ6hkhtrz/
                                                                                            26                                              ?taken-by=ebaumsworld)
                                                                                            27   125.   “Teacher Gets Hit in Nuts During    “How This Physics Teacher Almost
                                                                                            28          Demonstration”                      Lost His Job…”
                                                                                                                                       59
                                                                                                                                                                       COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 61 of 168 Page ID #:61



                                                                                             1          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             2          v=ax2HRGd8Rcg) – acquired Apr. /watch/84534478/) – posted Apr. 2,
                                                                                             3          2, 2015                             2015
                                                                                             4   126.   “Elmo and Cookie Monster Share      “Elmo And Cookie Monster Having
                                                                                             5          Some Adult Fun”                     A Damn Good Time”
                                                                                             6          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             7          v=-_49VS4nuao) – acquired Apr.      /watch/84536232/) – posted Feb. 3,
                                                                                             8          6, 2015                             2015
                                                                                             9                                              “Elmo gets it…”
                                                                                            10                                              (http://www.ebaumsworld.com/video
                                                                                            11                                              /watch/84628187/) – posted May 20,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                              2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   127.   “School Fight Ends in Patty Cake” “School Fight with a Surprising
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?     Result”
                                                                                            15          v=ioTiEZCGekA) – acquired Apr.      (http://www.ebaumsworld.com/video
                                                                                            16          4, 2015                             /watch/84536555/) – posted Apr. 4,
                                                                                            17                                              2015
                                                                                            18   128.   “Pool Jumper Trips on Spiked        “Pool Jump Painful Fail”
                                                                                            19          Fence”                              (http://www.ebaumsworld.com/video
                                                                                            20          (https://www.youtube.com/watch?     /watch/84754833/) – posted Sept. 30,
                                                                                            21          v=h-Uyl3aPsGQ) – acquired Apr.      2015
                                                                                            22          10, 2015
                                                                                            23   129.   “Teacher Performs Liquid            “Science Teacher Sets Floor On
                                                                                            24          Methane Demo”                       FIRE”
                                                                                            25          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            26          v=W_5m71oyNys) – acquired           s/science-teacher-sets-floor-on-
                                                                                            27          Apr. 7, 2015                        fire/84969985/) – posted Mar. 26,
                                                                                            28                                              2016
                                                                                                                                       60
                                                                                                                                                                       COMPLAINT
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                                                                                             2                                                “Science Is Awesome!”
                                                                                             3                                                (http://www.ebaumsworld.com/video
                                                                                             4                                                s/science-is-awesome/85087104/) –
                                                                                             5                                                posted July 23, 2016
                                                                                             6   130.   “Gun Flies out of Man's Hands”        “Redneck Gunslinger Fail”
                                                                                             7          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             8          v=kv4ZsFTwbwM) – acquired             /watch/84552073/) – posted Apr. 18,
                                                                                             9          Apr. 9, 2015                          2015
                                                                                            10   131.   “Two Girls Freak out on Slingshot     “Little Girls Freak Out On Slingshot
                                                                                            11          Ride”                                 Ride”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?       (https://twitter.com/WORLDSTAR/st
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          v=ACOJbRV_k-k) – acquired             atus/708711158480371712) – posted
                                                                             310-229-9900




                                                                                            14          Apr. 9, 2015                          Apr. 14, 2015
                                                                                            15   132.   “Man Makes Himself Appear and         “HEHEHEHEHEH”
                                                                                            16          Disappear in the Dark”                (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?       /watch/84543273/) – posted Apr. 10,
                                                                                            18          v=yb_PFwwlfS8) – acquired Apr.        2015
                                                                                            19          12, 2015
                                                                                            20   133.   “Man Gets Stuck in Seatbelt”          “Old guy Stuck in Seatbelt”
                                                                                            21          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22          v=diQKUWACkQY) – acquired             /watch/84547744/) – posted Apr. 14,
                                                                                            23          Apr. 14, 2015                         2015
                                                                                            24

                                                                                            25                                                “Old man doesn’t get seatbelts”
                                                                                            26                                                (http://www.ebaumsworld.com/video
                                                                                            27                                                /watch/84786822/) – posted Oct. 21,
                                                                                            28                                                2015
                                                                                                                                         61
                                                                                                                                                                        COMPLAINT
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                                                                                             1   134.   “Blue and Gold Macaw Loves to        “Blue & Gold Macaw Loves To Be
                                                                                             2          be Vacuumed”                         Vacuumed”
                                                                                             3          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             4          v=xRbC6ePUHUg) – acquired            /watch/84547039/) – posted Apr. 13,
                                                                                             5          Apr. 16, 2015                        2015
                                                                                             6   135.   “Girls Twerk During Dance            “School Play Gone Bad”
                                                                                             7          School Performance”                  (http://www.ebaumsworld.com/video
                                                                                             8          (https://www.youtube.com/watch?      /watch/84590225/) – posted May 11,
                                                                                             9          v=IQbDmCKGtuU) – acquired            2015
                                                                                            10          Apr. 17, 2015
                                                                                            11   136.   “Kid Makes a Gaffe Asking to Pet     “Can I pet your titties?”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Neighbor's Kitty”                    (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?      /watch/84551557/) – posted Apr. 17,
                                                                             310-229-9900




                                                                                            14          v=Ndm0uXQX_Rk) – acquired            2015
                                                                                            15          Apr. 18, 2015
                                                                                            16   137.   “German Shepherd Puppies Chase       “A beautiful Mama German Shepard
                                                                                            17          Mom”                                 Playing With Her Babies”
                                                                                            18          (https://www.facebook.com/photo. (http://www.ebaumsworld.com/video
                                                                                            19          php?v=687152524695170) –             /watch/84740785/) – posted Sept. 20,
                                                                                            20          acquired Sept. 14, 2015              2015
                                                                                            21   138.   “Young Kid and Grandpa Play          “Check Out This Pie To The Face
                                                                                            22          Pie-in-the-Face Game”                Game”
                                                                                            23          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            24          v=RRqQYoNFhrs) – acquired            /watch/84727874/) – posted Apr. 20,
                                                                                            25          Apr. 20, 2015                        2015
                                                                                            26   139.   “Domesticated Bear Walks             “Creepy Walking Black Bear”
                                                                                            27          Upright like Humans”                 (http://www.ebaumsworld.com/video
                                                                                            28          (https://www.youtube.com/watch?      /watch/84575098/) – posted May 7,
                                                                                                                                        62
                                                                                                                                                                         COMPLAINT
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                                                                                             1          v=9GBpeFJtka8) – acquired May         2015
                                                                                             2          6, 2015
                                                                                             3                                                “Bear Does An Amazing Human
                                                                                             4                                                Impression”
                                                                                             5                                                (http://www.ebaumsworld.com/video
                                                                                             6                                                s/bear-does-an-amazing-human-
                                                                                             7                                                impression/85016645/) – posted May
                                                                                             8                                                4, 2016
                                                                                             9

                                                                                            10                                                “Bear Pretending To Be A Human In
                                                                                            11                                                a Laotian Zoo”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                s/bear-pretending-to-be-a-human-in-
                                                                             310-229-9900




                                                                                            14                                                laotian-zoo/85016124/) – posted May
                                                                                            15                                                4, 2016
                                                                                            16   140.   “Nurse Technician Moved to            “This video will make your heart
                                                                                            17          Tears Seeing Paraplegic Walk”         smile”
                                                                                            18          (https://www.youtube.com/watch?       (https://twitter.com/ebaumsworld/stat
                                                                                            19          v=75odu9sxwEA) – acquired Apr.        us/590947561676079105) – posted
                                                                                            20          24, 2015                              Apr. 22, 2015
                                                                                            21   141.   “Guy Pranks Brother with              “Try Not To Laugh Compilation”
                                                                                            22          Flamethrower Deodorant Prank”         (http://www.ebaumsworld.com/video
                                                                                            23          (https://www.youtube.com/watch?       /watch/84916106/) – posted Feb. 2,
                                                                                            24          v=_PLyHRoDhVc) – acquired             2016
                                                                                            25          Apr. 28, 2015
                                                                                            26   142.   “Kittens Use Shoe Organizer as        “Kittens Fighting Over Who’s
                                                                                            27          House”                                Cutest”
                                                                                            28          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                                                                         63
                                                                                                                                                                        COMPLAINT
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                                                                                             1          v=S3bWYXOEziQ) – acquired             /watch/84567611/) – posted May 1,
                                                                                             2          Apr. 27, 2015                         2015
                                                                                             3   143.   “Puppy Tries to Bark Away the         “Adorable Puppy Doesn’t
                                                                                             4          Hiccups”                              Understand Hiccups”
                                                                                             5          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             6          v=WoCbrq3VHVw) – acquired             /watch/84565278/) – posted Apr. 30,
                                                                                             7          Apr. 29, 2015                         2015
                                                                                             8   144.   “Guy Makes Prank Call to Pest         “How prank calls should be done”
                                                                                             9          Control”                              (http://www.ebaumsworld.com/video
                                                                                            10          (https://www.youtube.com/watch?       s/how-prank-calls-should-be-
                                                                                            11          v=w3VP5LO-lGc) – acquired Apr. done/85104246/) – posted Aug. 13,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          28, 2015                              2016
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13   145.   “Girl Falls off Toy Bike While        “Big Girl Fails Trying To Ride Kid’s
                                                                             310-229-9900




                                                                                            14          Singing”                              Toy While Singing R. Kelly”
                                                                                            15          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            16          v=YK2SJ2gLrcM) – acquired Apr. s/big-gal-trying-to-ride-kids-toy-
                                                                                            17          30, 2015                              while-singing-r-kelly/85131221/) –
                                                                                            18                                                posted Sept. 8, 2016
                                                                                            19   146.   “Drunk Guy Tries to Carry Tray of “The Best Funny Fails Ever!”
                                                                                            20          Beers”                                (http://www.ebaumsworld.com/video
                                                                                            21          (https://www.youtube.com/watch?       s/the-best-funny-fails-
                                                                                            22          v=DqbSgFaH3B0) – acquired Apr. ever/85129949/) – posted Sept. 7,
                                                                                            23          29, 2015                              2016
                                                                                            24   147.   “Man Hula Hoops with Giant            “Hula Hoop Man Hulas With a
                                                                                            25          Tractor Trailer”                      Tractor Tire to Prove He’s Manlier
                                                                                            26          (https://www.youtube.com/watch?       Than You”
                                                                                            27          v=jcqRPdvb18w) – acquired May         (http://www.ebaumsworld.com/video
                                                                                            28          7, 2015                               /watch/84712876/) – posted Aug. 27,
                                                                                                                                         64
                                                                                                                                                                        COMPLAINT
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                                                                                             1                                                2015
                                                                                             2   148.   “Drone Captures Man Sunbathing        “Drone Catches a Man Sunbathing
                                                                                             3          on Wind Turbine”                      On a Wind Turbine”
                                                                                             4          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             5          v=KX8cuGiQb4Y) – acquired             /watch/84790606/) – posted Aug. 27,
                                                                                             6          Aug. 27, 2015                         2015
                                                                                             7   149.   “Airplane Narrowly Misses             “Plane Nearly Smashes Into A Boat!”
                                                                                             8          Speedboat”                            (http://www.ebaumsworld.com/video
                                                                                             9          (https://www.youtube.com/watch?       /watch/84710322/) – posted Aug. 25,
                                                                                            10          v=JnRA8bFnhTI) – acquired May         2015
                                                                                            11          6, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   150.   “Man Jumps Across Window              “Do you have the balls this guy has?”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Ledges 40 Stories High”               (https://twitter.com/ebaumsworld/stat
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?       us/596825023052009472) – posted
                                                                                            15          v=8AHgBX4VO_M) – acquired             May 8, 2015
                                                                                            16          May 7, 2015
                                                                                            17   151.   “Parents Catch 12-Year-Old Son        “Dad Finds Out Why Son Takes
                                                                                            18          Dancing in the Shower”                Extra Long Showers”
                                                                                            19          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            20          v=EZF1sZnBYJA) – acquired             /watch/84573868/) – posted May 6,
                                                                                            21          May 6, 2015                           2015
                                                                                            22   152.   “Leaving Gas Pump with Nozzle         “Car Drives Off With Gas Hose and
                                                                                            23          Intact Causes Collateral Damage”      It Snaps Into Girl’s Face!”
                                                                                            24          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            25          v=p0unzOimCRA) – acquired             /watch/84577582/) – posted May 9,
                                                                                            26          May 7, 2015                           2015
                                                                                            27   153.   “Girl Gets Leg Caught on Rope         “Girl Fails At Using Rope Swing”
                                                                                            28          Swing”                                (http://www.ebaumsworld.com/video
                                                                                                                                         65
                                                                                                                                                                        COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?        /watch/84677382/) – posted July 30,
                                                                                             2          v=zzHbvyRSbNI) – acquired July         2015
                                                                                             3          28, 2015
                                                                                             4   154.   “Fish Tries to Eat Woman's Hand” “How To Fish”
                                                                                             5          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             6          v=36SD8ERdBts) – acquired May          /watch/84609625/) – posted June 3,
                                                                                             7          14, 2015                               2015
                                                                                             8   155.   “Coal Burning Stove Explodes in        “These idiots threw an aerosol can
                                                                                             9          Garage”                                into a wooden stove”
                                                                                            10          (https://www.youtube.com/watch?        (https://twitter.com/ebaumsworld/stat
                                                                                            11          v=_bzv2Mm91HE) – acquired              us/605859646021115907) – posted
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          May 13, 2015                           June 2, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   156.   “Golfer Fails at Happy Gilmore         “Happy Gilmore Shot Ends With A
                                                                             310-229-9900




                                                                                            14          Shot”                                  Broken Golf Club”
                                                                                            15          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            16          v=cwk_P7-O8Fw) – acquired May /watch/84760483/) – posted October
                                                                                            17          28, 2015                               4, 2015
                                                                                            18   157.   “Deaf Man Does Finger Show for         “Finger Tutting By A Deaf Guy”
                                                                                            19          Audience”                              (http://www.ebaumsworld.com/video
                                                                                            20          (https://www.youtube.com/watch?        /watch/84777658/) – posted Oct. 15,
                                                                                            21          v=8F_fNtmU3U4) – acquired May 2015
                                                                                            22          15, 2015
                                                                                            23   158.   “Little Boy Tells off Monkey on        “Little Kid Tells Monkeys To F*ck
                                                                                            24          Car”                                   Off”
                                                                                            25          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            26          v=_RW_fIWuG2c) – acquired              /watch/84585553/) – posted May 15,
                                                                                            27          May 18, 2015                           2015
                                                                                            28

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                                                                                             1                                                “Kid’s Response To A Monkey On
                                                                                             2                                                His Car Is Well Thought Out And
                                                                                             3                                                Logical”
                                                                                             4                                                (http://www.ebaumsworld.com/video
                                                                                             5                                                s/kids-response-to-a-monkey-on-his-
                                                                                             6                                                car-is-well-thought-out-and-
                                                                                             7                                                logical/85131291/) – posted Sept. 9,
                                                                                             8                                                2016
                                                                                             9

                                                                                            10   159.   “Bulldog Hates Life Jacket”           “Bulldog Hates Life Vest”
                                                                                            11          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=ZSH1yVjPhyI) – acquired May         /watch/84722460/) – posted Sept. 3,
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          19, 2015                              2015
                                                                             310-229-9900




                                                                                            14   160.   “Gator Rips Off Car Bumper”           “Alligator VS Nissan”
                                                                                            15          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            16          v=ynhumAumc8Q) – acquired             /watch/84595190/) – posted May 22,
                                                                                            17          May 22, 2015                          2015
                                                                                            18   161.   “Guy Uses His Hands as                “Human Birdbath”
                                                                                            19          Makeshift Birdbath for Pet Finch”     (http://www.ebaumsworld.com/video
                                                                                            20          (https://www.youtube.com/watch?       s/human-birdbath/85032998/) –
                                                                                            21          v=JVnT6W8i_K8) – acquired June posted May 21, 2016
                                                                                            22          4, 2015
                                                                                            23   162.   “Brand New Corvette Speeds off        “Guy Crashes His Brand New
                                                                                            24          Road”                                 Corvette”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            26          v=Wqtl7fXDKu4) – acquired May /watch/84595517/) – posted May 23,
                                                                                            27          24, 2015                              2015
                                                                                            28   163.   “Man Struggles to Drink Water in      “Taking A Drink In Strong Winds
                                                                                                                                         67
                                                                                                                                                                        COMPLAINT
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                                                                                             1          Iceland Wind”                         Isn’t Easy”
                                                                                             2          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             3          v=IzVrTdCFejo) – acquired May         /watch/84601572/) – posted May 28,
                                                                                             4          25, 2015                              2015
                                                                                             5   164.   “Man Shows off Animal                 “The Human Animal”
                                                                                             6          Impressions”                          (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.youtube.com/watch?       s/the-human-animal/85001470/) –
                                                                                             8          v=2Qa9YDgtcaM) – acquired May posted Apr. 22, 2016
                                                                                             9          26, 2015
                                                                                            10   165.   “Man Uses Fishing Rod to Play         “How a Lazy Dad Plays Baseball
                                                                                            11          Catch with Son”                       With His Kid”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=tTQT21CeeS0) – acquired May         /watch/84609010/) – posted June 3,
                                                                             310-229-9900




                                                                                            14          27, 2015                              2015
                                                                                            15   166.   “Man Catches Gopher in Gallon         “Get Rid of That Gopher Problem
                                                                                            16          Jug”                                  With a Gallon Jug”
                                                                                            17          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            18          v=VysEvGe_bcA) – acquired May /watch/84601569/) – posted May 28,
                                                                                            19          27, 2015                              2015
                                                                                            20   167.   “Camaro Driver Attempts Burnout “Instant Karma for Muscle Car
                                                                                            21          and Knocks over Lamppost”             Showoff”
                                                                                            22          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            23          v=7EocDUQyrxo) – acquired June /watch/84607549/) – posted June 2,
                                                                                            24          3, 2015                               2015
                                                                                            25   168.   “Kid Eats Ghost Pepper then           “Don’t Swallow It! Clueless Kid
                                                                                            26          Freaks Out”                           Swallows Ghost Pepper, Instantly
                                                                                            27          (https://www.youtube.com/watch?       Regrets It”
                                                                                            28          v=_Fex-9ky00g) – acquired June        (http://www.ebaumsworld.com/video
                                                                                                                                         68
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                                                                                             1          3, 2015                               /watch/84605548/) – posted May 31,
                                                                                             2                                                2015
                                                                                             3

                                                                                             4                                                “Best viral videos of the Week 2
                                                                                             5                                                February 2016”
                                                                                             6                                                (http://www.ebaumsworld.com/video
                                                                                             7                                                /watch/84924464/) – posted Feb. 11,
                                                                                             8                                                2016
                                                                                             9   169.   “Drunk Guy Tries to Bicycle Kick      “Drunk Guy Vs. Punching Machine”
                                                                                            10          a Punching Machine”                   (http://www.ebaumsworld.com/video
                                                                                            11          (https://www.youtube.com/watch?       /watch/84639609/) – posted June 30,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=_-xAYHWnzFs) – acquired             2015
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          June 7, 2015
                                                                             310-229-9900




                                                                                            14   170.   “Kid Gets Emotional About New         “Kid Overly Excited Over His New
                                                                                            15          Arm Cast”                             Cast”
                                                                                            16          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            17          v=5-NXguyFFko) – acquired June        /watch/84611566/) – posted June 5,
                                                                                            18          5, 2015                               2015
                                                                                            19   171.   “Fierce German Shepherd Scares        “German Shepherd Scared of Stuffed
                                                                                            20          Toy Tiger”                            Toy Tiger”
                                                                                            21          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22          v=9PT01T0bYyM) – acquired             /watch/84617960/) – posted June 10,
                                                                                            23          June 8, 2015                          2015
                                                                                            24   172.   “Bear Piggyback Ride”                 “Man Riding On Shoulders of Bear”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            26          v=uU5-zxDrhd0) – acquired June        /watch/84620818/) – posted June 13,
                                                                                            27          11, 2015                              2015
                                                                                            28   173.   “Construction Workers Play            “Construction Workers Play Whack-
                                                                                                                                         69
                                                                                                                                                                       COMPLAINT
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                                                                                             1          Whack-A-Mole”                          A-Mole”
                                                                                             2          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             3          v=rjMeqH_yAEA) – acquired              /watch/84614593/) – posted June 8,
                                                                                             4          June 6, 2015                           2015
                                                                                             5   174.   “Biker Crashes after Cursing Out       “This asshole got served some sweet
                                                                                             6          Driver”                                instant karma”
                                                                                             7          (https://www.youtube.com/watch?        (https://twitter.com/ebaumsworld/stat
                                                                                             8          v=DRv0xQjEQs0) – acquired June us/608720427821723650) – posted
                                                                                             9          9, 2015                                June 10, 2015
                                                                                            10   175.   “Looney Tunes Mascots Do the           “Bugz Bunny Kills the Whip”
                                                                                            11          Whip and Nae Nae”                      (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?        /watch/84672391/) – posted July 27,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=cG5GY3hC-d8) – acquired June 2015
                                                                             310-229-9900




                                                                                            14          10, 2015
                                                                                            15   176.   “Woman Throws Purse over Fence “Woman Outsmarts Robbers”
                                                                                            16          to Foil Attempted Robbery”             (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?        /watch/84618021/) – posted June 10,
                                                                                            18          v=lllQIThw38g) – acquired June         2015
                                                                                            19          11, 2015
                                                                                            20   177.   “Prankster Hides Hot Sauce in          “Hot Sauce Prank Done Right”
                                                                                            21          Friend's Drink”                        (http://www.ebaumsworld.com/video
                                                                                            22          (https://www.youtube.com/watch?        /watch/84619242/) – posted July 30,
                                                                                            23          v=1OS16VDypkc) – acquired June 2015
                                                                                            24          12, 2015
                                                                                            25   178.   “2-Year-Old Gets into the Music        “2 Year Old Playing Bulls On Parade
                                                                                            26          Playing Guitar Hero”                   On Guitar Hero”
                                                                                            27          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            28          v=bidW4aa-Z6M) – acquired June         /watch/84620406/) – posted June 12,
                                                                                                                                          70
                                                                                                                                                                         COMPLAINT
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                                                                                             1          12, 2015                               2015
                                                                                             2   179.   “Queen's Guard Push Tourist Out        “The Queen’s Guards Don’t Like
                                                                                             3          of Their Way”                          Stopping For Tourists”
                                                                                             4          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             5          v=NTr50aHGDnI) – acquired June /watch/84624324/) – posted June 16,
                                                                                             6          16, 2015                               2015
                                                                                             7

                                                                                             8                                                 “The Best Funny Fails Ever!”
                                                                                             9                                                 (http://www.ebaumsworld.com/video
                                                                                            10                                                 s/the-best-funny-fails-
                                                                                            11                                                 ever/85129949/) – posted Sept. 7,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   180.   “Weightlifter Holds Up 100lbs          “Badass Weightlifter Holds Up
                                                                             310-229-9900




                                                                                            14          While Doing Chair Splits”              100lbs While Doing Chair Splits”
                                                                                            15          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            16          v=_T7PnGJPswg) – acquired June         /watch/84627864/) – posted June 19,
                                                                                            17          17, 2015                               2015
                                                                                            18   181.   “Acrobatic Surfers Perform             “Tandem Surfing Skills”
                                                                                            19          Various Poses Riding Single            (http://www.ebaumsworld.com/video
                                                                                            20          Wave”                                  /watch/84696423/) – posted Aug. 14,
                                                                                            21          (https://www.youtube.com/watch?        2015
                                                                                            22          v=WogxcCMg7u0) – acquired
                                                                                            23          Aug. 7, 2015
                                                                                            24   182.   “Sugar Glider Tries to Glide on        “The sugar glider take off with fan”
                                                                                            25          Wind from Fan”                         (http://www.ebaumsworld.com/video
                                                                                            26          (https://www.youtube.com/watch?        s/the-bat-take-off-with-
                                                                                            27          v=JXx57XTzgVY) – acquired              fan/84977043/) – posted Apr. 2, 2016
                                                                                            28          June 21, 2015
                                                                                                                                          71
                                                                                                                                                                          COMPLAINT
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                                                                                             1   183.   “Guy Slices Nose of Friend with        “Drunk Idiot Chops Off His Friend’s
                                                                                             2          Sword”                                 Nose…”
                                                                                             3          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             4          v=9vEEtLBfy4Y) – acquired June         /watch/84628239/) – posted June 20,
                                                                                             5          21, 2015                               2015
                                                                                             6   184.   “Guy Crashes into Pool Using           “A homemade dive board doesn’t
                                                                                             7          Table as Diving Board”                 sound like a safe thing to use”
                                                                                             8          (https://www.youtube.com/watch?        (https://twitter.com/ebaumsworld/stat
                                                                                             9          v=PHokP_aIx7A) – acquired July         us/613454469049643008) – posted
                                                                                            10          7, 2015                                June 23, 2015
                                                                                            11   185.   “Teen Riding Tandem on                 “GoPro Captures Girl getting
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          WaveRunner Falls Overboard”            Launched Off a Jet Ski!”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=UubrqcBkjLU) – acquired July         /watch/84663818/) – posted July 20,
                                                                                            15          7, 2015                                2015
                                                                                            16   186.   “Two Guys Collide While Trying         “Bonfire Jumping goes Wrong!”
                                                                                            17          to Jump Over Bonfire”                  (http://www.ebaumsworld.com/video
                                                                                            18          (https://www.youtube.com/watch?        /watch/84636297/) – posted June 27,
                                                                                            19          v=rOBB5KDn60w) – acquired              2015
                                                                                            20          June 23, 2015
                                                                                            21   187.   “Cat Acts as Dentist”                  “Dentist Cat Checks Out Someone’s
                                                                                            22          (https://www.youtube.com/watch?        Teeth And Is Appalled”
                                                                                            23          v=RSDqb-R58Es) – acquired June         (http://www.ebaumsworld.com/video
                                                                                            24          26, 2015                               /watch/84757204/) – posted Oct. 2,
                                                                                            25                                                 2015
                                                                                            26   188.   “Cat Freaks Out when Flower Gets “How To Break A Cat”
                                                                                            27          Put on Head”                           (http://www.ebaumsworld.com/video
                                                                                            28          (https://www.youtube.com/watch?        /watch/84637932/) – posted June 29,
                                                                                                                                          72
                                                                                                                                                                          COMPLAINT
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                                                                                             1          v=l1PLgdjnb08) – acquired June         2015
                                                                                             2          27, 2015
                                                                                             3   189.   “Guy Shatters Glass Table with         “Chopping A Watermelon On a Glass
                                                                                             4          Sword”                                 Table is a BAD Idea”
                                                                                             5          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             6          v=upb1XMwKTSI) – acquired              /watch/84638256/) – posted June 29,
                                                                                             7          June 28, 2015                          2015
                                                                                             8   190.   “Girl Backflops off Waterslide”        “This backflop is perfect”
                                                                                             9          (https://www.youtube.com/watch?        (https://twitter.com/ebaumsworld/stat
                                                                                            10          v=_QkT9SftSko) – acquired Sept.        us/616668280061886466) – posted
                                                                                            11          16, 2015                               July 2, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   191.   “Guy Gets Excited Over                 “Guy Blown Away By Surprise
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Hailstorm”                             Hailstorm”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            15          v=72Lnvyz5ki0) – acquired July 2, /watch/84647237/) – posted July 6,
                                                                                            16          2015                                   2015
                                                                                            17   192.   “Cyclists Ride Down Abandoned          “Cyclist Rides Down Abandoned
                                                                                            18          Bobsled Track”                         Bobsled Track”
                                                                                            19          (https://www.facebook.com/tarik.       (http://www.ebaumsworld.com/video
                                                                                            20          XC/videos/10204687466806722/)          /watch/84652482/) – posted July 10,
                                                                                            21          – acquired July 10, 2015               2015
                                                                                            22   193.   “Firework Sparks Spray Man in          “Instant Karma for Idiot with
                                                                                            23          the Face”                              Firework in his Pants”
                                                                                            24          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            25          v=yPYYhXIFJiY) – acquired July         s/stupid-guy-puts-firework-in-his-
                                                                                            26          20, 2015                               pants/85072195/) – posted July 5,
                                                                                            27                                                 2016
                                                                                            28   194.   “Rally Car Almost Crashes into         “Rally Car Almost Hits Tractor
                                                                                                                                          73
                                                                                                                                                                            COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 75 of 168 Page ID #:75



                                                                                             1          Tractor”                              During Race”
                                                                                             2          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             3          v=c31qcSJsHLM) – acquired July        /watch/84652357/) – posted July 10,
                                                                                             4          11, 2015                              2015
                                                                                             5   195.   “Dog Hates Ear Drops”                 “Denver The Guilty Dog Hates His
                                                                                             6          (https://www.youtube.com/watch?       Ear Medicine”
                                                                                             7          v=Aw_1V1yguvE) – acquired July (http://www.ebaumsworld.com/video
                                                                                             8          14, 2015                              /watch/84655630/) – posted July 13,
                                                                                             9                                                2015
                                                                                            10   196.   “Road Rage Against Motoryclist        “Road Rage Against Motorcyclist
                                                                                            11          Turns Physical”                       Turns Physical”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=_ZueHaDP4hU) – acquired July /watch/84656865/) – posted July 15,
                                                                             310-229-9900




                                                                                            14          14, 2015                              2015
                                                                                            15   197.   “Woman Records Call from              “Crazy Telemarketer Gets Caught on
                                                                                            16          Creepy Telemarketer”                  Tape”
                                                                                            17          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            18          v=scPr3xBX2nQ) – acquired July        /watch/84658241/) – posted July 15,
                                                                                            19          15, 2015                              2015
                                                                                            20   198.   “Dog Cuddles with Toddler in Her “Perfect Guard Dog!”
                                                                                            21          Crib”                                 (http://www.ebaumsworld.com/video
                                                                                            22          (https://www.facebook.com/kristin /watch/84676608/) – posted July 30,
                                                                                            23          nc2002/videos/vb.193901720/101        2015
                                                                                            24          01749429937120/) – acquired July
                                                                                            25          25, 2015
                                                                                            26   199.   “Man Shows Off Epic Roman             “Dual Wielding Roman Candle
                                                                                            27          Candle Guns”                          Miniguns!”
                                                                                            28          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                                                                         74
                                                                                                                                                                       COMPLAINT
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                                                                                             1          v=RzZefx6dE8M) – acquired Aug. /watch/84706088/) – posted Aug. 22,
                                                                                             2          14, 2015                                2015
                                                                                             3   200.   “Wrestler Performs Back Breaking “Big Dude Puts a Brutal Back
                                                                                             4          Move on Female Opponent”                Breaker On a Female Wrestler”
                                                                                             5          (https://vine.co/v/evOWKKDIvaU          (http://www.ebaumsworld.com/video
                                                                                             6          ) – acquired July 21, 2015              /watch/84663893/) – posted July 20,
                                                                                             7                                                  2015
                                                                                             8   201.   “Human Battering Ram Stunt              “Stuntman Gets Set on Fire And Run
                                                                                             9          Goes Wrong”                             Over”
                                                                                            10          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            11          v=ROT-XQD4Ugs) – acquired               /watch/84670490/) – posted July 25,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Mar. 20, 2015                           2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   202.   “Husky Greets Owner after Long          “This husky lost his shit from seeing
                                                                             310-229-9900




                                                                                            14          Trip Away”                              his owner for the first time in 6
                                                                                            15          (https://www.jukinmedia.com/lice        months”
                                                                                            16          nsing/view/899884) – acquired           (https://twitter.com/ebaumsworld/stat
                                                                                            17          July 24, 2015                           us/624303560440676352) – posted
                                                                                            18                                                  July 23, 2015
                                                                                            19   203.   “Cat Jumps onto Family's Chicken “Cat Jumps Into Man’s Chicken
                                                                                            20          Dinner”                                 Dinner”
                                                                                            21          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            22          v=0f679wqZttE) – acquired July          /watch/84671114/) – posted July 26,
                                                                                            23          24, 2015                                2015
                                                                                            24   204.   “Most Flutter Presses in Five           “Blue Angels Low Flyby Sends
                                                                                            25          Minutes Using 40% of One's Body Beach Umbrellas Flying”
                                                                                            26          Weight”                                 (http://www.ebaumsworld.com/video
                                                                                            27          (https://recordsetter.com/world-        /watch/84655500/) – posted July 13,
                                                                                            28          record/flutter-presses-five-            2015
                                                                                                                                           75
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                                                                                             1          minutes-pressing-40-ones-body-
                                                                                             2          weight/17547) – acquired July 14,
                                                                                             3          2015
                                                                                             4   205.   “Residents Receive Complaints         “BBQ Outlaws”
                                                                                             5          About BBQ Smoke”                      (http://www.ebaumsworld.com/video
                                                                                             6          (https://www.facebook.com/red.m       /watch/84672618/) – posted July 27,
                                                                                             7          an.jordan/videos/vb.1333976402/1 2015
                                                                                             8          0207293333714976/?type=2&thea
                                                                                             9          ter) – acquired July 28, 2015
                                                                                            10   206.   “Window Gets Smashed by Hells         “Guy’s Car Window Smashed By
                                                                                            11          Angels”                               Hell’s Angels”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=1I6Vm1m4Bxc) – acquired July /watch/84673052/) – posted July 27,
                                                                             310-229-9900




                                                                                            14          29, 2015                              2015
                                                                                            15

                                                                                            16                                                “Hell’s Angels Ride By And Shatter
                                                                                            17                                                Guy’s Window”
                                                                                            18                                                (http://www.ebaumsworld.com/video
                                                                                            19                                                /watch/84680907/) – posted Aug. 3,
                                                                                            20                                                2015
                                                                                            21   207.   “Friends Stuff Twizzlers in           “Sleeping Guy Gets Twizzlered”
                                                                                            22          Sleeping Guy's Mouth during           (http://www.ebaumsworld.com/video
                                                                                            23          Road Trip”                            /watch/84675110/) – posted July 29,
                                                                                            24          (https://www.youtube.com/watch?       2015
                                                                                            25          v=zmQhLX467l0) – acquired July
                                                                                            26          28, 2015
                                                                                            27   208.   “Ear Stretch Rips Earlobe”            “Girl Tries To Stretch Her Earlobe,
                                                                                            28          (https://www.youtube.com/watch?       But Tears It Instead!”
                                                                                                                                         76
                                                                                                                                                                        COMPLAINT
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                                                                                             1          v=YH7UQgDiwX8) – acquired             (http://www.ebaumsworld.com/video
                                                                                             2          Sept. 2, 2015                         /watch/84722544/) – posted Sept. 3,
                                                                                             3                                                2015
                                                                                             4   209.   “Man Crashes Porsche 918 Spyder “Guy Crashes His Million Dollar
                                                                                             5          in Resort Parking Lot”                Porsche 918 Showing Off…”
                                                                                             6          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             7          v=2-U6sxmzjnw) – acquired Aug.        /watch/84680722) – posted Aug. 2,
                                                                                             8          1, 2015                               2015
                                                                                             9   210.   “Racist Lady Tells Hispanic           “Racist Old Lady Gets Called Out at
                                                                                            10          Woman to Speak English”               IHOP”
                                                                                            11          (https://www.facebook.com/photo. (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          php?v=532661783550190) –              /watch/84685657/) – posted Aug. 5,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          acquired Aug. 4, 2015                 2015
                                                                             310-229-9900




                                                                                            14

                                                                                            15                                                “A white lady at Ihop insults my
                                                                                            16                                                mom…”
                                                                                            17                                                (http://www.ebaumsworld.com/video
                                                                                            18                                                /watch/84680445/) – posted Aug. 2,
                                                                                            19                                                2015
                                                                                            20   211.   “Camper Asks Michael Jordan           “Some Brave Kid Asked Michael
                                                                                            21          "WHAT ARE THOSE!?!?"”                 Jordan: “What Are Those?!”
                                                                                            22          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            23          v=NpT1XFDjJKA) – acquired             /watch/84684136/) – posted Aug. 5,
                                                                                            24          Aug. 4, 2015                          2015
                                                                                            25   212.   “Donnie Baker Offers to Train         “Donnie Baker Challenges Ronda
                                                                                            26          Ronda Rousey”                         Rousey”
                                                                                            27          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            28          v=r8yqD-t6Otk) – acquired Aug.        /watch/84686485/) – posted Aug. 6,
                                                                                                                                         77
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                                                                                             1          5, 2015                                2015
                                                                                             2   213.   “Fox Goes after Human after            “Hungry Fox Thinks the Camera
                                                                                             3          Failed Chicken Hunt”                   Man Looks Delicious…and
                                                                                             4          (https://twitter.com/plateindestate/   ATTACKS!”
                                                                                             5          status/628949471309787136) –           (http://www.ebaumsworld.com/video
                                                                                             6          acquired Aug. 6, 2015                  /watch/84687591/) – posted June 7,
                                                                                             7                                                 2015
                                                                                             8   214.   “Octopus Captures and Eats             “Octopus Catches a Seagull and
                                                                                             9          Seagull”                               Drowns It!”
                                                                                            10          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            11          v=2p2RR3g8UOM) – acquired              s/octopus-catches-a-seagull-and-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Mar. 11, 2016                          drowns-it/84955387/) – posted Mar.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 11, 2016
                                                                             310-229-9900




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                                                                                            15                                                 “Octopus Snatches A Seagull, Ruins
                                                                                            16                                                 Everyone’s Day”
                                                                                            17                                                 (http://www.ebaumsworld.com/video
                                                                                            18                                                 s/octopus-snatches-a-seagull-ruins-
                                                                                            19                                                 everyones-day/84952751/) – posted
                                                                                            20                                                 Mar. 9, 2016
                                                                                            21   215.   “3-Year-Old Tries to Break Board       “Little Boy Trying to Break a Board
                                                                                            22          in Taekwondo”                          in Taekwondo”
                                                                                            23          (https://www.facebook.com/peakt        (http://www.ebaumsworld.com/video
                                                                                            24          kdtemecula/videos/822483117850         /watch/84690110/) – posted Aug. 10,
                                                                                            25          022/) – acquired Aug. 9, 2015          2015
                                                                                            26   216.   “English Bulldog Loves to Play         “This English Bulldog Loves His
                                                                                            27          with Box Tops”                         Box”
                                                                                            28          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                          78
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                                                                                             1          v=tGiKYlN0pDM) – acquired             /watch/84692284/) – posted Aug. 11,
                                                                                             2          Aug. 12, 2015                         2015
                                                                                             3   217.   “Spectators Almost Hit after Rally    “Spectators Flee From Out of Control
                                                                                             4          Car Loses Control”                    Rally Car”
                                                                                             5          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             6          v=x-DWOPtlJIE) – acquired Aug.        /watch/84692605/) – posted Aug. 11,
                                                                                             7          12, 2015                              2015
                                                                                             8   218.   “Baby Scowls at Parents Trying to     “This Grumpy Baby is Adorably
                                                                                             9          Make Him Smile”                       Upset”
                                                                                            10          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            11          v=JIJ7b9YUduE) – acquired Aug.        /watch/84702891/) – posted Aug. 19,
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                                                                                            12          17, 2015                              2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13
                                                                             310-229-9900




                                                                                            14                                                “This Truck Driver Gives 0 F*cks
                                                                                            15                                                About A Flooded Road!”
                                                                                            16                                                (http://www.ebaumsworld.com/video
                                                                                            17                                                /watch/84809840/) – posted Nov. 9,
                                                                                            18                                                2015
                                                                                            19   219.   “Stuntmen Perform Amazing             “Insane Take Down”
                                                                                            20          Takedown”                             (http://www.ebaumsworld.com/video
                                                                                            21          (https://instagram.com/p/6BJUfCJ      /watch/84694633/) – posted Aug. 12,
                                                                                            22          84E/) – acquired Aug. 13, 2015        2015
                                                                                            23   220.   “Toddler Instructs Family in          “Best viral videos of the Week!”
                                                                                            24          Fitness Routine”                      (http://www.ebaumsworld.com/video
                                                                                            25          (https://www.youtube.com/watch?       /watch/84916972/) – posted Feb. 3,
                                                                                            26          v=BhmrJyuEUZY) – acquired             2016
                                                                                            27          Aug. 14, 2015
                                                                                            28   221.   “Lady Becomes Belligerent After       “Angry Lady Thrown Off Plane
                                                                                                                                         79
                                                                                                                                                                       COMPLAINT
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                                                                                             1          Refusing to Listen to Authorities”     Because She Won’t Crate Her Dog!”
                                                                                             2          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                             3          nsing/view/908134) – acquired          /watch/84698043/) – posted Aug. 15,
                                                                                             4          Aug. 15, 2015                          2015
                                                                                             5   222.   “Cat Pole Dances with Man”             “German Guy Works A Stripper Pole
                                                                                             6          (https://www.youtube.com/watch?        With his Cat”
                                                                                             7          v=GN4_ctWUGMI) – acquired              (http://www.ebaumsworld.com/video
                                                                                             8          Aug. 17, 2015                          /watch/84699195/) – posted Aug. 17,
                                                                                             9                                                 2015
                                                                                            10   223.   “Waitress Verbally Massacres           “This Woman is the Rudest Waitress
                                                                                            11          Family Ordering at Restaurant”         of All Time”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.facebook.com/lanett       (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          a.maxfield/videos/1020765224884 /watch/84854149/) – posted Dec. 8,
                                                                             310-229-9900




                                                                                            14          3778/) – acquired Aug. 19, 2015        2015
                                                                                            15   224.   “Giant Red Ball Art Piece Rolls        “Giant Red Ball Breaks Free From
                                                                                            16          Loose Down Ohio Streets”               Art Installation In Toledo”
                                                                                            17          (https://instagram.com/p/6lKKzRo (http://www.ebaumsworld.com/video
                                                                                            18          R2-/?taken-by=jeremy419) –             /watch/84706993/) – posted Aug. 22,
                                                                                            19          acquired Aug. 21, 2015                 2015
                                                                                            20   225.   “Plane Crashes during Shoreham         “Shoreham Air Show Plane Crash
                                                                                            21          Air Show”                              [Better Angle]”
                                                                                            22          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            23          v=pvHplYmh2f8) – acquired Aug. /watch/84706430/) – posted Aug. 22,
                                                                                            24          22, 2015                               2015
                                                                                            25   226.   “Good Samaritan Pulls Over             “Man Stops a Lunatic Driver After
                                                                                            26          Intoxicated Driver”                    Witnessing Her Driving Recklessly!”
                                                                                            27          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                            28          nsing/view/908597) – acquired          /watch/84707706/) – posted Aug. 23,
                                                                                                                                          80
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 82 of 168 Page ID #:82



                                                                                             1          Aug. 23, 2015                        2015
                                                                                             2   227.   “Guy Tries to Free SUV from Tow “Crazy Guy in SUV Tries to Escape
                                                                                             3          Truck”                               Tow Truck But Fails”
                                                                                             4          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             5          v=O2BMu7pdX0o) – acquired            /watch/84711870/) – posted Aug. 26,
                                                                                             6          Aug. 27, 2015                        2015
                                                                                             7   228.   “Dad is Stoked When His Kid          “Awesome Dad Has Best Response
                                                                                             8          Gets A Doll At the Toy Store”        After Son Buys “Girly” Ariel Doll”
                                                                                             9          (https://www.jukinmedia.com/lice     (http://www.ebaumsworld.com/video
                                                                                            10          nsing/view/908608) – acquired        /watch/84712974/) – posted Aug. 27,
                                                                                            11          Aug. 25, 2015                        2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               “How Would You Feel If Your Son
                                                                             310-229-9900




                                                                                            14                                               Chose This”
                                                                                            15                                               (http://www.ebaumsworld.com/video
                                                                                            16                                               s/how-would-you-feel-if-your-son-
                                                                                            17                                               chose-this/85073696/) – posted July
                                                                                            18                                               7, 2016
                                                                                            19   229.   “Man Puts Electrode Massaging        “Having Fun With An Electrode
                                                                                            20          Pads on Face”                        Massager”
                                                                                            21          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            22          v=Ch1PwZay4wk) – acquired            /watch/84709392/) – posted Aug. 24,
                                                                                            23          Aug. 24, 2015                        2015
                                                                                            24   230.   “Jogger and Dog Trip over Gate”      “Let’s Play ‘Guess What Happens
                                                                                            25          (https://www.youtube.com/watch?      Next’”
                                                                                            26          v=lbqBkaTWcZM) – acquired            (http://www.ebaumsworld.com/video
                                                                                            27          Sept. 2, 2015                        /watch/84722030/) – posted Sept. 3,
                                                                                            28                                               2015
                                                                                                                                        81
                                                                                                                                                                      COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 83 of 168 Page ID #:83



                                                                                             1

                                                                                             2                                                  “Majestic Leap With Dog”
                                                                                             3                                                  (https://www.facebook.com/ebaums
                                                                                             4                                                  world/videos/vb.286683382423/1015
                                                                                             5                                                  3204885172424/?type=2&theater) –
                                                                                             6                                                  posted Sept. 2, 2015
                                                                                             7   231.   “Drone Captures Man Sunbathing          “Drone Catches a Man Sunbathing on
                                                                                             8          on Wind Turbine”                        a Wind Turbine”
                                                                                             9          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            10          nsing/view/908978) – acquired           /watch/84712650/) – posted Aug. 27,
                                                                                            11          Aug. 27, 2015                           2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   232.   “Girl Passes Out Twice on               “People Rebooting Compilation!”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Slingshot Ride”                         (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?         s/people-rebooting-
                                                                                            15          v=URSj-Lk3vo4) – acquired Aug.          compilation/84976143/) – posted
                                                                                            16          31, 2015                                Apr. 1, 2016
                                                                                            17   233.   “Crocodile Bites Foot off Another       “Crocodile Tears Off His Buddies
                                                                                            18          Crocodile”                              [sic] Arm During Feeding Frenzy”
                                                                                            19          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            20          v=JLy-Iiy_Zp4) – acquired Aug.          /watch/84715060/) – posted Aug. 28,
                                                                                            21          28, 2015                                2015
                                                                                            22   234.   “Guy Gives Interesting Latte Art        “Barista Shows Off His Talent”
                                                                                            23          Tutorial”                               (http://www.ebaumsworld.com/video
                                                                                            24          (https://www.youtube.com/watch?         /watch/84782530/) – posted October
                                                                                            25          v=a1FNSgqdhNk) – acquired Aug. 19, 2015
                                                                                            26          31, 2015
                                                                                            27   235.   “Guy Freaks Out as Boat                 “It do go down!”
                                                                                            28          Approaches Edge”                        (http://www.ebaumsworld.com/video
                                                                                                                                           82
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 84 of 168 Page ID #:84



                                                                                             1          (https://www.youtube.com/watch?        /watch/84736920/) – posted Sept. 16,
                                                                                             2          v=DYzT-Pk6Ogw) – acquired              2015
                                                                                             3          Sept. 8, 2015
                                                                                             4   236.   “Guy Picks Up Car and Moves It         “How To Get Out of a Tight Parking
                                                                                             5          Out of Parking Spot”                   Spot”
                                                                                             6          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             7          v=SyItdXnYvFQ) – acquired Sept. /watch/84723635/) – posted Sept. 4,
                                                                                             8          4, 2015                                2015
                                                                                             9   237.   “Toddler Completes Homemade            “The Tiny Ninja Warrior!”
                                                                                            10          Ninja Warrior Course”                  (http://www.ebaumsworld.com/video
                                                                                            11          (https://www.youtube.com/watch?        /watch/84724305/) – posted Sept. 5,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=OmrnVpZ8wTQ) – acquired              2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Sept. 4, 2015
                                                                             310-229-9900




                                                                                            14   238.   “Aerosmith's Steven Tyler Sings        “Aerosmith Steven Tyler sang with
                                                                                            15          with Street Musician”                  the street musician!”
                                                                                            16          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            17          v=-v1l897H7a4) – acquired Sept.        /watch/84725143/) – posted Sept. 5,
                                                                                            18          6, 2015                                2015
                                                                                            19   239.   “Man Rescues Tangled Deer”             “Man separates 2 fighting bucks”
                                                                                            20          (https://www.facebook.com/kristy. (http://www.ebaumsworld.com/video
                                                                                            21          z.moss/videos/919044894803915/) /watch/84725226/) – posted Sept. 5,
                                                                                            22          – acquired Sept. 6, 2015               2015
                                                                                            23   240.   “Baby Tries to Scare Dad When          “Baby Fake Cries Every Time His
                                                                                            24          Cutting Her Nails”                     Dad Tries to Cut His Fingernails!”
                                                                                            25          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                            26          nsing/view/909569) – acquired          /watch/84733900/) – posted Sept. 14,
                                                                                            27          Sept. 16, 2015                         2015
                                                                                            28

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                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 85 of 168 Page ID #:85



                                                                                             1                                                   “Tiny Baby Learns How to Prank her
                                                                                             2                                                   own Dad!”
                                                                                             3                                                   (http://www.ebaumsworld.com/video
                                                                                             4                                                   /watch/84732832/) – posted Sept. 13,
                                                                                             5                                                   2015
                                                                                             6   241.   “Cats Play Handmade Game of              “Two Kittens Playing Whack-A-
                                                                                             7          Whack-a-Mole”                            Mole…ehm…Whack-A-Kitten Are
                                                                                             8          (https://www.youtube.com/watch?          Adorable”
                                                                                             9          v=Jtmp0tZL0YY) – acquired Sept. (http://www.ebaumsworld.com/video
                                                                                            10          23, 2015                                 /watch/84757206/) – posted Oct. 2,
                                                                                            11                                                   2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   242.   “Man Catches Thief Stealing from         “Lady Caught Red-Handed Stealing
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Car”                                     Out of Guy’s Car”
                                                                             310-229-9900




                                                                                            14          (https://www.jukinmedia.com/lice         (http://www.ebaumsworld.com/video
                                                                                            15          nsing/view/909949https://www.faceb /watch/84731839/) – posted Sept. 12,
                                                                                            16          ook.com/ericka.viverette/videos/101002   2015;
                                                                                            17          10743865585/) – acquired Sept. 14,
                                                                                            18          2015                                     “When you catch a thief stealing
                                                                                            19                                                   from your car.”
                                                                                            20                                                   (http://www.ebaumsworld.com/video
                                                                                            21                                                   /watch/84857098/) – posted Dec. 10,
                                                                                            22                                                   2015
                                                                                            23   243.   “Guy Stumps Girlfriend with              “Guy Asks His Girlfriend What E-Y-
                                                                                            24          Spelling Prank”                          E-S Spells And Hilarity Ensues”
                                                                                            25          (www.youtube.com/watch?v=30J             (http://www.ebaumsworld.com/video
                                                                                            26          ZwjWL9w0) – acquired Sept. 14,           /watch/84733030/_ - posted Sept. 13,
                                                                                            27          2015                                     2015
                                                                                            28   244.   ”Woman Announces Pregnancy               “Best Birthday Present I Pregnancy
                                                                                                                                            84
                                                                                                                                                                          COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 86 of 168 Page ID #:86



                                                                                             1          To Husband On His Birthday”            Test Reaction”
                                                                                             2          (https://www.facebook.com/10000 (http://www.ebaumsworld.com/video
                                                                                             3          9852761459/videos/16475120719          /watch/84735920/) – posted Sept. 16,
                                                                                             4          6637) – acquired Sept. 13, 2015        2015
                                                                                             5   245.   “Dog Covers Sleeping Baby with         “Loyal Dog Tucks a Sleeping
                                                                                             6          Blanket”                               Newborn Baby Into Bed”
                                                                                             7          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             8          v=FGproEvedkI) – acquired Sept.        /watch/84758523/) – posted Oct. 2,
                                                                                             9          26, 2015                               2015
                                                                                            10   246.   “Baseball Fan Flips Off Wave”          “Man at White Sox Game Reacts
                                                                                            11          (https://www.youtube.com/watch?        Perfectly to The Wave”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=nfQpl30a3-A) – acquired Sept.        (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          15, 2015                               /watch/84734043/) – posted Sept. 15,
                                                                             310-229-9900




                                                                                            14                                                 2015
                                                                                            15   247.   “Race Cars Almost Collide In           “Figure 8 racing”
                                                                                            16          World Figure 8 Race”                   (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?        /watch/84741081/) – posted Sept. 21,
                                                                                            18          v=wZKqhvch3mU) – acquired              2015
                                                                                            19          Sept. 17, 2015
                                                                                            20   248.   “Bagpiper Overpowers Hate              “Boy takes down hate preacher in the
                                                                                            21          Preacher with Noise”                   most Scottish way possible”
                                                                                            22          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            23          v=JwLaDzKFiBY) – acquired              /watch/84746338/) – posted Sept. 23,
                                                                                            24          Sept. 19, 2015                         2015
                                                                                            25   249.   “Toddler Gives Marriage Advice”        “6 year old girl gave her mom a wake
                                                                                            26          (https://www.facebook.com/sherry up calls a lesson of life after her
                                                                                            27          ischerry/videos/984276941615721 parents been divorced”
                                                                                            28          /) – acquired Sept. 21, 2015           (http://www.ebaumsworld.com/video
                                                                                                                                          85
                                                                                                                                                                        COMPLAINT
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                                                                                             1                                               /watch/84743673/) – posted Sept. 23,
                                                                                             2                                               2015
                                                                                             3   250.   “Little Girl Explains Weddings to    “You do NOT understand weddings.
                                                                                             4          Father”                              AT ALL”
                                                                                             5          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             6          v=p6ZojleXMn4) – acquired Sept.      /watch/84740857/) – posted Sept. 20,
                                                                                             7          20, 2015                             2015
                                                                                             8   251.   “Man Sings to Dying Wife”            “Man sings to 93 year old dying
                                                                                             9          (https://www.youtube.com/watch?      wife”
                                                                                            10          v=wWPOG_hxkTE) – acquired            (http://www.ebaumsworld.com/video
                                                                                            11          Sept. 21, 2015                       /watch/84742544/) – posted Sept. 21,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                               2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   252.   “Rat Takes Pizza Home On The         “New York City rat taking pizza
                                                                             310-229-9900




                                                                                            14          Subway”                              home on the subway”
                                                                                            15          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            16          v=UPXUG8q4jKU) – acquired            /watch/84743282/) – posted Sept. 22,
                                                                                            17          Sept. 21, 2015                       2015;
                                                                                            18

                                                                                            19

                                                                                            20                                               “Master Splinter headed off to feed
                                                                                            21                                               #TMNT”
                                                                                            22                                               (http://www.ebaumsworld.com/video
                                                                                            23                                               /watch/84742587/) – posted Sept. 22,
                                                                                            24                                               2015;
                                                                                            25

                                                                                            26                                               “#PizzaRat for President!”
                                                                                            27                                               (https://twitter.com/ebaumsworld/stat
                                                                                            28                                               us/646064460847710208) – posted
                                                                                                                                        86
                                                                                                                                                                       COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 88 of 168 Page ID #:88



                                                                                             1                                                  Aug. 28, 2014
                                                                                             2   253.   “Angry Jogger Yells at Man with         “Christopher Columbus of
                                                                                             3          Stroller”                               Brooklyn!”
                                                                                             4          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                             5          nsing/view/910643) - acquired           /watch/84746484/) – posted Sept. 23,
                                                                                             6          Sept. 22, 2015                          2015
                                                                                             7   254.   “Boston Fisherman Freaks Out            “Guy with a Boston Accent Sees a
                                                                                             8          over Mysterious Fish”                   Weird Fish and Loses His Mind”
                                                                                             9          (https://www.facebook.com/mikey (http://www.ebaumsworld.com/video
                                                                                            10          brgn/videos/10200957083166738/          /watch/84746487/) – posted Sept. 23,
                                                                                            11          ) – acquired Sept. 25, 2015             2014
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   255.   “Cyclist Rides Bicycle Upstairs”        “Biking Up Stairs LIKE A BOSS!”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=bJGM6hp4vy0) – acquired               /watch/84743299/) – posted Sept. 22,
                                                                                            15          Sept. 23, 2015                          2015
                                                                                            16   256.   “How to Ruin a Beautiful Car”           “Show-off Fail: Man Ruins His
                                                                                            17          (https://www.youtube.com/watch?         $400K Lamborghini”
                                                                                            18          v=KNsjvZk8nT0) – acquired Oct.          (http://www.ebaumsworld.com/video
                                                                                            19          5, 2015                                 /watch/84763988/) – posted Oct. 6,
                                                                                            20                                                  2014;
                                                                                            21

                                                                                            22                                                  “How to Ruin a Beautiful Car”
                                                                                            23                                                  (http://www.ebaumsworld.com/video
                                                                                            24                                                  /watch/84763940/) – posted Oct. 6,
                                                                                            25                                                  2014;
                                                                                            26

                                                                                            27                                                  “Lamborghini catches Fire in Traffic”
                                                                                            28                                                  (http://www.ebaumsworld.com/video
                                                                                                                                           87
                                                                                                                                                                         COMPLAINT
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                                                                                             1                                                /watch/84769993/) – posted Oct. 10,
                                                                                             2                                                2014
                                                                                             3   257.   “Little Girl Catches Fish with        “Little Girl Catches Huge Bass With
                                                                                             4          Barbie Fishing Pole”                  Her Barbie Fishing Pole”
                                                                                             5          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             6          v=KXYpJupNLSA) – acquired             /watch/84747790/) – posted Sept. 24,
                                                                                             7          Sept. 24, 2015                        2015
                                                                                             8   258.   “Synchronized Cycling”                “Synchronized Cycling!”
                                                                                             9          (https://www.facebook.com/14526 (http://www.ebaumsworld.com/video
                                                                                            10          03751725097/videos/1488735751         /watch/84785256/) – posted Oct. 21,
                                                                                            11          445230/) – acquired Sept. 24, 2015 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   259.   “Air Drumming on the Subway”          “The Most Metal Air Drummer Ever”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=-QJuQWb648U) – acquired             /watch/84748781/) – posted Sept. 25,
                                                                                            15          Sept. 28, 2015                        2015
                                                                                            16   260.   “Wheel Gets Launched by Airbags “3 Airbags Vs 1 Wheel”
                                                                                            17          and Smashes Car Window”               (http://www.ebaumsworld.com/video
                                                                                            18          (https://www.youtube.com/watch?       /watch/84751679/) – posted Sept. 28,
                                                                                            19          v=hfgxAL3t2Tw) – acquired Sept. 2015;
                                                                                            20          28, 2015
                                                                                            21                                                “3 cars airbags 1 wheel One smashed
                                                                                            22                                                civic!”
                                                                                            23                                                (http://www.ebaumsworld.com/video
                                                                                            24                                                /watch/84756471/) – posted Oct. 1,
                                                                                            25                                                2015;
                                                                                            26

                                                                                            27                                                “Genius Deploys an Airbag Under a
                                                                                            28                                                Spare Tire”
                                                                                                                                         88
                                                                                                                                                                         COMPLAINT
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                                                                                             1                                             (http://www.ebaumsworld.com/video
                                                                                             2                                             /watch/84776289/) – posted Oct. 14,
                                                                                             3                                             2015;
                                                                                             4

                                                                                             5                                             “Funny Epic Fails 2016”
                                                                                             6                                             (http://www.ebaumsworld.com/video
                                                                                             7                                             s/funny-epic-fails-2016/84946769/) –
                                                                                             8                                             posted March 3, 2016
                                                                                             9   261.   “Speedy Cook Makes Red Bean        “People are awesome”
                                                                                            10          Pancakes”                          (http://www.ebaumsworld.com/video
                                                                                            11          (https://www.youtube.com/watch?    /watch/84808366/) – posted Nov. 6,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=O7ynu6QrS-Q) - acquired Oct.     2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          4, 2015
                                                                             310-229-9900




                                                                                            14   262.   “Black Bear Chews On Girl's        “Don’t eat my boat bear!”
                                                                                            15          Kayak”                             (http://www.ebaumsworld.com/video
                                                                                            16          (https://www.youtube.com/watch?    /watch/84755727/) – posted Oct. 1,
                                                                                            17          v=nU5cMZymSr0) – acquired          2015;
                                                                                            18          Sept. 30, 2015
                                                                                            19                                             “Woman Thanks Alaska Bear For
                                                                                            20                                             Not Eating Hayak; Bear Promptly
                                                                                            21                                             Eats Kayak”
                                                                                            22                                             (http://www.ebaumsworld.com/video
                                                                                            23                                             /watch/84755476/) – posted Oct. 1,
                                                                                            24                                             2015;
                                                                                            25

                                                                                            26                                             “Bear Chews On Kayak, Girl
                                                                                            27                                             Absolutely Loses Her Shit”
                                                                                            28                                             (http://www.ebaumsworld.com/video
                                                                                                                                      89
                                                                                                                                                                       COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 91 of 168 Page ID #:91



                                                                                             1                                                /watch/84754533/) – posted Sept. 30,
                                                                                             2                                                2015
                                                                                             3   263.   “Dad and Kid Reenact Wrestling        “How To Lay The Smackdown On
                                                                                             4          Moves”                                Your Kid”
                                                                                             5          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             6          v=K5PqBfXrtIM) – acquired Oct.        /watch/84755922/) posted Oct. 1,
                                                                                             7          1, 2015                               2015
                                                                                             8   264.   “Percussionist Plays Drums            “Wait For It…”
                                                                                             9          Upside-Down”                          (http://www.ebaumsworld.com/video
                                                                                            10          (https://www.youtube.com/watch?       /watch/84758650/) – posted Oct. 2,
                                                                                            11          v=hbf_wBvTJw0) – acquired Oct.        2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          3, 2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   265.   “Moose Plays with Drone”              “Moose plays with drone!”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            15          v=kKUXekVa-Kc) – acquired Oct. /watch/84759619/) – posted Oct. 3,
                                                                                            16          3, 2015                               2015
                                                                                            17   266.   “T-Rex Tries Out Aerial Class”        “T-Rex Works This Stripper Pole
                                                                                            18          (https://www.youtube.com/watch?       Like A Pro”
                                                                                            19          v=VGcMDemV4WA) – acquired             (http://www.ebaumsworld.com/video
                                                                                            20          Oct. 3, 2015                          /watch/84767561/) – posted Oct. 8,
                                                                                            21                                                2015
                                                                                            22   267.   “Plastic Water Tank Rolls Beside      “Windy day in Canterbury”
                                                                                            23          Road”                                 (http://www.ebaumsworld.com/video
                                                                                            24          (https://www.facebook.com/jake.ta /watch/84760523/) – posted Oct. 4,
                                                                                            25          ylor.731/videos/102073319068031 2015
                                                                                            26          10/) – acquired Oct. 4, 2015
                                                                                            27   268.   “Semi Truck Drives through            “18 Wheeler Plows Through flood
                                                                                            28          Flooded Highway”                      Waters”
                                                                                                                                         90
                                                                                                                                                                       COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 92 of 168 Page ID #:92



                                                                                             1          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             2          v=Xl2rCWGgyog) – acquired Oct. /watch/84760809/) – posted Oct. 5,
                                                                                             3          5, 2015                                 2015;
                                                                                             4

                                                                                             5                                                  “Truck vs Flood Thug Life version”
                                                                                             6                                                  (http://www.ebaumsworld.com/video
                                                                                             7                                                  /watch/84806235/) – posted Nov. 5,
                                                                                             8                                                  2015
                                                                                             9   269.   “Sister in Clown Costume Scares         “Sister Scares The Shit out of her
                                                                                            10          Brother”                                Brother”
                                                                                            11          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=xy3au-1N4sY) – acquired Oct.          /watch/84766260/) – posted Oct. 8,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          5, 2015                                 2015
                                                                             310-229-9900




                                                                                            14   270.   “Dinosaur Strips for the First          “What everyone needs at their
                                                                                            15          Time”                                   bachelor party…a dino stripper!”
                                                                                            16          (https://www.facebook.com/Clinto (http://www.ebaumsworld.com/video
                                                                                            17          nBrentwoodLee/videos/10156050           /watch/84764553/) – posted Oct. 6,
                                                                                            18          026835403/) – acquired Oct. 7,          2015
                                                                                            19          2015
                                                                                            20   271.   “Girl Performs Barbell Jerk with        “Girl Performs Barbell Jerk with 170
                                                                                            21          170 lbs”                                ls”
                                                                                            22          (www.youtube.com/watch?v=iVN            (http://www.ebaumsworld.com/video
                                                                                            23          bE52FIek) – acquired Oct. 19,           /watch/84785041/) – posted Oct. 20,
                                                                                            24          2015                                    2015
                                                                                            25   272.   “Thousands of Baby Crabs Swarm “Wait a minute….that’s not sand!”
                                                                                            26          Beach”                                  (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?         /watch/84773065/) – posted Oct. 12,
                                                                                            28          v=zFdoedMG5yU) – acquired Oct. 2015
                                                                                                                                           91
                                                                                                                                                                          COMPLAINT
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                                                                                             1          12, 2015
                                                                                             2   273.   “Dog Sits Behind Owner on              “Cool Dog Sits On Motorcycle With
                                                                                             3          Motorcycle”                            Owner”
                                                                                             4          (https://www.facebook.com/david. (http://www.ebaumsworld.com/video
                                                                                             5          barnes.108889/videos/8929610207 /watch/84776857/) – posted Oct. 15,
                                                                                             6          79816/) – acquired Jun. 25,2015        2015
                                                                                             7   274.   “Puppy Finds New Enemy in Door “Puppy vs Doorstop!”
                                                                                             8          Stop”                                  (http://www.ebaumsworld.com/video
                                                                                             9          (https://instagram.com/p/8ijDphyR /watch/84786815/) – posted Oct. 21,
                                                                                            10          JZ/) – acquired Oct. 20, 2015          2015
                                                                                            11   275.   “Little Thug Does a Magic Trick”       “Girl Turns Paper Into a Bird”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=6Xw--nJ1c7k) – acquired Oct.         /watch/84769220/) – posted Oct. 9,
                                                                             310-229-9900




                                                                                            14          10, 2015                               2015;
                                                                                            15

                                                                                            16                                                 “Little Machine Thug”
                                                                                            17                                                 (http://www.ebaumsworld.com/video
                                                                                            18                                                 /watch/84768796/) – posted Oct. 9,
                                                                                            19                                                 2015
                                                                                            20   276.   “No Outlet”                            “Charge it”
                                                                                            21          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            22          v=m4bazxAwGCQ) – acquired              /watch/84771529/) – posted Oct. 11,
                                                                                            23          Oct. 11, 2015                          2015
                                                                                            24   277.   “Skateboarder Gets Big Air in          “Skater Does Cool Trick With
                                                                                            25          Parking Lot”                           Parking Block!”
                                                                                            26          (https://instagram.com/p/4GEH4O        (http://www.ebaumsworld.com/video
                                                                                            27          rbGz/?taken-by=martinfobes) –          /watch/84778474/) – posted Oct. 15,
                                                                                            28          acquired Oct. 15, 2015                 2015
                                                                                                                                          92
                                                                                                                                                                         COMPLAINT
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                                                                                             1   278.   “Jaguar Dives into River to Catch      “Jaguar Dives Into A River To Catch
                                                                                             2          Alligator”                             A Caiman”
                                                                                             3          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             4          v=7ExKqRuO-hs) – acquired Oct.         /watch/84778509/) – posted Oct. 15,
                                                                                             5          14, 2015                               2015;
                                                                                             6

                                                                                             7                                                 “Leopard Drive Bombs a Crocodile
                                                                                             8                                                 In a River!”
                                                                                             9                                                 (http://www.ebaumsworld.com/video
                                                                                            10                                                 s/leopard-dive-bombs-a-crocodile-in-
                                                                                            11                                                 a-river/85035801/) – posted May 25,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   279.   “World's Most Pathetic Elevator        “World’s Most Pathetic Elevator
                                                                             310-229-9900




                                                                                            14          Chime”                                 Chime”
                                                                                            15          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            16          v=bQtmm_lpUKI) – acquired Oct. /watch/84775357/) – posted Oct. 14,
                                                                                            17          15, 2015                               2015
                                                                                            18

                                                                                            19   280.   “Kid Pushes Ball into Another          “Kid Pushes Ball Into Another Kids
                                                                                            20          Kid's Face”                            Face!”
                                                                                            21          (https://youtu.be/7Aeildvv0kw) –       (http://www.ebaumsworld.com/video
                                                                                            22          acquired Oct. 18, 2015                 /watch/84785258/) – posted Oct. 21,
                                                                                            23                                                 2015
                                                                                            24   281.   “Dad Surprises Daughter by             “Dad Surprises Daughter by Walking
                                                                                            25          Walking Her Down the Aisle at          Her Down the Aisle at Her Wedding”
                                                                                            26          Her Wedding”                           (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?        /watch/84785051/) – posted Oct. 21,
                                                                                            28          v=SxxL89P6Elo) – acquired Oct.         2015
                                                                                                                                          93
                                                                                                                                                                        COMPLAINT
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                                                                                             1          19, 2015
                                                                                             2   282.   “Dog Barks At Toy Halloween          “Hungry Dog Finds Out The Owners
                                                                                             3          Ghoul”                               Already Celebrate Halloween The
                                                                                             4          (https://www.facebook.com/leann.     Hard Way”
                                                                                             5          west.775/videos/16893441713101       (http://www.ebaumsworld.com/video
                                                                                             6          12/) – acquired Oct. 20, 2015        /watch/84778940/) – posted Oct. 16,
                                                                                             7                                               2015;
                                                                                             8

                                                                                             9                                               “Owner Pranks Dog With Halloween
                                                                                            10                                               Candy Bowl!”
                                                                                            11                                               (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                               /watch/84785040/) – posted Oct. 20,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               2015
                                                                             310-229-9900




                                                                                            14   283.   “Tiniest Bump Makes Car Flip”        “Small Fender Bender Makes Car
                                                                                            15          (http://vk.com/videos15814478?z= Flip!”
                                                                                            16          video15814478_172408280) –           (http://www.ebaumsworld.com/video
                                                                                            17          acquired Oct. 20, 2015               /watch/84785257/) – posted Oct. 21,
                                                                                            18                                               2015
                                                                                            19   284.   “Man with Machete Gets Hit by        “Crazy Guy Swinging Machete At
                                                                                            20          Car”                                 Cars”
                                                                                            21          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            22          v=vTNjidGFcm4) – acquired Oct.       /watch/84783497/) – posted Oct. 19,
                                                                                            23          19, 2015                             2015;
                                                                                            24

                                                                                            25                                               “Crazy dude attacks cars with
                                                                                            26                                               machete”
                                                                                            27                                               (http://www.ebaumsworld.com/video
                                                                                            28                                               /watch/84783242/) – posted Oct. 19,
                                                                                                                                        94
                                                                                                                                                                      COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 96 of 168 Page ID #:96



                                                                                             1                                                 2015
                                                                                             2   285.   “Weaving Through Cones on a            “How about this slalom course run?”
                                                                                             3          Skateboard”                            (http://www.ebaumsworld.com/video
                                                                                             4          (https://instagram.com/p/nJnP1TP       /watch/84855112/) – posted Dec. 9,
                                                                                             5          E0h/) – acquired Dec. 8, 2015          2015
                                                                                             6

                                                                                             7   286.   “Guy Uses Girl for Chest Press”        “This Woman Is The Rudest Waitress
                                                                                             8          (https://instagram.com/p/5Dw2Xf        Of All Time”
                                                                                             9          wXge/?taken-by=nathantsuji) –          (http://www.ebaumsworld.com/video
                                                                                            10          acquired Oct. 22, 2015                 /watch/84788619/) – posted Oct. 23,
                                                                                            11                                                 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   287.   “Puppeteer Performs on Metro”          “Skeleton Puppet Rockin Out”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          nsing/view/912704) – acquired          /watch/84785255/) – posted Oct. 21,
                                                                                            15          Oct. 20, 2015                          2015;
                                                                                            16

                                                                                            17                                                 “Rockin GNR Puppet On The
                                                                                            18                                                 Subway”
                                                                                            19                                                 (http://www.ebaumsworld.com/video
                                                                                            20                                                 s/rockin-gnr-puppet-on-the-
                                                                                            21                                                 subway/85084520/) – posted July 20,
                                                                                            22                                                 2016
                                                                                            23   288.   “Insane Box Jumps”                     “Man Has Crazy Jumping Skills”
                                                                                            24          (https://instagram.com/p/7YeytgT       (http://www.ebaumsworld.com/video
                                                                                            25          FFP/) – acquired Oct. 27, 2015         /watch/84795577/) – posted Oct. 28,
                                                                                            26                                                 2015
                                                                                            27   289.   ” Girl Jumps on Top of Giant           “Girl Jumps on Top of Giant Tires”
                                                                                            28          Tires”                                 (http://www.ebaumsworld.com/video
                                                                                                                                          95
                                                                                                                                                                        COMPLAINT
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                                                                                             1          (https://instagram.com/p/4pl4HXI        /watch/84902405/) – posted Jan. 19,
                                                                                             2          bsH/) – acquired Jan. 15, 2016          2016
                                                                                             3

                                                                                             4   290.   “Bus Crashes into Coffee Shop”          “Bus Crashes Into Coffee Shop”
                                                                                             5          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             6          v=eY1JkUVqnoc) – acquired Oct.          /watch/84795549/) – posted Oct. 28,
                                                                                             7          24, 2015                                2015
                                                                                             8   291.   “Kid in T-Rex Costume Running           “Kid in T-Rex Costume Running
                                                                                             9          Around”                                 Around”
                                                                                            10          (https://twitter.com/j_witt7/status/    (http://www.ebaumsworld.com/video
                                                                                            11          658019719115644928) – acquired          /watch/84794462/) – posted Oct. 27,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Oct. 26, 2015                           2015
                                                    LOS ANG ELES, CA 90067
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                                                                             310-229-9900




                                                                                            14   292.   “Police Arrest Chewbacca”               “Chewbacca Gets Arrested For
                                                                                            15          (https://www.youtube.com/watch?         Parking Illegally!”
                                                                                            16          v=bi-qVKFZ1vM) – acquired Oct. (http://www.ebaumsworld.com/video
                                                                                            17          27, 2015                                /watch/84793325/) – posted Oct. 26,
                                                                                            18                                                  2015
                                                                                            19   293.   “ATV Riders Crash into the Mud”         “ATV Riders Crash into the Mud”
                                                                                            20          (https://www.facebook.com/Bloop (http://www.ebaumsworld.com/video
                                                                                            21          erDudesXcBikeAndQuadBloopers /watch/84811512/) – posted Nov. 10,
                                                                                            22          /videos/400258413508037/) –             2015
                                                                                            23          acquired Nov. 3, 2015
                                                                                            24   294.   “Grandma Advises Grandson               “Grandmother misinterprets alcoholic
                                                                                            25          Against Smirnoff Ice”                   drink for drugs”
                                                                                            26          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            27          v=2Qh7LSb1h_I) – acquired Oct.          /watch/84795500/) – posted Oct. 28,
                                                                                            28          29, 2015                                2015;
                                                                                                                                           96
                                                                                                                                                                         COMPLAINT
                                                                             Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 98 of 168 Page ID #:98



                                                                                             1

                                                                                             2                                               “Angry Grandmother Thinks
                                                                                             3                                               Smirnoff “Ice” Is A Meth Drink”
                                                                                             4                                               (http://www.ebaumsworld.com/video
                                                                                             5                                               s/crazy-grandma-thinks-smirnoff-ice-
                                                                                             6                                               is-a-drug/85115779/) – posted Aug.
                                                                                             7                                               25, 2016
                                                                                             8   295.   “Dog Hates Celery”                   “Dog Hates Celery”
                                                                                             9          (https://instagram.com/p/9bK3RpE (http://www.ebaumsworld.com/video
                                                                                            10          5SM/) – acquired Nov. 3, 2015        /watch/84805178/) – posted Nov. 4,
                                                                                            11                                               2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   296.   “Darth Vader Crashes on              “Darth Vader On A Hoverboard”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Swegway”                             (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?      /watch/84800401/) – posted Oct. 31,
                                                                                            15          v=0IQy2SRfgKM) – Oct. 29, 2015 2015;
                                                                                            16

                                                                                            17                                               “Darth Vader v. Hoverboard”
                                                                                            18                                               (http://www.ebaumsworld.com/video
                                                                                            19                                               /watch/84799268/) – posted Oct. 30,
                                                                                            20                                               2015
                                                                                            21   297.   “Pro Wrestler Pukes before           “Wrestler Pukes from top ropes then
                                                                                            22          Entering Ring”                       continues anyway”
                                                                                            23          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            24          v=42KLNUYnALQ) – acquired            /watch/84805532/) – posted Nov. 4,
                                                                                            25          Nov. 3, 2015                         2015
                                                                                            26   298.   “Don't Play with Fire”               “
                                                                                            27          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            28          v=h2qfjwoy5M4) – acquired Oct.       /watch/84801850/) – posted
                                                                                                                                        97
                                                                                                                                                                      COMPLAINT
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                                                                                             1          30, 2015
                                                                                             2   299.   “Golfer Hits Ball Off Friend's        “Golfer Tees Off Of Friends Junk!”
                                                                                             3          Balls”                                (http://www.ebaumsworld.com/video
                                                                                             4          (https://instagram.com/p/5YDd1_J /watch/84804995/) – posted Nov. 3,
                                                                                             5          uT9/) – acquired Nov. 3, 2015         2015
                                                                                             6   300.   “Girl Lifts Weights at                “Girl Lifts Weights at Competition
                                                                                             7          Competition”                          Impressive”
                                                                                             8          (www.youtube.com/watch?v=Vs2          (http://www.ebaumsworld.com/video
                                                                                             9          bSMOgOzk) – acquired Nov. 8,          /watch/84811393/) – posted Nov. 10,
                                                                                            10          2015                                  2015
                                                                                            11   301.   “Girl Breaks Vending Machine          “Girl Breaks Vending Machine
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Glass”                                Glass”
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          (https://www.facebook.com/ben.jo (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          rgensen.18/videos/9665442134055 /watch/84803297/) – posted Nov. 2,
                                                                                            15          78/) – acquired Nov. 2, 2015          2015
                                                                                            16   302.   “Kitten Rides Box Down Stairs”        “Best way to trick cats, into sliding
                                                                                            17          (https://www.youtube.com/watch?       down the stairs!”
                                                                                            18          v=nTZQ9Ntq71c) – acquired Oct.        (http://www.ebaumsworld.com/video
                                                                                            19          31, 2015                              /watch/84801886/) – posted Nov. 1,
                                                                                            20                                                2015
                                                                                            21   303.   “Squid Dancing in Man's Meal”         “Would You Be Able To Eat This
                                                                                            22          (https://www.youtube.com/watch?       While Its Moving?”
                                                                                            23          v=4n2kYAUPv2c) – acquired             (http://www.ebaumsworld.com/video
                                                                                            24          Nov. 6, 2015                          /watch/84942992/) – Feb. 28, 2016;
                                                                                            25

                                                                                            26                                                “Squid Comes Back To Life During
                                                                                            27                                                Meal Preparation”
                                                                                            28                                                (http://www.ebaumsworld.com/video
                                                                                                                                         98
                                                                                                                                                                         COMPLAINT
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                                                                                             1                                                 s/squid-comes-back-to-life-during-
                                                                                             2                                                 meal-preparation/85108295/) –
                                                                                             3                                                 posted Aug. 17, 2016
                                                                                             4   304.   “Dog Side-Eyes Owner”                  “Dog Keenly Eyes Owner”
                                                                                             5          (www.youtube.com/watch?v=ou3           (http://www.ebaumsworld.com/video
                                                                                             6          bSVcRLu80 – acquired Dec. 2,           /watch/84843544/) – posted Dec. 3,
                                                                                             7          2015                                   2015;
                                                                                             8

                                                                                             9                                                 “When you pick your dog up from
                                                                                            10                                                 the vet & he gives you that look”
                                                                                            11                                                 (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 /watch/84933934/) – posted Feb. 19,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 2016
                                                                             310-229-9900




                                                                                            14   305.   “Dad Makes Baby a MechWarrior          “Mech Warrior Costume Halloween
                                                                                            15          Costume”                               2015”
                                                                                            16          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            17          v=ILNUKulJnCk) – acquired Nov. /watch/84801932/) – posted Nov. 2,
                                                                                            18          1, 2015                                2015
                                                                                            19   306.   “Man Surprises Wife with Funny         “Surprise My Wife on Halloween!”
                                                                                            20          Halloween Costume”                     (http://www.ebaumsworld.com/video
                                                                                            21          (https://www.youtube.com/watch?        /watch/84802283/) – posted Nov. 2,
                                                                                            22          v=iFYKDBBTCRc) – acquired              2015
                                                                                            23          Nov. 2, 2015
                                                                                            24   307.   “Little Girl Pukes after Eating too    “Whipping Cream Horror!”
                                                                                            25          Much Whipped Cream”                    (http://www.ebaumsworld.com/video
                                                                                            26          (https://www.youtube.com/watch?        /watch/84803342/) – posted Nov. 2,
                                                                                            27          v=p83OpVJX-BY) – acquired              2015
                                                                                            28          Nov. 2, 2015
                                                                                                                                          99
                                                                                                                                                                         COMPLAINT
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                                                                                             1   308.   “Girl Falls Trying to Jump Over         “Girl Falls Trying to Jump Over
                                                                                             2          Creek”                                  Creek”
                                                                                             3          (https://instagram.com/p/9mYK1n         (http://www.ebaumsworld.com/video
                                                                                             4          oDj6/) – acquired Nov. 8, 2015          /watch/84811432/) – posted Nov. 10,
                                                                                             5                                                  2015
                                                                                             6

                                                                                             7   309.   “Kid Flies out of Trampoline            “Kid Almost Dies”
                                                                                             8          Cage”                                   (http://www.ebaumsworld.com/video
                                                                                             9          (https://www.youtube.com/watch?         /watch/84852956/) – posted Dec. 7,
                                                                                            10          v=QnUn-9Lmh7w) – acquired               2015
                                                                                            11          Dec. 7, 2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   310.   “Cockatiel Sings Addam’s Family         “Cockatiel Sings Addam’s Family
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Theme Song”                             Theme Song”
                                                                             310-229-9900




                                                                                            14          (https://instagram.com/p/9YNe79J        (http://www.ebaumsworld.com/video
                                                                                            15          eRy/) – acquired Nov. 6, 2015           s/cockatiel-sings-addams-family-
                                                                                            16                                                  theme-song/85110383/) – posted
                                                                                            17                                                  Aug. 19, 2016
                                                                                            18   311.   “Icebergs Break off from Glacier        “Massive Iceberg Breaking Apart In
                                                                                            19          and Sink into Water”                    Iceland”
                                                                                            20          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            21          v=IRlNHg64EW8) – acquired               /watch/84812330/) – posted Nov. 11,
                                                                                            22          Nov. 6, 2015                            2015
                                                                                            23   312.   “Man in Cat Mask Scares Cats”           “Man in Cat Mask Scares Cats”
                                                                                            24          (https://www.facebook.com/tjbrow (http://www.ebaumsworld.com/video
                                                                                            25          nejr/videos/10208131529384776/)         /watch/84808696/) – posted Nov. 7,
                                                                                            26          - acquired Nov. 6, 2015                 2015
                                                                                            27   313.   “Girl Doesn't Know How to Hang          “little girl cant hang up phone”
                                                                                            28          Up Phone”                               (http://www.ebaumsworld.com/video
                                                                                                                                          100
                                                                                                                                                                           COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?       /watch/84808822/) – Nov. 7, 2015
                                                                                             2          v=bmuJj8-k8pM) – Nov. 7, 2015
                                                                                             3   314.   “Swim Cap Toss”                       “Putting a Swim Cap On Like a
                                                                                             4          (https://www.youtube.com/watch?       Boss!”
                                                                                             5          v=5a0cLzqPj0E) – acquired Nov.        (http://www.ebaumsworld.com/video
                                                                                             6          8, 2015                               s/putting-a-swim-cap-on-like-a-
                                                                                             7                                                boss/85133561/) – posted Sept. 11,
                                                                                             8                                                2016
                                                                                             9   315.   “Kitten Slaps and Kisses Owner”       “Kitten Slaps and Kisses Owner”
                                                                                            10          (https://youtu.be/3aHA_px-OSA)        (http://www.ebaumsworld.com/video
                                                                                            11          – acquired Nov. 9, 2015               /watch/84811198/) – posted Nov. 9,
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                2015
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   316.   “Little Girl Hums Imperial March      “Toddler sings Star Wars Imperial
                                                                             310-229-9900




                                                                                            14          from Crib”                            March”
                                                                                            15          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            16          v=bX_kKA6gXCg0) – acquired            /watch/84812617/) – posted Nov. 11,
                                                                                            17          Nov. 11, 2015                         2015
                                                                                            18   317.   “Girl Witnesses Plane Crash while “Woman Captures Plane Crash
                                                                                            19          Snapchatting”                         During a Snapchat Session”
                                                                                            20          (https://twitter.com/paigeey_kinns    (http://www.ebaumsworld.com/video
                                                                                            21          15/status/664186153009070080) – /watch/84812295/) – posted Nov. 11,
                                                                                            22          acquired Nov. 10, 2015                2015
                                                                                            23   318.   “Dad Takes GoPro Video of             “Irish Dad Borrows His Son’s GoPro
                                                                                            24          Vacation Backwards”                   For Vegas Trip…”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            26          v=8GDZBXZunzM) – acquired             /watch/84817414/) – posted Nov. 17,
                                                                                            27          Nov. 15, 2015                         2015
                                                                                            28   319.   “Rolling in a Wheel with No           “Rolling in a Wheel with No Hands”
                                                                                                                                        101
                                                                                                                                                                       COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 103 of 168 Page ID #:103



                                                                                             1          Hands”                                (http://www.ebaumsworld.com/video
                                                                                             2          (https://www.instagram.com/p/7Hj /watch/84842897/) – posted Dec. 2,
                                                                                             3          OsIRbpA/?taken-                       2015
                                                                                             4          by=ashtomcircus) – acquired Nov.
                                                                                             5          30, 2015
                                                                                             6   320.   “Chihuahua Cuddles with Owner”        “Chihuahua Cuddles with Owner”
                                                                                             7          (https://www.instagram.com/p/93J (http://www.ebaumsworld.com/video
                                                                                             8          ROCLOeS/) – acquired Nov. 26,         /watch/84840949/) – posted Nov. 30,
                                                                                             9          2015                                  2015
                                                                                            10   321.   “Power Lines go Haywire after Ice “Power Lines Go Haywire After Ice
                                                                                            11          Storm”                                Storm!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://twitter.com/itsadamcharles (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          /status/671043257384591360) –         /watch/84844792/) – posted Dec. 3,
                                                                             310-229-9900




                                                                                            14          acquired Dec. 3, 2015                 2015
                                                                                            15   322.   “Father Goes Crazy when Song          “A Father Too Eager Make His Son
                                                                                            16          Comes On”                             Was Subjected”
                                                                                            17          (https://www.facebook.com/MrBia (http://www.ebaumsworld.com/video
                                                                                            18          sReview/videos/89095717765546         s/a-father-too-eager-make-his-son-
                                                                                            19          1/) – acquired Dec. 5, 2015           was-subjected/85030226/) – posted
                                                                                            20                                                May 18, 2016;
                                                                                            21

                                                                                            22                                                “Father Goes Crazy When His Jam
                                                                                            23                                                Comes On In Car”
                                                                                            24                                                (http://www.ebaumsworld.com/video
                                                                                            25                                                s/father-goes-crazy-when-his-jam-
                                                                                            26                                                comes-on-in-car/85129134/) – posted
                                                                                            27                                                Sept. 7, 2016
                                                                                            28   323.   “Man Uses Chainsaw to Cross           “Contestant for the Great Canadian
                                                                                                                                        102
                                                                                                                                                                       COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 104 of 168 Page ID #:104



                                                                                             1          Frozen Lake”                           Darwin Awards”
                                                                                             2          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             3          v=q_nvhIfUui0) – acquired Dec.         /watch/84841242/) posted Nov. 30,
                                                                                             4          1, 2015                                2015
                                                                                             5   324.   “Boat Parking Catastrophe”             “On Land Or Water, A Female
                                                                                             6          (https://www.facebook.com/tarqui       Driver Is A Female Driver”
                                                                                             7          niarrambide/videos/973344519393 (http://www.ebaumsworld.com/video
                                                                                             8          659/) – acquired Dec. 16, 2015         s/on-land-or-water-a-female-driver-
                                                                                             9                                                 is-a-female-driver/85019160/) –
                                                                                            10                                                 posted May 7, 2016
                                                                                            11   325.   “Guys Use Treadmill to Transport       “Guys Use Treadmill to Transport
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Pieces of Wood”                        Wood Logs”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.facebook.com/joy.ca       (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          hill/videos/10154320368654908/)        /watch/84843848/) – Dec. 3, 2015
                                                                                            15          acquired Dec. 2, 2015
                                                                                            16   326.   “Lion Couple Ambushes                  “Woman Vs. Men Shopping”
                                                                                            17          Wildebeest Pack”                       (http://www.ebaumsworld.com/video
                                                                                            18          (https://www.youtube.com/watch?        s/women-vs-men-
                                                                                            19          v=LjGbOZEYE-w) – acquired              shopping/85101362/) – posted Aug.
                                                                                            20          Jan. 12, 2016                          9, 2016
                                                                                            21   327.   “Christmas Tree Falls on Woman” “Christmas came Crashing onto my
                                                                                            22          (https://www.youtube.com/watch?        wife!”
                                                                                            23          v=ReYp67xtlGM) – acquired Jan.         (http://www.ebaumsworld.com/video
                                                                                            24          12, 2016                               /watch/84844568/) – posted Dec. 3,
                                                                                            25                                                 2015
                                                                                            26   328.   “Cat Falls into Tub and Freaks         “cat carma in 3…2…2…”
                                                                                            27          Out”                                   (http://www.ebaumsworld.com/video
                                                                                            28          (https://www.youtube.com/watch?        /watch/84844887/) – posted Dec. 3,
                                                                                                                                         103
                                                                                                                                                                        COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 105 of 168 Page ID #:105



                                                                                             1          v=-nD9FsSdLDo) – acquired Dec.        2015
                                                                                             2          4, 2015
                                                                                             3   329.   “Coca-Cola Christmas Bottle           “Amazing Coca-Cola Christmas Gift
                                                                                             4          Bow”                                  Bow!”
                                                                                             5          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             6          v=3kTQcwK92W8) – acquired             /watch/84847795/) – posted Dec. 5,
                                                                                             7          Dec. 6, 2015                          2015
                                                                                             8   330.   “Santa Signs to Child”                “This Guy Might Actually Be Santa”
                                                                                             9          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            10          v=RPcTB86aT0Y) – acquired             /watch/84850817/) – posted Dec. 7,
                                                                                            11          Dec. 7, 2015                          2015;
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                                                                                            12
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                “Santa singing to child”
                                                                             310-229-9900




                                                                                            14                                                (http://www.ebaumsworld.com/video
                                                                                            15                                                /watch/84849431/) – posted Dec. 6,
                                                                                            16                                                2015
                                                                                            17   331.   “Swegway Santa Crashes into           “SANTA 2015!”
                                                                                            18          Tree”                                 (http://www.ebaumsworld.com/video
                                                                                            19          (https://www.youtube.com/watch?       /watch/84851285/) – Dec. 7, 2015
                                                                                            20          v=kwMHr5zN8Vw) – acquired
                                                                                            21          Dec. 7, 2015
                                                                                            22   332.   “Man Slaps Dog's Butt”                “Hey…I want A Slap Too!
                                                                                            23          (https://www.jukinmedia.com/lice      (http://www.ebaumsworld.com/video
                                                                                            24          nsing/view/919135) - acquired         /watch/84855373/) – posted Dec. 9,
                                                                                            25          Dec. 10, 2015                         2015;
                                                                                            26

                                                                                            27                                                “Dude’s Jealous Side Bitch Wants
                                                                                            28                                                Some Booty Patting Too”
                                                                                                                                        104
                                                                                                                                                                         COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 106 of 168 Page ID #:106



                                                                                             1                                               (http://www.ebaumsworld.com/video
                                                                                             2                                               s/dudes-jealous-side-bitch-wants-
                                                                                             3                                               some-booty-patting-too/85059826/) –
                                                                                             4                                               posted June 22, 2016
                                                                                             5   333.   “Groom Cries When He Sees            “Groom Cries When He Sees Bride”
                                                                                             6          Bride”                               (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.facebook.com/10000 /watch/84858173/) – posted Dec. 11,
                                                                                             8          0149796943/videos/11651652234        2015
                                                                                             9          98460/) – acquired Dec. 10, 2015
                                                                                            10   334.   “Bowling through Legs Fail”          “Bowling through Legs Fail!”
                                                                                            11          (https://youtu.be/FTT6MPJuHnA)       (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          – acquired Dec. 15, 2015             /watch/84863427/) – posted Dec. 15,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               2015
                                                                             310-229-9900




                                                                                            14   335.   “Dog Tries to Bark without Vocal     “Rescued dog with removed vocal
                                                                                            15          Chords”                              chords still manage to bark”
                                                                                            16          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            17          v=TRNgslT2pSs) – acquired Dec.       /watch/84857658/) – posted Dec. 10,
                                                                                            18          10, 2015                             2015
                                                                                            19   336.   “Girl Fails at Rope Swing”           “Girl Fails at Rope Swing”
                                                                                            20          (https://www.facebook.com/shayle (http://www.ebaumsworld.com/video
                                                                                            21          ne.doty/videos/101001402850949       /watch/84886296/) – posted Jan. 6,
                                                                                            22          77/) – acquired Jan. 5, 2016         2015
                                                                                            23   337.   “Dog Growls while Being              “My Grandmother’s Dog Loves Me”
                                                                                            24          Caressed”                            (http://www.ebaumsworld.com/video
                                                                                            25          (https://www.youtube.com/watch?      /watch/84898530/) – posted Jan. 15,
                                                                                            26          v=S2lbNDKbmkE) – acquired            2016
                                                                                            27          Dec. 11, 2015
                                                                                            28   338.   “Rock Climber Can't Clip Rope”       “Rock Climber Cant Clip Rose
                                                                                                                                       105
                                                                                                                                                                       COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 107 of 168 Page ID #:107



                                                                                             1          (https://youtu.be/gZOyBc7vDek) – (http://www.ebaumsworld.com/video
                                                                                             2          acquired Jan. 8, 2016                   /watch/84893395/) – posted Jan. 12,
                                                                                             3                                                  2016
                                                                                             4   339.   “Dog Balances Cups on Stomach”          “Dog Balances Cups on Stomach”
                                                                                             5          (https://instagram.com/p/6s1NTUx (http://www.ebaumsworld.com/video
                                                                                             6          3Nw/) – acquired Dec. 14, 2015          /watch/84862474/) – posted Dec. 15,
                                                                                             7                                                  2015
                                                                                             8   340.   “Muscular Man Plays Game with           “The Patwacher”
                                                                                             9          Other Men”                              (http://www.ebaumsworld.com/video
                                                                                            10          (https://instagram.com/p/_QLR0o         /watch/84861754/) – posted Dec. 14,
                                                                                            11          McjR/) – acquired Dec. 15, 2015         2015
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   341.   “Ice Crystals Form when Frozen          “Ice Crystals Form when Frozen
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Lake Melts”                             Lake Melts”
                                                                             310-229-9900




                                                                                            14          (https://www.facebook.com/mtbea (http://www.ebaumsworld.com/video
                                                                                            15          verco/videos/1415719762022450/) /watch/84866986/) posted Dec. 18,
                                                                                            16          – acquired Dec. 18, 2015                2015
                                                                                            17   342.   “Girl Does Amazing Calisthenics         “Girl Does Amazing Calisthenics at
                                                                                            18          at Venice Beach”                        Venice beach!”
                                                                                            19          (https://instagram.com/p/-              (http://www.ebaumsworld.com/video
                                                                                            20          7t3giunGr/) – acquired Dec. 28,         /watch/84878210/) – posted Dec. 29,
                                                                                            21          2015                                    2015
                                                                                            22   343.   “Whitetail Deer March through           “Whitetail Deer March through
                                                                                            23          Water”                                  Water!”
                                                                                            24          (https://www.facebook.com/kerm.f (http://www.ebaumsworld.com/video
                                                                                            25          idler/videos/905391032880285/) –        /watch/84865587/0 posted Dec. 17,
                                                                                            26          acquired Dec. 17, 2015                  2015
                                                                                            27   344.   “Little Girl Meets Santa”               “Little girl mistakes a shopper for
                                                                                            28          (https://www.facebook.com/top.ril       Santa-“
                                                                                                                                          106
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 108 of 168 Page ID #:108



                                                                                             1          ey/videos/10206611272113048/) – (http://www.ebaumsworld.com/video
                                                                                             2          acquired Dec. 18, 2015                /watch/84866032/) – posted Dec. 17,
                                                                                             3                                                2015
                                                                                             4   345.   “Old People Go Wrong Way on           “Old People Go Wrong Way on
                                                                                             5          Moving Walkway”                       Moving Walkway”
                                                                                             6          (https://www.facebook.com/video. (http://www.ebaumsworld.com/video
                                                                                             7          php?v=10156260535540361) –            /watch/84879018/) – posted Dec. 29,
                                                                                             8          acquired Dec. 22, 2015                2015
                                                                                             9   346.   “Woman's Face Goes Numb”              “Lady Can’t Stop Laughing At her
                                                                                            10          (https://www.youtube.com/watch?       Numb Face After Leaving Dentist”
                                                                                            11          v=gLtG6bPVoHM) – acquired             (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Dec. 24, 2015                         /watch/84872524/) – posted Dec. 23,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                2015
                                                                             310-229-9900




                                                                                            14   347.   “Man Breaks New Guitar”               “Dude Accidentally Breaks His New
                                                                                            15          (https://www.youtube.com/watch?       Guitar”
                                                                                            16          v=RujbZ86nglg) – acquired Dec.        (http://www.ebaumsworld.com/video
                                                                                            17          26, 2015                              /watch/84875589/) – posted Dec. 26,
                                                                                            18                                                2015
                                                                                            19   348.   “Little Boy Excited for Steak         “Kid Gets A-1 Steak Sauce For
                                                                                            20          Sauce”                                Christmas”
                                                                                            21          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            22          v=Rp57risY29o) – acquired Dec.        /watch/84878930/) – posted Dec. 29,
                                                                                            23          27, 2015                              2015
                                                                                            24   349.   “Baby Loves First Taste of Bacon” “Baby Loves First Taste of Bacon”
                                                                                            25          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            26          v=OtMVMNST_g4) – acquired             /watch/84880341/) – posted Dec. 30,
                                                                                            27          Dec. 29, 2015                         2015
                                                                                            28   350.   “Kid Gets Tongue Stuck on             “Kid Instantly Regrets Sticking His
                                                                                                                                        107
                                                                                                                                                                        COMPLAINT
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                                                                                             1          Frozen Pole”                           Tongue On An Icy Pole”
                                                                                             2          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             3          v=OoX916373Uw) – acquired              /watch/84877614/) – posted Dec. 28,
                                                                                             4          Dec. 30, 2015                          2015
                                                                                             5   351.   “Guy Climbs Light-Up Christmas         “Guy Climbs Light-Up Christmas
                                                                                             6          Tree”                                  Tree”
                                                                                             7          (https://www.facebook.com/joseph (http://www.ebaumsworld.com/video
                                                                                             8          .jones.9469/videos/102089829029        /watch/84880299/) – posted Dec. 30,
                                                                                             9          96810/) – acquired Dec. 30, 2015       2015
                                                                                            10   352.   “Girl Chips Tooth During Rant”         “Girl Chips Tooth During Rant”
                                                                                            11          (https://vine.co/v/O0UWipALd60) (http://www.ebaumsworld.com/video
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                                                                                            12          – acquired Jan. 5, 2016                /watch/84886297/) – posted Jan. 6,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 2015
                                                                             310-229-9900




                                                                                            14   353.   “The Case of the Mondays”              “Man Sips Coffee And Jumps Into A
                                                                                            15          (https://instagram.com/p/_SPR53N Pile Of Snow”
                                                                                            16          H_R/) – acquired Jan. 19, 2016         (http://www.ebaumsworld.com/video
                                                                                            17                                                 /watch/84904231/) – posted Jan. 20,
                                                                                            18                                                 2016
                                                                                            19   354.   “Swegway Explodes on Sidewalk” “Hoverboard Bursts into Flames in
                                                                                            20          (https://www.youtube.com/watch?        Los Angeles, Firefighters Called…”
                                                                                            21          v=9bAZfe7b9uw) – acquired Jan.         (http://www.ebaumsworld.com/video
                                                                                            22          3, 2016                                /watch/84880776/) – Dec. 31, 2014
                                                                                            23   355.   “Rat Drags Dead Rat Across             “NY Pizza Rat Turns to cannibalism”
                                                                                            24          Subway”                                (http://www.ebaumsworld.com/video
                                                                                            25          (https://www.youtube.com/watch?        /watch/84885034/) – posted Jan. 4,
                                                                                            26          v=ypUzFbthEJg) – acquired Jan.         2015
                                                                                            27          4, 2016
                                                                                            28   356.   “Man Surprises Wife with New           “Christmas Car Surprise For The
                                                                                                                                         108
                                                                                                                                                                        COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 110 of 168 Page ID #:110



                                                                                             1          Car”                                    Wife”
                                                                                             2          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             3          v=I1MYZg12LoI) – acquired Jan.          /watch/84883357/) – Jan. 3, 2015
                                                                                             4          4, 2016
                                                                                             5   357.   “Man Meets Plastic Chair”               “Watch Me Belly Flop Off My Truck
                                                                                             6          (https://www.facebook.com/LADb Onto a Plastic Chair”
                                                                                             7          ible/videos/2623816230998884/) – (http://www.ebaumsworld.com/video
                                                                                             8          acquired Jan. 12, 2016                  /watch/84894087/) – posted Jan. 12,
                                                                                             9                                                  2016
                                                                                            10   358.   “Girl with Weight Pulls up Rings”       “Girl Flips on Rings”
                                                                                            11          (https://instagram.com/p/_ZW4Qq         (http://www.ebaumsworld.com/video
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                                                                                            12          SPoV/) Jan. 5, 2016                     /watch/84889320/) – Jan. 7, 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   359.   “Man Plays with Dancing Vein”           “Man Plays with Dancing Vein”
                                                                             310-229-9900




                                                                                            14          (https://www.facebook.com/10000 (http://www.ebaumsworld.com/video
                                                                                            15          7299315735/videos/16270579475           /watch/84889567/) – posted Jan. 8,
                                                                                            16          47500/) – acquired Jan. 7, 2016         2016
                                                                                            17   360.   “Kitesurfer Hops Over Peninsula”        “Kitesurfer Hops Over Peninsula”
                                                                                            18          (https://instagram.com/p/_7sDeJo        (http://www.ebaumsworld.com/video
                                                                                            19          Keq/) – acquired Jan. 7, 2016           /watch/84890345/) – posted Jan. 9,
                                                                                            20                                                  2016
                                                                                            21

                                                                                            22   361.   “Raccoons Invade Restaurant”            “Chinese Restaurant Worker Tries to
                                                                                            23          (https://youtu.be/lrIXoXrS5RU) –        Get Rid of Two Huge Raccoons”
                                                                                            24          acquired Jan. 8, 2016                   (http://www.ebaumsworld.com/video
                                                                                            25                                                  /watch/84889951/) – posted Jan. 8,
                                                                                            26                                                  2016
                                                                                            27   362.   “Dog Chases after Darts on TV”          “This Dog Loves A Good Dart
                                                                                            28          (https://www.facebook.com/beejay Competition on TV”
                                                                                                                                          109
                                                                                                                                                                         COMPLAINT
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                                                                                             1          1042333/videos/10153455904497          (http://www.ebaumsworld.com/video
                                                                                             2          424/) – Jan. 9, 2016                   /watch/84891486/) – posted Jan. 10,
                                                                                             3                                                 2016
                                                                                             4   363.   “Man on Subway Gives Homeless          “Warm-hearted man at New York
                                                                                             5          Man Shirt Off his Back”                subway gives his t-shirt and hat to a
                                                                                             6          (https://www.facebook.com/alcoiri homeless man, Respect”
                                                                                             7          /videos/10205433319331704/) –          (http://www.ebaumsworld.com/video
                                                                                             8          acquired Jan. 8, 2016                  /watch/84892681/) – posted Jan. 11,
                                                                                             9                                                 2016
                                                                                            10   364.   “Waves Crash into Surfer during        “Waves Crash into Surfer during
                                                                                            11          High Tide”                             High Tide”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.facebook.com/sj.haw (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          k/videos/10153998705842573/) –         /watch/84896956/) – posted Jan. 14,
                                                                             310-229-9900




                                                                                            14          acquired Jan. 11, 2016                 2016
                                                                                            15   365.   “Sliding Across the Ice Like a         “How to Drink Morning Coffee In
                                                                                            16          Boss”                                  Norway”
                                                                                            17          (https://www.facebook.com/Juleru (http://www.ebaumsworld.com/video
                                                                                            18          ll/videos/10156437991935501/) –        /watch/84896996/) – posted Jan. 14,
                                                                                            19          acquired Jan. 13, 2016                 2016
                                                                                            20   366.   “How to Pick up Girls at the Gym” “How to Pick up Girls at the Gym”
                                                                                            21          (https://instagram.com/p/BAVYY         (http://www.ebaumsworld.com/video
                                                                                            22          ofTUjt/) – acquired Jan. 12, 2016      /watch/84894483/) – posted Jan. 12,
                                                                                            23                                                 2016
                                                                                            24   367.   “Girl in Bikini Falls Down Stairs”     “Girl in Bikini Falls Down Stairs”
                                                                                            25          (https://youtu.be/bCCc_mWm1lo)         (http://www.ebaumsworld.com/video
                                                                                            26          – acquired Jan. 14, 2016               /watch/84896954/) – posted Jan. 14,
                                                                                            27                                                 2016
                                                                                            28   368.   “Little Boy Reunited with His          “Boy Reunited With His Lost Dog”
                                                                                                                                         110
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                                                                                             1          Dog”                                    (http://www.ebaumsworld.com/video
                                                                                             2          (https://www.facebook.com/Brada         /watch/84896797/) – posted Jan. 14,
                                                                                             3          ndPaulaWilliams/videos/10633492 2016
                                                                                             4          60351938/) – acquired Jan. 15,
                                                                                             5          2016
                                                                                             6   369.   “Southern California Backyard           “Southern California Backyard
                                                                                             7          Flooding”                               Flooding!OMG!”
                                                                                             8          (https://youtu.be/md1WDq5eIVQ0 (http://www.ebaumsworld.com/video
                                                                                             9          - acquired Jan. 19, 2016                /watch/84903316/) – posted Jan. 20,
                                                                                            10                                                  2016
                                                                                            11   370.   “Dinosaur Shovels Snow”                 “Dinosaur Shovels Snow”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.facebook.com/synyst (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          er.vengeance.fan/videos/10153213 /watch/84906665/) – posted Jan. 23,
                                                                             310-229-9900




                                                                                            14          444076010/) – acquired Jan. 22,         2016
                                                                                            15          2016
                                                                                            16   371.   “Crane Drops Statue of Lenin”           “Crane Fail Decapitates Statute”
                                                                                            17          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            18          v=4rFjunKLZVg) – acquired Jan.          /watch/84910734/) – posted Jan. 27,
                                                                                            19          22, 2016                                2016
                                                                                            20   372.   “Contractor Falls through Ceiling” “This happened today”
                                                                                            21          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            22          nsing/view/925008) - Acquired           /watch/84905813/) – posted Jan. 22,
                                                                                            23          Jan. 22, 2016                           2016
                                                                                            24   373.   “Dog Escapes the Vet”                   “Dog at Vet’s Office Is Not In The
                                                                                            25          (https://instagram.com/p/BAiL_fL        Mood To Hang Out”
                                                                                            26          wtRn/) – acquired Jan. 26, 2016         (http://www.ebaumsworld.com/video
                                                                                            27                                                  /watch/84907189/) – posted Jan. 23,
                                                                                            28                                                  2016
                                                                                                                                          111
                                                                                                                                                                          COMPLAINT
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                                                                                             1   374.   “Cow Rolls Hay Across Snow”             “Naughty Cows!”
                                                                                             2          (https://instagram.com/p/BAS8bz9 (http://www.ebaumsworld.com/video
                                                                                             3          Tc2q/) – acquired Jan. 27, 2016         /watch/84914544/) – posted Feb. 1,
                                                                                             4                                                  2016
                                                                                             5   375.   “Dinosaur Performs Stunts All           “Jurassic Parkour”
                                                                                             6          Over Obstacle Course                    (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.youtube.com/watch?         /watch/84912208/) – posted Jan. 29,
                                                                                             8          v=v71to9IHALc) – acquired Jan.          2016
                                                                                             9          26, 2016
                                                                                            10   376.   “Daredevil Plays on Top of              “Daredevil Plays on Top of
                                                                                            11          Skyscrapers”                            Skyscrapers”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (www.youtube.com/watch?v=arA            (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13          g99lJ9-w) – acquired Jan. 26, 2016 /watch/84909668/) – posted Jan. 26,
                                                                             310-229-9900




                                                                                            14                                                  2016
                                                                                            15

                                                                                            16   377.   “Man Dances and Performs Tricks “Epic Wind Tube Performer”
                                                                                            17          in Wind Tunnel”                         (http://www.ebaumsworld.com/video
                                                                                            18          (https://www.facebook.com/alexan /watch/84908863/) – posted Jan. 26,
                                                                                            19          der.khabibulin/videos/1230665820 2016
                                                                                            20          294775/) – acquired Jan. 27, 2016
                                                                                            21   378.   “Soccer Trick in House Leads to         “Excited Kid Causes Destruction
                                                                                            22          Broken Glass”                           With His Soccer Ball”
                                                                                            23          (https://instagram.com/p/BA2lvd         (http://www.ebaumsworld.com/video
                                                                                            24          WuGMR/) – acquired Feb. 2, 2016 /watch/84919469/) – posted Feb. 5,
                                                                                            25                                                  2016
                                                                                            26   379.   “Dad Faints after Discovering           “Dad Faints after Discovering Baby's
                                                                                            27          Baby's Gender”                          Gender”
                                                                                            28          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                                                                          112
                                                                                                                                                                         COMPLAINT
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                                                                                             1          v=-47S_IPwjYQ) – acquired Jan.          /watch/84910981/) – posted Jan. 27,
                                                                                             2          27, 2016                                2016
                                                                                             3   380.   “Wind Tunnel Dance”                     “Amazing Body Control. Wind
                                                                                             4          (https://www.facebook.com/alexan Games 2016”
                                                                                             5          der.khabibulin/videos/1230728316 (http://www.ebaumsworld.com/video
                                                                                             6          955192/) – acquired Jan. 27, 2016       /watch/84909917/) – posted Jan. 26,
                                                                                             7                                                  2016;
                                                                                             8

                                                                                             9                                                  “She was specifically told..not to
                                                                                            10                                                  drink the Fizzy Lifting Drink”
                                                                                            11                                                  (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                  /watch/84911965/) – posted Jan. 28,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                  2016
                                                                             310-229-9900




                                                                                            14   381.   “Garbage Truck Explodes in              “HOLY SHIT! Garbage Truck
                                                                                            15          Neighborhood”                           Explodes In Neighborhood”
                                                                                            16          (https://youtu.be/y7gmJwHkfvg) – (http://www.ebaumsworld.com/video
                                                                                            17          acquired Jan. 27, 2016                  /watch/84916103/) – posted Feb. 2,
                                                                                            18                                                  2016
                                                                                            19

                                                                                            20   382.   “Girl Dances in Light up Shoes”         “This is like a 90s wet dream”
                                                                                            21          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            22          v=9COa7nuQGPE) – acquired               /watch/84910963/) – posted Jan. 27,
                                                                                            23          Jan. 29, 2016                           2016
                                                                                            24   383.   " Kid Whacks Balancing iPad with “iPad Balance Fail on Hoverboard”
                                                                                            25          Hockey Stick”                           (http://www.ebaumsworld.com/video
                                                                                            26          (https://www.youtube.com/watch?         /watch/84918575/) – posted Feb. 4,
                                                                                            27          v=bOacuYsMTB8) – acquired               2016
                                                                                            28          Feb. 5, 2016
                                                                                                                                          113
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 115 of 168 Page ID #:115



                                                                                             1   384.   “Man Performs Trickshots with          “The real reason I change diapers”
                                                                                             2          Diapers”                               (http://www.ebaumsworld.com/video
                                                                                             3          (https://www.facebook.com/jesusj       /watch/84916180/) – posted Feb. 3,
                                                                                             4          essechuy.uranga/posts/105790099        2016
                                                                                             5          4269707:0) – acquired Feb. 2,
                                                                                             6          2016
                                                                                             7   385.   “Fish Flies into Girl's Face”          “Welsh Weather Reporter Hit By
                                                                                             8          (https://www.youtube.com/watch?        Fish In The Face”
                                                                                             9          v=dtxPp9UOcIc) – acquired Jan.         (http://www.ebaumsworld.com/video
                                                                                            10          29, 2016                               /watch/84915635/) – posted Feb. 2,
                                                                                            11                                                 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   386.   “Rapper Finds Back Up in               “Mom Throws Fast Rhyme At
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Walgreens Employees”                   Supermarket”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            15          v=L9DRaSXhIBY) – acquired              /watch/84925811/) – posted Feb. 12,
                                                                                            16          Feb. 10, 2016                          2016
                                                                                            17   387.   “Weightlifting Vomit Incident”         “Female Powerlifter Projectile
                                                                                            18          (https://www.facebook.com/jordan Vomits On Head Judge”
                                                                                            19          .wong.1420/videos/101547016370 (http://www.ebaumsworld.com/video
                                                                                            20          53438/) – acquired Feb. 11, 2016       /watch/84924056/) – posted Feb. 11,
                                                                                            21                                                 2016;
                                                                                            22

                                                                                            23                                                 “Woman Pukes Her Guts Out During
                                                                                            24                                                 Deadlift”
                                                                                            25                                                 (http://www.ebaumsworld.com/video
                                                                                            26                                                 /watch/84923718/) – posted Feb. 11,
                                                                                            27                                                 2016;
                                                                                            28

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                                                                                             1                                                “Girl Powerlifter Chick In
                                                                                             2                                                Deadlifting Competition…”
                                                                                             3                                                (http://www.ebaumsworld.com/video
                                                                                             4                                                s/girl-powerlifter-chick-in-
                                                                                             5                                                deadlifting-competition/85051261/) –
                                                                                             6                                                posted June 11, 2016
                                                                                             7   388.   “Man Smashes Eggs on Friend's         “Smash 6 Eggs On His Head Prank”
                                                                                             8          Head”                                 (http://www.ebaumsworld.com/video
                                                                                             9          (https://www.youtube.com/watch?       /watch/84919067/) – posted Feb. 5,
                                                                                            10          v=5mg6C9aaD2o) – acquired Feb         2016
                                                                                            11          5, 2016
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                                                                                            12   389.   “Irish Guys Move a Sofa”              “Two Drunk Irishmen Move A
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?       Couch”
                                                                             310-229-9900




                                                                                            14          v=tex-M3rjDWk) – acquired Feb.        (http://www.ebaumsworld.com/video
                                                                                            15          7, 2016                               /watch/84921958/) - posted Feb. 9,
                                                                                            16                                                2016’
                                                                                            17

                                                                                            18                                                “Two Drunk Irishmen Move A
                                                                                            19                                                Couch”
                                                                                            20                                                (http://www.ebaumsworld.com/video
                                                                                            21                                                /watch/84920252/) – posted Feb 6,
                                                                                            22                                                2016
                                                                                            23   390.   “Girl Terrified of Moth”              “Girlfriend Terrified By Mothra!”
                                                                                            24          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            25          v=FYXKwCs3AvE) – acquired             s/girlfriend-terrified-by-
                                                                                            26          Mar. 11 2016                          mothra/84954959/) – posted Mar. 11,
                                                                                            27                                                2016
                                                                                            28   391.   “Driver with Road Rage Gets           “Entitled Mercedes Road Rage
                                                                                                                                        115
                                                                                                                                                                           COMPLAINT
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                                                                                             1   Instant Karma”                     Driver Instant Karma”
                                                                                             2   (https://www.youtube.com/watch?    (http://www.ebaumsworld.com/video
                                                                                             3   v=nA2I86GHPiU) – acquired Feb. /watch/84923837/) – posted Feb. 11,
                                                                                             4   11, 2016                           2016
                                                                                             5

                                                                                             6                                      “Mercedes Driver Road Rage Driver
                                                                                             7                                      Gets Instant Karma”
                                                                                             8                                      (http://www.ebaumsworld.com/video
                                                                                             9                                      /watch/84923761/) – posted Feb. 11,
                                                                                            10                                      2016
                                                                                            11
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                                                                                            12                                      “Road Rager Gets Some Instant
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                      Karma”
                                                                             310-229-9900




                                                                                            14                                      (http://www.ebaumsworld.com/video
                                                                                            15                                      /watch/84928011/) – posted Feb. 14,
                                                                                            16                                      2016
                                                                                            17

                                                                                            18                                      “Jackass Serves Himself Instant
                                                                                            19                                      Justice”
                                                                                            20                                      (http://www.ebaumsworld.com/video
                                                                                            21                                      s/jackass-serves-himself-instant-
                                                                                            22                                      justice/84989930/) – posted Apr. 12,
                                                                                            23                                      2016
                                                                                            24

                                                                                            25                                      “Instant Karma For Road Raging
                                                                                            26                                      Idiot”
                                                                                            27                                      (http://www.ebaumsworld.com/video
                                                                                            28                                      s/instant-karma-for-road-raging-
                                                                                                                              116
                                                                                                                                                              COMPLAINT
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                                                                                             1                                                 idiot/85198720/) – posted Nov. 22,
                                                                                             2                                                 2016
                                                                                             3   392.   “Robot Delivers Snack to Hotel         “A robot delivered a snack to my
                                                                                             4          Guest”                                 hotel room”
                                                                                             5          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             6          v=nRjXu4wQsU8) – acquired Feb. /watch/84928233/) – posted Feb. 14,
                                                                                             7          15, 2016                               2016
                                                                                             8   393.   “15-Year-Old Plays Piano               “Look Mom, No Hands”
                                                                                             9          Beautifully Without Hands”             (http://www.ebaumsworld.com/video
                                                                                            10          (https://www.youtube.com/watch?        /watch/84925809/) – posted Feb. 12,
                                                                                            11          v=t7A1zYDc_Ww) – acquired              2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Feb. 16, 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   394.   “Woman Faceplants into Pile of         “Backflipping Rodeo Clown Has a
                                                                             310-229-9900




                                                                                            14          Poop”                                  Smelly Fail”
                                                                                            15          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            16          v=l7rFs0OO0Q0) – acquired Feb.         s/backflipping-at-the-rodeo-results-
                                                                                            17          23, 2016                               in-smelly-fail/85087118/) – posted
                                                                                            18                                                 July 23, 2016
                                                                                            19   395.   “Woman Teaches Dog to Meow”            “Teaching a dog to meow”
                                                                                            20          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            21          v=OM0iaADo9Bg) – acquired              /watch/84933597/) – posted Feb. 19,
                                                                                            22          Feb. 20, 2016                          2016
                                                                                            23   396.   “Dog Looks at Owner while He           “My dog likes to look at me while I
                                                                                            24          Eats”                                  eat, until –”
                                                                                            25          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            26          v=Q3TYvvozc6s) – acquired Feb.         /watch/84943262/) – posted Feb. 28,
                                                                                            27          28, 2016                               2016
                                                                                            28   397.   “Girl Encounters Whale Shark”          “Girl Encounters Whale Shark!”
                                                                                                                                         117
                                                                                                                                                                         COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             2          v=mlZHnOkFg6E) – acquired             s/girl-encounters-whale-
                                                                                             3          Mar. 12, 2016                         shark/84957789/) – posted Mar. 14,
                                                                                             4                                                2016
                                                                                             5   398.   “Iguana Hates Stuffed Animal”         “This iguana is not interested in
                                                                                             6          (https://www.jukinmedia.com/lice      sharing his stuffed friend”
                                                                                             7          nsing/view/928478) – acquired         (http://www.ebaumsworld.com/video
                                                                                             8          Mar. 2, 2016                          s/this-iguana-is-not-interested-in-
                                                                                             9                                                sharing-his-stuffed-friend/84947396/)
                                                                                            10                                                – posted Mar. 4, 2016
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                “Iguana Attacks Stuffed Iguana”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14                                                s/iguana-attacks-stuffed-
                                                                                            15                                                iguana/84976343/) – posted Apr. 1,
                                                                                            16                                                2016
                                                                                            17   399.   “Son Pretends to Cut Mom's Hair”      “Fake Hair Buzzer Prank”
                                                                                            18          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            19          v=JKpj4z-ddJs) – acquired Mar. 4, s/fake-hair-buzzer-prank/84988908/)
                                                                                            20          2016                                  – posted Apr. 12, 2016
                                                                                            21   400.   “Passengers on Airplane See Solar “Rare Total Solar Eclipse Recorded
                                                                                            22          Eclipse”                              From a Plane [HD]”
                                                                                            23          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            24          v=YBoa81xEvNA) – acquired             s/rare-total-solar-eclipse-recorded-
                                                                                            25          Mar. 10, 2016                         from-a-plane-hd/84952939/) – posted
                                                                                            26                                                Mar. 9, 2016
                                                                                            27   401.   “Eagle Grabs onto Crane at Zoo”       “Crane Messes With the Wrong
                                                                                            28          (https://www.youtube.com/watch?       Eagle”
                                                                                                                                        118
                                                                                                                                                                            COMPLAINT
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                                                                                             1          v=fU4oZNGo2FE) – acquired            (http://www.ebaumsworld.com/video
                                                                                             2          Mar. 12, 2016                        s/crane-messes-with-the-wrong-
                                                                                             3                                               eagle/84957930/) – posted Mar. 14,
                                                                                             4                                               2016
                                                                                             5   402.   “French Bulldogs on Longboard”       “French Bulldogs On A Longboard”
                                                                                             6          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             7          v=vxKDsc9n5i0) – acquired Mar.       s/french-bulldogs-on-a-
                                                                                             8          22, 2016                             longboard/84979164/) – posted Apr.
                                                                                             9                                               4, 2016
                                                                                            10   403.   “Young Bull Runs onto Soccer         “Bull Runs Onto the Soccer Field”
                                                                                            11          Field”                               (http://www.ebaumsworld.com/video
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                                                                                            12          (https://www.facebook.com/ryanb      s/bull-runs-onto-the-soccer-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          ook/videos/10153477649000872/)       field/84978756/) – posted Apr. 4,
                                                                             310-229-9900




                                                                                            14          – acquired Mar. 14, 2016             2016
                                                                                            15   404.   “Kid Almost Flies out of             “Kid Almost Flies Out of Trampoline
                                                                                            16          Trampoline Cage”                     Cage”
                                                                                            17          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            18          v=xbCzZup_e6E) – acquired Mar.       s/kid-almost-flies-out-of-trampoline-
                                                                                            19          16, 2016                             cage/84960902/) – posted Mar. 16,
                                                                                            20                                               2016
                                                                                            21   405.   “Monkey Steals Potato Chips”         “Monkey Want Pringles!”
                                                                                            22          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            23          v=JHrDB3wAy8I) – acquired            s/monkey-want-pringles/84967374/)
                                                                                            24          Mar. 22, 2016                        – posted Mar. 23, 2016
                                                                                            25   406.   “16-Year-Old Freaks Out when         “16 Year Old Totally Freaks Out
                                                                                            26          Getting a Shot”                      When Getting A Shot”
                                                                                            27          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            28          v=q4SFOWAJY4A) – acquired            s/16-year-old-girl-totally-freaks-out-
                                                                                                                                       119
                                                                                                                                                                        COMPLAINT
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                                                                                             1          Mar. 23, 2016                       when-getting-a-shot/84967464/) –
                                                                                             2                                              posted Mar. 23, 2016
                                                                                             3   407.   “Girl Has Rough Start on Track”     “Girl Loses Race Before It Even
                                                                                             4          (https://www.youtube.com/watch?     Starts”
                                                                                             5          v=UdyiU4nPw_I) – acquired Mar.      (http://www.ebaumsworld.com/video
                                                                                             6          21, 2016                            s/girl-loses-race-before-it-even-
                                                                                             7                                              starts/84964880/) – posted Mar. 21,
                                                                                             8                                              2016
                                                                                             9   408.   “Truck Climbs Steep Hill”           “Driver attempts insane 400 foot hill
                                                                                            10          (https://www.youtube.com/watch?     climb”
                                                                                            11          v=Ol3ySkS6sSg) – acquired Mar.      (http://www.ebaumsworld.com/video
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                                                                                            12          23, 2016                            s/driver-attempts-insane-400-foot-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                              hill-climb/84969318/) – posted Mar.
                                                                             310-229-9900




                                                                                            14                                              25, 2016
                                                                                            15   409.   “Girl Doesn't Understand Riddle”    “Bimbo Finds It Impossible to Solve
                                                                                            16          (https://www.youtube.com/watch?     a Simple Riddle”
                                                                                            17          v=h4rr3SWzvPw) – acquired Mar. (http://www.ebaumsworld.com/video
                                                                                            18          29, 2016                            s/bimbo-finds-it-impossible-to-solve-
                                                                                            19                                              a-riddle/84967853/) – posted Mar.
                                                                                            20                                              23, 2016
                                                                                            21   410.   “Man Revealed to be Grandpa         “Dad Gets Choked Up During
                                                                                            22          Through Teddy Bear”                 Pregnancy Announcement”
                                                                                            23          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            24          v=bCv-qg0fXKQ) – acquired Mar. s/dad-gets-choked-during-pregnancy-
                                                                                            25          25, 2016                            announcement/84969680/) – posted
                                                                                            26                                              Mar. 25, 2016
                                                                                            27   411.   “Cat Takes a Bath”                  “Kitty Bath Time Is Disgustingly
                                                                                            28          (https://www.youtube.com/watch?     Adorable”
                                                                                                                                      120
                                                                                                                                                                       COMPLAINT
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                                                                                             1          v=ULfgyLGFYSU) – acquired               (http://www.ebaumsworld.com/video
                                                                                             2          Mar. 31, 2016                           s/kitty-bath-time-is-disgustingly-
                                                                                             3                                                  adorable/85137786/) – posted Sept.
                                                                                             4                                                  15, 2016
                                                                                             5   412.   “Giant Marine Iguana Feasts             “Miny [sic] Godzilla Nomming On
                                                                                             6          Underwater”                             Things Underwater”
                                                                                             7          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             8          v=4tBWakZAGqU) – acquired               s/miny-godzilla-nomming-on-things-
                                                                                             9          Apr. 13, 2016                           underwater/84987561/) – posted Apr.
                                                                                            10                                                  11, 2016
                                                                                            11   413.   “Water Comes through Sunroof            “Car Washes Aren’t Very Fun When
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                                                                                            12          during Car Wash”                        You Forget to Close the Sunroof”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=WP9pXIAa6aI) – acquired July          s/ultimate-car-wash-fail/85066000/) –
                                                                                            15          4, 2016                                 posted June 29, 2016
                                                                                            16   414.   “Weightlifter Breaks Window             “Girl Working Out Destroys the
                                                                                            17          after Barbell Rolls Away”               Gym”
                                                                                            18          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            19          v=3Yeqc_X2IOI) – acquired Mar.          s/girl-works-out-and-destroys-the-
                                                                                            20          30, 2016                                gym/84973778/) – posted Mar. 30,
                                                                                            21                                                  2016
                                                                                            22   415.   “Kid Faints on Sling Shot Ride”         “Kid Passes Out on Slingshot Ride”
                                                                                            23          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            24          v=WPCI0OUMt6g) – acquired               s/guy-passes-out-on-slingshot-
                                                                                            25          Mar. 29, 2016                           ride/84968677/) – posted Mar. 24,
                                                                                            26                                                  2016
                                                                                            27   416.   “Backdraft Explosion in                 “Backdraft Turns Building Into a
                                                                                            28          Commercial Building in Canada”          Rocket”
                                                                                                                                          121
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 123 of 168 Page ID #:123



                                                                                             1          (https://www.youtube.com/watch?          (http://www.ebaumsworld.com/video
                                                                                             2          v=IB05B6JuhEY) – acquired Apr.           s/backdraft-turns-building-into-a-
                                                                                             3          2, 2016                                  rocket/84976285/) – posted Apr. 1,
                                                                                             4                                                   2016
                                                                                             5   417.   “Man Makes Party Cocktail out of         “Mentos Bomb”
                                                                                             6          Dr. Pepper and Mentos”                   (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.youtube.com/watch?          s/mentos-bomb/84978179/) – posted
                                                                                             8          v=ByqRK5JRkI8) – acquired Apr.           Apr. 3, 2016
                                                                                             9          5, 2016
                                                                                            10   418.   “Golf Cart Slides out of Control         “Golf Cart Rollover Down a Steep
                                                                                            11          down Hill”                               Hill!”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?          (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=EPaxor2y4bg) – acquired Apr.           s/golf-cart-rollover-down-a-steep-
                                                                             310-229-9900




                                                                                            14          6, 2016                                  hill/84983360/) – posted Apr. 7, 2016
                                                                                            15   419.   “Guy Suplexes Friend's Face into         “Poolside Suplex Fail”
                                                                                            16          Pool Deck”                               (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?          s/poolside-suplex-fail/84983363/) –
                                                                                            18          v=6BWY-nMU8hk) – acquired                posted Apr. 7, 2016
                                                                                            19          Apr. 8, 2016
                                                                                            20                                                   “Dumbass Almost Kills His Friend”
                                                                                            21                                                   (http://www.ebaumsworld.com/video
                                                                                            22                                                   s/dumbass-almost-kills-his-
                                                                                            23                                                   friend/84982786/) – posted Apr. 7,
                                                                                            24                                                   2016
                                                                                            25   420.   “Baby Seal Tries to Suck on Guy's “A man has a close encounter with
                                                                                            26          Foot”                                    baby sea lion”
                                                                                            27          (https://www.youtube.com/watch?          (http://www.ebaumsworld.com/video
                                                                                            28          v=cVJQbAykkQ4) – acquired                s/a-man-has-a-close-encounter-with-
                                                                                                                                           122
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 124 of 168 Page ID #:124



                                                                                             1          Apr. 21, 2016                        baby-sea-lion/85007849/) – posted
                                                                                             2                                               Apr. 27, 2016
                                                                                             3   421.   “Spinner Shark Crashes into          “Surfer knocked off board by
                                                                                             4          Paddleboarder”                       jumping shark”
                                                                                             5          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             6          v=Jvz22n46_5k) – acquired Apr.       s/surfer-knocked-off-board-by-
                                                                                             7          8, 2016                              jumping-shark/84986071/) – posted
                                                                                             8                                               Apr. 8, 2016
                                                                                             9   422.   “Southern Mom Shoots Kids' Cell      “Southern Momma has really had
                                                                                            10          Phones”                              enough part II: War on Drugs!”
                                                                                            11          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=Ly_eEAjyF0M) – acquired Apr. s/southern-momma-has-really-had-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          9, 2016                              enough-part-ii-war-on-
                                                                             310-229-9900




                                                                                            14                                               drugs/84986871/) – posted Apr. 9,
                                                                                            15                                               2016
                                                                                            16

                                                                                            17                                               “Redneck Mom Teaches Her Out of
                                                                                            18                                               Control Kids a Harsh Lesson”
                                                                                            19                                               (http://www.ebaumsworld.com/video
                                                                                            20                                               s/southern-momma-has-had-
                                                                                            21                                               enough/84986086/) – posted Apr. 12,
                                                                                            22                                               2016
                                                                                            23   423.   “Porsche Driver Crashes into         “Porsche Inexplicably Goes Into
                                                                                            24          Parked Car”                          Hard Reverse”
                                                                                            25          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            26          v=Sb38X-Xr4D0) – acquired Apr.       s/porsche-inexplicably-goes-into-
                                                                                            27          25, 2016                             hard-reverse/85046956/) – posted
                                                                                            28                                               June 7, 2016
                                                                                                                                       123
                                                                                                                                                                       COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 125 of 168 Page ID #:125



                                                                                             1   424.   “Gorilla Dances Ballet”             “Who knew Gorillas could dance?”
                                                                                             2          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             3          v=8yTGdEwB4rE) – acquired           s/who-knew-gorillas-could-
                                                                                             4          Apr. 12, 2016                       dance/84991193/) – posted Apr. 13,
                                                                                             5                                              2016
                                                                                             6   425.   “Octopus Fight”                     “The Octopus Fighting with another
                                                                                             7          (https://www.youtube.com/watch?     Octopus”
                                                                                             8          v=EMp4CEemQRY) – acquired           (http://www.ebaumsworld.com/video
                                                                                             9          Apr. 12, 2016                       s/the-octopus-fighting-with-another-
                                                                                            10                                              octopus/84990215/) – posted Apr. 13,
                                                                                            11                                              2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   426.   “Dog Follows Pace of Owner”         “If You Laugh At This, You Are SO
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?     Going To Hell”
                                                                             310-229-9900




                                                                                            14          v=A4PJhbIu76E) – acquired Sept.     (http://www.ebaumsworld.com/video
                                                                                            15          26, 2016                            s/if-you-laugh-at-this-you-are-so-
                                                                                            16                                              going-to-hell/85150562/) – posted
                                                                                            17                                              Sept. 28, 2016
                                                                                            18   427.   “Motorcyclist Lets Kid Rev          “Put a Smile on a Kid’s Face”
                                                                                            19          Engine”                             (http://www.ebaumsworld.com/video
                                                                                            20          (https://www.youtube.com/watch?     s/put-a-smile-on-a-kids-
                                                                                            21          v=wP60JGzwiBg) – acquired Apr. face/84991390/) – posted Apr. 13,
                                                                                            22          13, 2016                            2016
                                                                                            23   428.   “Girl Passes out on High Swinging “Father Laughs At Daughter Passing
                                                                                            24          Pendulum Ride”                      Out Twice on Swing Ride!”
                                                                                            25          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            26          v=rHXx8jdjEqc) – acquired Apr.      s/father-laughs-at-daughter-passing-
                                                                                            27          21, 2016                            out-twice-on-swing-ride/85063978/)
                                                                                            28                                              – posted June 26, 2016
                                                                                                                                      124
                                                                                                                                                                       COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 126 of 168 Page ID #:126



                                                                                             1   429.   “Daredevil Rides Segway on Edge “Man Rides His Hoverboard On the
                                                                                             2          of Rooftop”                            Edge of a Skyscraper in Dubai”
                                                                                             3          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             4          v=mzoymq_Wx0Q) – acquired              s/man-rides-his-hoberboard-on-the-
                                                                                             5          Apr. 18, 2016                          edge-of-a-skyscraper/85000637/) –
                                                                                             6                                                 posted Apr. 21, 2016
                                                                                             7

                                                                                             8                                                 “Man Rides His Hoverboard on the
                                                                                             9                                                 Edge of a Skyscraper”
                                                                                            10                                                 (http://www.ebaumsworld.com/video
                                                                                            11                                                 s/man-rides-his-hoverboard-on-the-
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                                                                                            12                                                 edge-of-a-skyscraper/84998748/) –
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 posted Apr. 20, 2016
                                                                             310-229-9900




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                                                                                            15   430.   “Man Uses Giant Tire as Hula           “Hula-Hooping a 120lb Tractor Tire”
                                                                                            16          Hoop”                                  (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?        s/hula-hooping-a-120lb-tractor-
                                                                                            18          v=gXVeRDcTghA) – acquired              tire/85003090/) – posted Apr. 23,
                                                                                            19          Apr. 21, 2016                          2016
                                                                                            20   431.   “Girl Rants about Millennials”         “Girl Goes on a Rant About Entitled
                                                                                            21          (https://www.youtube.com/watch?        Millennials”
                                                                                            22          v=gYCVLmTDMBs) – acquired              (http://www.ebaumsworld.com/video
                                                                                            23          Apr. 27, 2016                          s/millennial-goes-on-a-
                                                                                            24                                                 rant/85006728/) – posted Apr. 26,
                                                                                            25                                                 2016
                                                                                            26   432.   “Woman Can't Read "Hotel               “Woman Can’t Read the Word
                                                                                            27          Receptionist"”                         ‘Receptionist’”
                                                                                            28          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                         125
                                                                                                                                                                         COMPLAINT
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                                                                                             1          v=Q2XJoa4OvOk) – acquired               s/woman-cant-read-the-word-
                                                                                             2          Apr. 27, 2016                           receptionist/85011289/) – posted
                                                                                             3                                                  Apr. 29, 2016
                                                                                             4   433.   “Acrobatic Mom and Daughter”            “This lady will put your upper body
                                                                                             5          (https://www.youtube.com/watch?         strength to shame!”
                                                                                             6          v=Ph6GkCHu2RA) – acquired               (https://www.facebook.com/ebaums
                                                                                             7          Apr. 27, 2016                           world/videos/10153725799002424/)
                                                                                             8                                                  – posted May 1, 2016
                                                                                             9   434.   “Car Stops for Drunk Man Doing          (https://www.facebook.com/ebaums
                                                                                            10          Splits”                                 world/videos/10153788103302424/)
                                                                                            11          (https://www.youtube.com/watch?         – posted May 31, 2016
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=3PZVNJLFNCs) – acquired
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Apr. 29, 2016
                                                                             310-229-9900




                                                                                            14   435.   “Whales Breach Water Near               “Hmm? What’s this? Fish?
                                                                                            15          Docks”                                  Dolphins? OMFG A WHALE
                                                                                            16          (https://www.youtube.com/watch?         WTF!!!??? DID THAT JUST
                                                                                            17          v=w_4hfkTgCkE) – acquired May           HAPPEN”
                                                                                            18          3, 2016                                 (http://www.ebaumsworld.com/video
                                                                                            19                                                  s/hmm-whats-this-fish-dolphins-
                                                                                            20                                                  omfg-a-whale-wtf-did-that-just-
                                                                                            21                                                  happen/85015746/) – posted May 3,
                                                                                            22                                                  2016
                                                                                            23   436.   “Student Can't Take Off Plaster         “Student Can’t Take Off Plaster
                                                                                            24          Mask”                                   Mask!”
                                                                                            25          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            26          v=DexQ1E5fuMU) – acquired               s/student-cant-take-off-plaster-
                                                                                            27          May 9, 2016                             mask/85021854/) – posted May 10,
                                                                                            28                                                  2016
                                                                                                                                          126
                                                                                                                                                                           COMPLAINT
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                                                                                             1   437.   “Baby Powder in Hair Dryer Prank “Baby Powder Prank Goes Way
                                                                                             2          Gone Wrong”                           Wrong”
                                                                                             3          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             4          v=-4uiuRKkTb8) – acquired June        s/baby-powder-prank-goes-way-
                                                                                             5          14, 2016                              wrong/85055020/) – posted June 15,
                                                                                             6                                                2016
                                                                                             7

                                                                                             8                                                “Hair Dryer Prank Goes Wrong”
                                                                                             9                                                (http://www.ebaumsworld.com/video
                                                                                            10                                                s/hair-dryer-prank-gone-
                                                                                            11                                                wrong/85054683/) – posted June 15,
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                                                                                            12                                                2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            14   438.   “Sculpture Changes Picture at         “Awesome Perspective Art”
                                                                                            15          Different Angles”                     (http://www.ebaumsworld.com/video
                                                                                            16          (https://www.youtube.com/watch?       s/awesome-perspective-
                                                                                            17          v=hO7oyAOk9U0) – acquired             art/85017535/) – posted May 5, 2016
                                                                                            18          May 8, 2016
                                                                                            19                                                “Awesome Sculpture Changes With
                                                                                            20                                                Perspective”
                                                                                            21                                                (http://www.ebaumsworld.com/video
                                                                                            22                                                s/awesome-sculpture-changes-with-
                                                                                            23                                                perspective/85027255/) – posted May
                                                                                            24                                                15, 2016
                                                                                            25   439.   “Daughter Interrupts Mom in           “My Poop Is Coming”
                                                                                            26          Horse Mask's Meditation”              (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?       s/my-poop-is-coming-vine-by-me-
                                                                                            28          v=2oX_m7U4u5M) – acquired             heids/85018763/) – posted May 6,
                                                                                                                                        127
                                                                                                                                                                         COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 129 of 168 Page ID #:129



                                                                                             1          May 6, 2016                            2016
                                                                                             2   440.   “Drum Juggling Street Performer”       “The Drumming Juggler”
                                                                                             3          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             4          v=-keMGE4D24c) – acquired May s/the-drumming-juggler/85023703/) –
                                                                                             5          8, 2016                                posted May 11, 2016
                                                                                             6

                                                                                             7                                                 “Drum Juggling”
                                                                                             8                                                 (http://www.ebaumsworld.com/video
                                                                                             9                                                 s/drum-juggling/85019990/) – posted
                                                                                            10                                                 May 8, 2016
                                                                                            11   441.   “Hawaiian Geckos Enjoy Guava           “Cute Geckos Eating With Yoshi
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                                                                                            12          Jelly Breakfast”                       Sounds”
                                                    LOS ANG ELES, CA 90067
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                                                                             310-229-9900




                                                                                            14          nsing/view/933350) – acquired          s/geckos-with-yoshi-
                                                                                            15          May 8, 2016                            sounds/85027068/) – posted May 15,
                                                                                            16                                                 2016
                                                                                            17   442.   “Out of Control Driver T-Bones         “Unbelievably Crazy Accident In
                                                                                            18          Car”                                   Kuwait”
                                                                                            19          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            20          v=nWkq-Z1FCw4) – acquired              s/unbelievably-crazy-accident-in-
                                                                                            21          May 12, 2016                           kuwait/85023187/) – posted May 11,
                                                                                            22                                                 2016
                                                                                            23

                                                                                            24                                                 “Driver Loses Control and Flips”
                                                                                            25                                                 (http://www.ebaumsworld.com/video
                                                                                            26                                                 s/driver-loses-control-and-
                                                                                            27                                                 flips/85027911/) – posted May 16,
                                                                                            28                                                 2016
                                                                                                                                         128
                                                                                                                                                                         COMPLAINT
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                                                                                             1   443.   “Dildo Airport Prank”                “First Time Flyer Was Worried
                                                                                             2          (https://www.youtube.com/watch?      About TSA, So His Buddies Helped
                                                                                             3          v=DaTnEbjap5w) – acquired May        Him Pack”
                                                                                             4          11, 2016                             (http://www.ebaumsworld.com/video
                                                                                             5                                               s/first-time-flyer-was-worried-about-
                                                                                             6                                               tsa-so-his-buddies-helped-him-
                                                                                             7                                               pack/85023193/) – posted May 11,
                                                                                             8                                               2016
                                                                                             9   444.   “Girl Gets Smacked in Face with      “Idaho Crush Point Scored Off Face”
                                                                                            10          Volleyball”                          (http://www.ebaumsworld.com/video
                                                                                            11          (https://www.youtube.com/watch?      s/idaho-crush-point-scored-off-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=bFX5G-dHVrA) – acquired            face/85023797/) – posted May 12,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          May 16, 2016                         2016
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                                                                                            14   445.   “Roommate Gets Scared by             “Guy Executes An Old Classic Prank
                                                                                            15          Prank”                               And Scares His Roommate”
                                                                                            16          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            17          v=wPlt17CHV84) – acquired May        s/guy-executes-an-old-clasic-prank-
                                                                                            18          14, 2016                             and-scares-his-roommate/85108156/)
                                                                                            19                                               – posted Aug. 17, 2016
                                                                                            20   446.   “Guy Plays with Smoke”               “This Guy Is A Real Life Vape
                                                                                            21          (https://www.youtube.com/watch?      Wizard”
                                                                                            22          v=8JNDnWQax-c) – acquired            (http://www.ebaumsworld.com/video
                                                                                            23          May 8, 2016                          s/this-guy-is-a-real-life-vape-
                                                                                            24                                               wizard/85023425/) – posted May 11,
                                                                                            25                                               2016
                                                                                            26   447.   “Cat Reacts to Horror Movie”         “Cat Watching a Horror Movie”
                                                                                            27          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            28          v=_kgRFHaNo-Y) – acquired May s/cat-watching-a-horror-
                                                                                                                                       129
                                                                                                                                                                        COMPLAINT
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                                                                                             1          13, 2016                                movie/85026922/) – posted May 14,
                                                                                             2                                                  2016
                                                                                             3   448.   “Skydiving Plane Makes                  “Skydiving Plane Makes An
                                                                                             4          Emergency Landing”                      Emergency Landing”
                                                                                             5          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             6          v=kwjVayUl5XE) – acquired May s/skydiving-plane-makes-an-
                                                                                             7          14, 2016                                emergency-landing/85064809/) –
                                                                                             8                                                  posted June 27, 2016
                                                                                             9   449.   “Teen Gets Hit with Basketball”         “Easily the best Shot in Basketball
                                                                                            10          (https://www.youtube.com/watch?         History…”
                                                                                            11          v=84cqW5RmEXs) – acquired               (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          May 18, 2016                            s/easily-the-best-shot-in-basketball-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                  history/85028816/) – posted May 17,
                                                                             310-229-9900




                                                                                            14                                                  2016
                                                                                            15

                                                                                            16                                                  “The Perfect Shot”
                                                                                            17                                                  (http://www.ebaumsworld.com/video
                                                                                            18                                                  s/the-perfect-shot/85028720/) –
                                                                                            19                                                  posted May 17, 2016
                                                                                            20   450.   “Guy Eats Pizza with Brawl in           “Guy Calmly Eats A Slice of Pizza
                                                                                            21          Front of Him”                           During a Fight”
                                                                                            22          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            23          v=Ts-d3gP39ws) – acquired May           s/this-bro-crushing-a-slice-of-pizza-
                                                                                            24          18, 2016                                while-a-huge-fight/85032691/) –
                                                                                            25                                                  posted May 21, 2016
                                                                                            26   451.   “Woman Smashes Pickup Truck”            “Gas Station Employee Smashes
                                                                                            27          (https://www.youtube.com/watch?         Man’s Tail Light for Taking Too
                                                                                            28          v=Pj0xJi3rKcQ) – acquired May           Long”
                                                                                                                                          130
                                                                                                                                                                           COMPLAINT
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                                                                                             1          20, 2016                                 (http://www.ebaumsworld.com/video
                                                                                             2                                                   s/gas-station-employee-smashes-
                                                                                             3                                                   mans-tail-light-for-taking-too-
                                                                                             4                                                   long/85034989/) – posted May 24,
                                                                                             5                                                   2016
                                                                                             6   452.   “Muscle Man Lifts Weights                “Weightlifting In the Pool Like a
                                                                                             7          Underwater”                              Boss”
                                                                                             8          (https://www.youtube.com/watch?          (http://www.ebaumsworld.com/video
                                                                                             9          v=hHeL5Iqsbv4) – acquired May            s/weightlifting-in-the-pool-like-a-
                                                                                            10          25, 2016                                 boss/85041223/) – posted June 1,
                                                                                            11                                                   2016
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                                                                                            12   453.   “Driver Sleeps in Car while in           “Tesla Driver Caught Sleeping While
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Traffic”                                 on Autopilot”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?          (http://www.ebaumsworld.com/video
                                                                                            15          v=ocK1IMiluM4) – acquired May            s/tesla-model-s-driver-caught-
                                                                                            16          25, 2016                                 sleeping-at-the-wheel-while-on-
                                                                                            17                                                   autopilot/85034984/) – posted May
                                                                                            18                                                   24, 2016
                                                                                            19   454.   “Bicyclist Almost Falls off Cliff”       “Guy Almost Falls Off Cliff While
                                                                                            20          (https://www.youtube.com/watch?          Mountain Biking”
                                                                                            21          v=AU7GFl5mn2U) – acquired                (http://www.ebaumsworld.com/video
                                                                                            22          June 1, 2016                             s/guy-almost-falls-off-cliff-while-
                                                                                            23                                                   mountain-biking/85041322/) – posted
                                                                                            24                                                   June 1, 2016
                                                                                            25   455.   “Thief Falls after Stealing Flag         “INSTANT KARMA for Flag Thief”
                                                                                            26          from Porch”                              (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?          s/instant-karma-for-flag-
                                                                                            28          v=Qn83Y5RWGqY) – acquired                thief/85042290/) – posted June 2,
                                                                                                                                           131
                                                                                                                                                                             COMPLAINT
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                                                                                             1          June 3, 2016                           2016
                                                                                             2   456.   “Dog Saves Man "Drowning" in           “Dog Tries ‘Saving’ People
                                                                                             3          Pool”                                  Whenever They Go Into the Pool”
                                                                                             4          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             5          v=-pdo6QUoOxo) – acquired June s/dog-tries-saving-people-whenever-
                                                                                             6          6, 2016                                they-go-into-the-pool/85044541/) –
                                                                                             7                                                 posted June 4, 2016
                                                                                             8   457.   “Bird bounces golf ball on the cart    “Bird bounces golf ball on the cart
                                                                                             9          path!”                                 path!”
                                                                                            10          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            11          v=ij_5TMwqi4A) – acquired June         s/bird-bounces-golf-ball-on-the-cart-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          5, 2016                                path/85044883/) – posted June 5,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 2016
                                                                             310-229-9900




                                                                                            14   458.   “Man Carelessly Drops Expensive        “Guy Fooling Around Smashes a
                                                                                            15          Camera”                                $30K Camera”
                                                                                            16          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            17          v=TjSxVBW3Vx8) – acquired              s/man-accidentally-smashes-30k-
                                                                                            18          June 8, 2016                           camera-trying-to-show-it-
                                                                                            19                                                 off/85046074/) – posted June 6, 2016
                                                                                            20   459.   “Driver Charges into Flooded           “CHARGE!!! Epic driving FAIL!”
                                                                                            21          Street”                                (http://www.ebaumsworld.com/video
                                                                                            22          (https://www.youtube.com/watch?        s/charge-epic-driving-fail/85045905/)
                                                                                            23          v=U7fCCKCz0O4) – acquired              – posted June 6, 2016
                                                                                            24          June 7, 2016
                                                                                            25                                                 “Dude Yells “CHARGE” Before
                                                                                            26                                                 Driving Into Flooded Roadway”
                                                                                            27                                                 (http://www.ebaumsworld.com/video
                                                                                            28                                                 s/dude-yells-charge-before-driving-
                                                                                                                                         132
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 134 of 168 Page ID #:134



                                                                                             1                                                 into-flooded-roadway/85061402/) –
                                                                                             2                                                 posted June 23, 2016
                                                                                             3   460.   “Ceiling Comes Crashing Down”          “Ceiling Comes Crashing Down as
                                                                                             4          (https://www.youtube.com/watch?        Terrified Couple Watch”
                                                                                             5          v=c0Cbnqo2MoU) – acquired              (http://www.ebaumsworld.com/video
                                                                                             6          June 17, 2016                          s/ceiling-comes-crashing-down-as-
                                                                                             7                                                 terrified-couple-watch/85058492/) –
                                                                                             8                                                 posted June 20, 2016
                                                                                             9   461.   “Mentos Bottle Rocket Hits             “Mentos Bottle Rocket Hits
                                                                                            10          Camerawoman in Face”                   Camerawomen in Face!”
                                                                                            11          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          v=-joxyXLpTAU) – acquired Jun.         s/mentos-bottle-rocket-hits-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          8, 2016                                camerawoman-in-face/85048638) –
                                                                             310-229-9900




                                                                                            14                                                 posted Jun. 8, 2016
                                                                                            15   462.   “Little Girl Stops Elephant”           “Girl Has Total Control Over Wild
                                                                                            16          (https://www.youtube.com/watch?        Elephant”
                                                                                            17          v=6wHry6LzXWc) – acquired              (http://www.ebaumsworld.com/video
                                                                                            18          Jun. 14, 2016                          s/girl-controls-wild-
                                                                                            19                                                 elephant/85051535) – posted Jun. 12,
                                                                                            20                                                 2016
                                                                                            21   463.   “Girl Noodles Catfish”                 “Hot Chick Noodles A Huge Catfish”
                                                                                            22          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            23          v=Yh5p8s2taE4) – acquired Jul.         s/hot-chick-noodles-a-huge-
                                                                                            24          18, 2016                               catfish/85095470) – posted Aug. 2,
                                                                                            25                                                 2016
                                                                                            26   464.   “Man Looks Over Scenic City in         “The old man went for a walk while
                                                                                            27          Norway”                                on holiday in Norway”
                                                                                            28          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                         133
                                                                                                                                                                         COMPLAINT
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                                                                                             1          v=T_U8D3MwPDQ) – acquired             s/the-old-man-went-for-a-walk-
                                                                                             2          Jun. 15, 2016                         while-on-holiday-in-
                                                                                             3                                                norway/85053874) – posted Jun. 14,
                                                                                             4                                                2016
                                                                                             5   465.   “Girl on Scooter Faceplants           “Mom’s First Scooter Ride Ends
                                                                                             6          Pavement after Jumping off            Badly”
                                                                                             7          Ramp”                                 (http://www.ebaumsworld.com/video
                                                                                             8          (https://www.youtube.com/watch?       s/moms-first-scooter-ride-ends-
                                                                                             9          v=GuaH7ksb8QQ) – acquired Jun. badly/85068668) – posted Jun. 30,
                                                                                            10          15, 2016                              2016
                                                                                            11   466.   “Waitress Kicks Falling Cup into      “This Waitress Has Some Crazy
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          Sink”                                 Reflexes”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          v=l46vwuA3plM) – acquired Jun.        s/this-waitress-has-some-crazy-
                                                                                            15          19, 2016                              reflexes/85055636/) – posted Jun. 16,
                                                                                            16                                                2016;
                                                                                            17

                                                                                            18                                                “This Waitress Has Some Crazy
                                                                                            19                                                Reflexes”
                                                                                            20                                                (http://www.ebaumsworld.com/video
                                                                                            21                                                s/this-waitress-has-some-crazy-
                                                                                            22                                                reflexes/85055465) posted Jun. 16,
                                                                                            23                                                2016
                                                                                            24   467.   “Bear Crashes into Cyclist on         “Bicyclist Suddenly Crashes Into A
                                                                                            25          Trail”                                Bear”
                                                                                            26          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            27          v=uSPFgKDSUb4) – acquired             s/bicyclist-crashes-head-on-into-a-
                                                                                            28          Jun. 19, 2016                         bear/85060467) – posted Jun. 23,
                                                                                                                                        134
                                                                                                                                                                        COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 136 of 168 Page ID #:136



                                                                                             1                                                 2016
                                                                                             2   468.   “Man Gets Overly Excited at            “Overexcited Dad Accidentally
                                                                                             3          Graduation Ceremony”                   Steals The Show”
                                                                                             4          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             5          v=VY2IqVCG5pA) – acquired              s/overexcited-dad-accidentally-steals-
                                                                                             6          Jun. 19, 2016                          the-show/85068669) – posted Jun.
                                                                                             7                                                 30, 2016
                                                                                             8   469.   “Finding an ATM Skimmer in             “Finding an ATM Skimmer in
                                                                                             9          Vienna”                                Vienna”
                                                                                            10          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            11          v=ll4f0Wim4pM) – acquired Jun.         s/finding-an-atm-skimmer-in-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          24, 2016                               vienna/85085846) – posted Jul. 22,
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 2016
                                                                             310-229-9900




                                                                                            14   470.   “Girl in Bikini Squats Sister”         “Sexy Babe Does Sexy Squats With
                                                                                            15          (https://www.youtube.com/watch?        Her Sexy Sister”
                                                                                            16          v=nYJn_39rk9g) – acquired Jun.         (http://www.ebaumsworld.com/video
                                                                                            17          24, 2016                               s/sexy-babe-does-sexy-squats-with-
                                                                                            18                                                 her-sexy-sister/85068407) – posted
                                                                                            19                                                 Jun. 30, 2016;
                                                                                            20

                                                                                            21                                                 “How to pick up girls at the beach.”
                                                                                            22                                                 (http://www.ebaumsworld.com/video
                                                                                            23                                                 s/how-to-pick-up-girls-at-the-
                                                                                            24                                                 beach/85074483) – posted Jul. 7,
                                                                                            25                                                 2016;
                                                                                            26

                                                                                            27                                                 “The Best Funny Fails Ever!”
                                                                                            28                                                 (http://www.ebaumsworld.com/video
                                                                                                                                         135
                                                                                                                                                                         COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 137 of 168 Page ID #:137



                                                                                             1                                               s/the-best-funny-fails-ever/85129949)
                                                                                             2                                               – posted Sept. 7, 2016;
                                                                                             3   471.   “Man Spills Beer Everywhere”         “The Worst Attempt At Tapping A
                                                                                             4          (https://www.youtube.com/watch?      Keg Ever”
                                                                                             5          v=9r9iOY-2X9I) – acquired Jun.       (http://www.ebaumsworld.com/video
                                                                                             6          29, 2016                             s/clueless-guy-attemps-to-tap-a-
                                                                                             7                                               keg/85068308) – posted Jun. 30,
                                                                                             8                                               2016
                                                                                             9   472.   “Duck Chases Dog”                    “Who is Chasing Who?”
                                                                                            10          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            11          v=dm3vfmvcEFE) – acquired Jun.       s/who-is-chasing-who/85062621) –
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                                                                                            12          24, 2016                             posted Jun. 24, 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   473.   “Girl Shows Off Crazy Gum            “Stupid Human Gum Trick
                                                                             310-229-9900




                                                                                            14          Trick”                               Letterman…”
                                                                                            15          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            16          v=eGPR_aCv0R0) – acquired Jun. s/stupid-human-gum-trick-letterman-
                                                                                            17          26, 2016                             where-is-she-now/85062951) –
                                                                                            18                                               posted Jun. 25, 2016
                                                                                            19   474.   “Bearded Dragon Slips and Slides     “Attempting To Feed A Bearded
                                                                                            20          on Tile Floor”                       Dragon On Tile Floor”
                                                                                            21          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            22          v=x69Czc1lUyQ) – acquired Jun.       s/i-tried-to-feed-my-bearded-dragon-
                                                                                            23          26, 2016                             while-he-was-hanging-out-on-the-
                                                                                            24                                               tiled-floor-oops/85064057) – posted
                                                                                            25                                               Jun. 26, 2016;
                                                                                            26

                                                                                            27                                               “Bearded Dragon has some issues on
                                                                                            28                                               the floor”
                                                                                                                                       136
                                                                                                                                                                       COMPLAINT
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                                                                                             1                                                  (http://www.ebaumsworld.com/video
                                                                                             2                                                  s/bearded-dragon-has-some-issues-
                                                                                             3                                                  on-the-floor/85064397) – posted Jun.
                                                                                             4                                                  27, 2016
                                                                                             5   475.   “Guy Accidentally Shoots Self in        “Roman Candle Head Shot”
                                                                                             6          Face with Roman Candle”                 (http://www.ebaumsworld.com/video
                                                                                             7          (https://www.youtube.com/watch?         s/roman-candle-head-shot/85065220)
                                                                                             8          v=vAvHMLlMWYo) – acquired               – posted Jun. 28, 2016
                                                                                             9          Jun. 28, 2016
                                                                                            10   476.   “The Worst Intersection in West         “The Worst Intersection in Los
                                                                                            11          Los Angeles”                            Angeles”
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=fNj0O9NBf1c) – acquired Jun.          s/this-intersection-with-no-lights-or-
                                                                             310-229-9900




                                                                                            14          29, 2016                                signs-is-a-clusterfck/85066803) –
                                                                                            15                                                  posted Jun. 29, 2016
                                                                                            16   477.   “Knockerball Soccer Rodeo”              “Best Rodeo Idea Ever!”
                                                                                            17          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            18          v=UG0oOTbHxMY) – acquired               s/best-rodeo-idea-ever/85069479) –
                                                                                            19          Jul. 2, 2016                            posted Jul. 1, 2016
                                                                                            20   478.   “Jets Play Tic-Tac-Toe in the Sky” “Two Jet Pilots Play Tic-Tac-Toe in
                                                                                            21          (https://www.youtube.com/watch?         the Sky ”
                                                                                            22          v=VWrB86gGfbs) – acquired Jul.          (http://www.ebaumsworld.com/video
                                                                                            23          6, 2016                                 s/two-jet-pilots-play-tic-tac-toe-in-
                                                                                            24                                                  the-sky/85074145) – posted Jul. 7,
                                                                                            25                                                  2016
                                                                                            26   479.   “Runner Smashes Nuts into Pole”         “Runner Doesn’t See This Pole And
                                                                                            27          (https://www.youtube.com/watch?         Pays The Price”
                                                                                            28          v=iKUIu6f7J24) – acquired Jul.          (http://www.ebaumsworld.com/video
                                                                                                                                          137
                                                                                                                                                                            COMPLAINT
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                                                                                             1          17, 2016                                s/runner-smashes-nuts-into-
                                                                                             2                                                  pole/85083175/) – posted Jul. 18,
                                                                                             3                                                  2016
                                                                                             4

                                                                                             5                                                  “Man’s Balls Against Steel Pole”
                                                                                             6                                                  (http://www.ebaumsworld.com/video
                                                                                             7                                                  s/mans-balls-against-steel-
                                                                                             8                                                  pole/85084525/) – posted Jul. 20,
                                                                                             9                                                  2016
                                                                                            10   480.   “Son Pops Out of Trunk to               “Guy Hides In The Trunk To
                                                                                            11          Surprise Dad”                           Surprise His Dad”
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                                                                                            12          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=qUbP98BPmfM) – acquired Jul. s/surprised-dad/85076134) – posted
                                                                             310-229-9900




                                                                                            14          9, 2016                                 Jul. 10, 2016
                                                                                            15   481.   “Driver Hits Scooter Rider with         “Driver Accidentally Takes Out
                                                                                            16          Door then Crashes Himself”              Scooter, But That’s Just The
                                                                                            17          (https://www.youtube.com/watch?         Beginning”
                                                                                            18          v=Jz7Pt214mPM) – acquired Jul.          (http://www.ebaumsworld.com/video
                                                                                            19          14, 2016                                s/driver-accidentally-takes-out-
                                                                                            20                                                  scooter-but-thats-just-the-
                                                                                            21                                                  beginning/85080040) – posted Jul.
                                                                                            22                                                  14, 2016
                                                                                            23   482.   “Photographer Nearly Gets Ran           “Photographer Nearly Gets Run Over
                                                                                            24          Over”                                   By Redneck”
                                                                                            25          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            26          v=97hfxth3aas) – acquired Jul. 10, s/photographer-nearly-gets-run-over-
                                                                                            27          2016                                    by-redneck/85079266) – posted Jul.
                                                                                            28                                                  13, 2016
                                                                                                                                          138
                                                                                                                                                                              COMPLAINT
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                                                                                             1   483.   “New York Apartment Ceiling            “Woman Captures The Instant Her
                                                                                             2          Collapses”                             Apartment Ceiling Collapses”
                                                                                             3          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             4          v=g75D1vJEfxQ) – acquired Jul.         s/woman-records-as-her-ceiling-
                                                                                             5          12, 2016                               collapses/85076695) – posted Jul. 11,
                                                                                             6                                                 2016
                                                                                             7   484.   “Motorcyclist Stands on Top of         “Russian guy full speed stnding up!”
                                                                                             8          Bike”                                  (http://www.ebaumsworld.com/video
                                                                                             9          (https://www.youtube.com/watch?        s/russian-guy-full-speed-stnding-
                                                                                            10          v=u49svim_7cI) – acquired Jul.         up/85082230) – posted Jul. 17, 2016
                                                                                            11          12, 2016
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                                                                                            12   485.   “Sisters Play Around in T-Rex          “These Three Children in T-Rex
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Costumes”                              Costumes Make My Childhood Seem
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        Lame”
                                                                                            15          v=D-A1gFZtZNw) – acquired Jul.         (http://www.ebaumsworld.com/video
                                                                                            16          12, 2016                               s/these-three-children-in-t-rex-
                                                                                            17                                                 costumes-make-my-childhood-seem-
                                                                                            18                                                 lame/85077559) – posted Jul. 12,
                                                                                            19                                                 2016
                                                                                            20   486.   “Girls Perform Tandem Spin on          “Two Gymnasts Thought They
                                                                                            21          High Bar”                              Found The Secret To Perpetual
                                                                                            22          (https://www.youtube.com/watch?        Motion”
                                                                                            23          v=Oj1FeOY1g50) – acquired Jul.         (http://www.ebaumsworld.com/video
                                                                                            24          15, 2016                               s/two-gymnasts-thought-they-found-
                                                                                            25                                                 the-secret-to-perpetual-
                                                                                            26                                                 motion/85086174) – posted Jul. 22,
                                                                                            27                                                 2016
                                                                                            28   487.   “Man Wakeskates Behind Boat            “Guy leaves his speedboat
                                                                                                                                         139
                                                                                                                                                                           COMPLAINT
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                                                                                             1          with No Driver”                     DRIVERLESS”
                                                                                             2          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             3          v=Syi-IG5Mosw) – acquired Jul.      s/man-leaves-his-speedboat-
                                                                                             4          15, 2016                            driverless/85084518) – posted Jul.
                                                                                             5                                              20, 2016
                                                                                             6   488.   “Runaway Flower Girl”               “Little Flower Girl Adorably Runs In
                                                                                             7          (https://www.youtube.com/watch?     The Background During Wedding
                                                                                             8          v=7AiAn5INrQw) – acquired Jul.      Ceremony”
                                                                                             9          24, 2016                            (http://www.ebaumsworld.com/video
                                                                                            10                                              s/little-flower-girl-adorably-runs-in-
                                                                                            11                                              the-background-during-wedding-
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                                                                                            12                                              ceremony/85094796) – posted Aug.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                              1, 2016
                                                                             310-229-9900




                                                                                            14   489.   “Beachgoers Confronted by Wild      “Wild Boar Suddenly Emerges From
                                                                                            15          Boar”                               The Ocean”
                                                                                            16          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            17          v=tlzFovpnrpg) – acquired Jul. 20, s/boar-emerges-from-the-
                                                                                            18          2016                                ocean/85082842) – posted Jul. 18,
                                                                                            19                                              2016
                                                                                            20   490.   “Man Shoots Wife with Toy Gun”      “Guy Loves Shooting His Wife With
                                                                                            21          (https://www.youtube.com/watch?     Nerf Gun”
                                                                                            22          v=GBt2714dcQo) – acquired Jul.      (http://www.ebaumsworld.com/video
                                                                                            23          19, 2016                            s/guy-spends-a-week-shooting-his-
                                                                                            24                                              wife-daily-with-a-nerf-gun-its-the-
                                                                                            25                                              last-shot-that-makes-it-so-
                                                                                            26                                              funny/85080472) – posted Jul. 15,
                                                                                            27                                              2016
                                                                                            28   491.   “Bridge Jump Bellyflop”             “Bikini Babe’s Back Flip Turns Into
                                                                                                                                      140
                                                                                                                                                                          COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?         A Painful Bellyflop”
                                                                                             2          v=ltPIOXHWHfQ) – acquired Jul.          (http://www.ebaumsworld.com/video
                                                                                             3          21, 2016                                s/hot-chicks-back-flip-turns-into-a-
                                                                                             4                                                  painful-bellyflop/85106250) – posted
                                                                                             5                                                  Aug. 15, 2016;
                                                                                             6

                                                                                             7                                                  “The Best Funny Fails Ever!”
                                                                                             8                                                  (http://www.ebaumsworld.com/video
                                                                                             9                                                  s/the-best-funny-fails-ever/85129949)
                                                                                            10                                                  – posted Sept. 7, 2016
                                                                                            11   492.   “Girl Jumps off Bridge and Into         “The Best Funny Fails Ever!”
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                                                                                            12          Water”                                  (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          (https://www.youtube.com/watch?         s/the-best-funny-fails-ever/85129949)
                                                                             310-229-9900




                                                                                            14          v=ltPIOXHWHfQ) – acquired Jul.          – posted Sept. 7, 2016
                                                                                            15          21, 2016
                                                                                            16   493.   “Girl Twerks with Her Nose”             “Work Work Work Work Work!”
                                                                                            17          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            18          nsing/view/937599) – acquired           s/work-work-work-work-
                                                                                            19          Jul. 20, 2016                           work/85082105) – posted Jul. 17,
                                                                                            20                                                  2016
                                                                                            21   494.   “Police Interrupt Road Rage             “Why You DON’T Cross The Street
                                                                                            22          Fight”                                  On Your Bike In Russia”
                                                                                            23          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            24          v=MAdlBukyCJ0) – acquired Jul.          s/how-people-cross-the-street-in-
                                                                                            25          22, 2016                                russia/85085610) – posted Jul. 21,
                                                                                            26                                                  2016
                                                                                            27   495.   “Skater Whacks McLaren’s                “Another Angle of Skater Busting
                                                                                            28          Windshield”                             The Mclaren Windshield”
                                                                                                                                          141
                                                                                                                                                                           COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             2          v=9NLzlSaU4Qk) – acquired Jul.         s/another-angle-of-skater-busting-the-
                                                                                             3          22, 2016                               mclaren-windshield/85086398) –
                                                                                             4                                                 posted Jul. 22, 2016
                                                                                             5   496.   “Lightning Strike Hits Pole in         “Telephone Pole Gets Annihilated By
                                                                                             6          Chicago”                               Lightning Strike”
                                                                                             7          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             8          v=LIC0_fDp1Xw) – acquired Jul.         s/lightning-strike-hits-pole-in-
                                                                                             9          25, 2016                               chicago-july-24th/85088545) –
                                                                                            10                                                 posted Jul. 25, 2016;
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                                 “Amazing Footage of Lightning
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                 Strike Captured On Dashcam”
                                                                             310-229-9900




                                                                                            14                                                 (http://www.ebaumsworld.com/video
                                                                                            15                                                 s/amazing-footage-of-lightning-
                                                                                            16                                                 strike-captured-on-
                                                                                            17                                                 dashcam/85136792) – posted Sept.
                                                                                            18                                                 14, 2016
                                                                                            19   497.   “Little Girl Plays with Huskies in     “Adorable Lil Girl In Pool With
                                                                                            20          the Pool”                              Huskies”
                                                                                            21          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            22          v=ivfz_sU-hbM) – acquired Jul.         s/adorable-lil-girl-in-pool-with-
                                                                                            23          29, 2016                               huskies/85094797) – posted Aug. 1,
                                                                                            24                                                 2016
                                                                                            25   498.   “Seagulls Chase Little Boy at the      “The Best Funny Fails Ever!”
                                                                                            26          Beach”                                 (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?        s/the-best-funny-fails-ever/85129949)
                                                                                            28          v=gCQdYqmj3CI) – acquired Jul.         – posted Sept. 7, 2016
                                                                                                                                         142
                                                                                                                                                                           COMPLAINT
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                                                                                             1          26, 2016
                                                                                             2   499.   “Graduating High Schooler Walks       “Graduating High Schooler Walks
                                                                                             3          down Aisle in Tutu”                   down Aisle in Tutu”
                                                                                             4          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             5          v=lDRv2n6lrSU) – acquired May         s/graduating-high-schooler-walks-
                                                                                             6          13, 2016                              down-aisle-in-tutu/85112500/) –
                                                                                             7                                                posted May 14, 2016
                                                                                             8   500.   “Man Reunites with Family after       “Dude Pranks His Parents With
                                                                                             9          Three Years Away”                     Weight Loss Transformation After
                                                                                            10          (https://www.youtube.com/watch?       Being Away at School for 3 Years”
                                                                                            11          v=zXgi4vcDQzs) – acquired Aug.        (http://www.ebaumsworld.com/video
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          3, 2016                               s/dude-pranks-his-parents-with-
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                weight-loss-transformation-after-
                                                                             310-229-9900




                                                                                            14                                                being-away-at-school-for-3-
                                                                                            15                                                years/85092562/) – posted July 29,
                                                                                            16                                                2016
                                                                                            17   501.   “Longest Whip Ever Cracked”           “The Longest Whip Ever Cracked”
                                                                                            18          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            19          v=ksKhszIVVgI) – acquired July        s/longest-whip-ever-cracked-238-
                                                                                            20          30, 2016                              feet-3-inches/85092921/) – posted
                                                                                            21                                                July 30, 2016
                                                                                            22   502.   “Flyboarder Extinguishes Boat         “Flyboard Extinguishes Boat Fire On
                                                                                            23          Fire”                                 Lake”
                                                                                            24          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            25          v=8AARG2A1TOE) – acquired             s/flyboard-extinguishes-boat-fire-on-
                                                                                            26          July 31, 2016                         lake/85093827/) – posted July 31,
                                                                                            27                                                2016
                                                                                            28   503.   “Debris at Demolition Derby Flies     “Terrifying Moment When
                                                                                                                                        143
                                                                                                                                                                        COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 145 of 168 Page ID #:145



                                                                                             1          into Crowd”                            Driveshaft Goes Flying Into Crowd”
                                                                                             2          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                             3          nsing/view/938236) – acquired          s/car-drive-shaft-flies-into-crowd-at-
                                                                                             4          Aug. 1, 2016                           demolition-derby/85094170/) –
                                                                                             5                                                 posted Aug. 1, 2016
                                                                                             6   504.   “Goose Attacks Drone”                  “Drone attacked by a goose”
                                                                                             7          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             8          v=qCBZX38Vj1Y) – acquired              s/drone-attacked-by-a-
                                                                                             9          Aug. 8, 2016                           goose/85105594/) – posted Aug. 15,
                                                                                            10                                                 2016
                                                                                            11   505.   “Bears Swimming in Lake”               “Momma Bear and Her Cubs Go For
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                                                                                            12          (https://www.youtube.com/watch?        a Swim in Lake Tahoe”
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=rnciM5tCbwc) – acquired Aug.         (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          3, 2016                                s/momma-bear-and-her-cubs-go-for-
                                                                                            15                                                 a-swim-in-lake-tahoe/85096523/) –
                                                                                            16                                                 posted Aug. 3, 2016
                                                                                            17   506.   “Baby Bear Tries to be Friends         “Teddy-bear meet the deer”
                                                                                            18          with Baby Deer”                        (http://www.ebaumsworld.com/video
                                                                                            19          (https://www.youtube.com/watch?        s/teddy-bear-meet-the-
                                                                                            20          v=ygZNdi6rOEU) – acquired Aug. deer/85102028/) – posted Aug. 10,
                                                                                            21          6, 2016                                2016
                                                                                            22

                                                                                            23                                                 “How to steal a kiss”
                                                                                            24                                                 (http://www.ebaumsworld.com/video
                                                                                            25                                                 s/how-to-steal-a-kiss/85143658/) –
                                                                                            26                                                 posted Sept. 21, 2016
                                                                                            27   507.   “Cars Play Soccer”                     “The Best Funny Fails Ever!”
                                                                                            28          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                                                                         144
                                                                                                                                                                          COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 146 of 168 Page ID #:146



                                                                                             1          v=KRt4_lsTUJw) – acquired Aug.         s/the-best-funny-fails-
                                                                                             2          8, 2016                                ever/85129949/) – posted Sept. 7,
                                                                                             3                                                 2016
                                                                                             4   508.   “Cockatoo Meows Like a Cat”            “Parrot meows like a cat”
                                                                                             5          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             6          v=keFYl9FnesQ) – acquired Aug.         s/parrot-meows-like-a-cat/85102666/)
                                                                                             7          8, 2016                                – posted Aug. 11, 2016
                                                                                             8   509.   “Girl Slides down Stairs while         “Girl Does Splits Down Stairs”
                                                                                             9          Doing Splits”                          (http://www.ebaumsworld.com/video
                                                                                            10          (https://www.youtube.com/watch?        s/girl-does-splits-down-
                                                                                            11          v=Qryp-FrnU-c) – acquired Sept.        stairs/85123935/) – posted Sept. 2,
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                                                                                            12          1, 2016                                2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   510.   “Dolphin Steals iPad”                  “Dolphin Snatches iPad Out of
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        Woman’s Hands”
                                                                                            15          v=4unTQDg_isw) – acquired Aug. (http://www.ebaumsworld.com/video
                                                                                            16          8, 2016                                s/dolphin-snatches-ipad-out-of-
                                                                                            17                                                 womans-hands/85101595/) – posted
                                                                                            18                                                 Aug. 10, 2016
                                                                                            19   511.   “Lightning Strikes Across the          “Have You Ever Seen Lightning Like
                                                                                            20          Sky”                                   This Before”
                                                                                            21          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            22          v=nOpgX9D9fjs) – acquired Aug.         s/insane-video-of-sideways-
                                                                                            23          16, 2016                               lightning-in-florida/85113005/) –
                                                                                            24                                                 posted Aug. 22, 2016
                                                                                            25   512.   “Bear Causes People to Freak           “People Freak Out When Hungry
                                                                                            26          Out”                                   Bear Ransacks Their Vehicle”
                                                                                            27          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            28          v=j1kBUc4OnNc) – acquired Aug. s/people-freak-out-when-hungry-
                                                                                                                                         145
                                                                                                                                                                           COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 147 of 168 Page ID #:147



                                                                                             1          16, 2016                             bear-ransacks-their-
                                                                                             2                                               vehicle/85107117/) – posted Aug. 17,
                                                                                             3                                               2016
                                                                                             4   513.   “Chicken Runs Around Wearing         “This Pants-wearing Chicken Will
                                                                                             5          Blue Pants”                          Leave You In Tears”
                                                                                             6          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             7          v=35dCC81xhx0) – acquired Aug. s/this-pants-wearing-chicken-will-
                                                                                             8          31, 2016                             leave-you-in-tears/85121971/) –
                                                                                             9                                               posted Aug. 17, 2016
                                                                                            10   514.   “Girl Shoots Bow With Her Feet       “Girl Shoots Bow with her Feet
                                                                                            11          While Doing a Handstand”             While Doing a Handstand This girl
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12          (https://www.youtube.com/watch?      had a bow and arrow in between her
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          v=AY9kJw4HZ_U) – acquired            feet while doing an elevat [sic]”
                                                                             310-229-9900




                                                                                            14          Sept. 7, 2016                        (http://www.ebaumsworld.com/video
                                                                                            15                                               s/girl-shoots-bow-with-her-feet-
                                                                                            16                                               while-doing-a-handstand-this-girl-
                                                                                            17                                               had-a-bow-and-arrow-in-between-
                                                                                            18                                               her-feet-while-doing-an-
                                                                                            19                                               elevat/85130036/) – posted Sept. 7,
                                                                                            20                                               2016
                                                                                            21   515.   “Woman with Prosthetic Leg           “Amputee’s Leg Accidentally Falls
                                                                                            22          Climbs Rock Wall”                    Off During Climb”
                                                                                            23          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            24          v=uWdo8lDVISg) – acquired            s/amputees-leg-accidentally-falls-off-
                                                                                            25          Aug. 18, 2016                        during-climb/85106034/) – posted
                                                                                            26                                               Aug. 15, 2016
                                                                                            27   516.   “Guy Dances after Wisdom Teeth       “Asian Dude Dances Out Of Surgery
                                                                                            28          Surgery”                             While Still Sedated”
                                                                                                                                       146
                                                                                                                                                                        COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             2          v=Pas39gThRBw) – acquired             s/asian-dude-dances-out-of-surgery-
                                                                                             3          Aug. 20, 2016                         while-still-sedated/85110535/) –
                                                                                             4                                                posted Aug. 20, 2016
                                                                                             5

                                                                                             6                                                “Dude is Really Whacked Out on
                                                                                             7                                                Anesthesia”
                                                                                             8                                                (http://www.ebaumsworld.com/video
                                                                                             9                                                s/dude-is-really-whacked-out-on-
                                                                                            10                                                anesthesia/85123932/) – posted Sept.
                                                                                            11                                                2, 2016
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                                                                                            12   517.   “Girl Excited to See DeLorean         “Super Dad Buys DeLorean And
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          DMC-12”                               Surprises Young Daughter!”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            15          v=9wKaxBrhsCo) – acquired Aug. s/super-dad-buys-delorean-and-
                                                                                            16          20, 2016                              surprises-young-daughter/85110453/)
                                                                                            17                                                – posted Aug. 19, 2016
                                                                                            18   518.   “Grandma Shakes Groove Thang          “Woman has a dance party while
                                                                                            19          in Parking Lot”                       parking her car!”
                                                                                            20          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            21          v=BaE8LriThPs) – acquired Aug.        s/woman-has-a-dance-party-while-
                                                                                            22          22, 2016                              parking-her-car/85130272/) – posted
                                                                                            23                                                Sept. 7, 2016
                                                                                            24   519.   “Girl Freaks out after Discovering    “Girl Freaks Out Over Lizard On Her
                                                                                            25          Lizard on Leg”                        Leg”
                                                                                            26          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                            27          v=S4iu0Y2ssS4) – acquired Sept.       s/girl-freaks-out-over-lizard-on-her-
                                                                                            28          12, 2016                              leg/85135853/) – posted Sept. 13,
                                                                                                                                        147
                                                                                                                                                                         COMPLAINT
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                                                                                             1                                              2016
                                                                                             2   520.   “Girl Has Trouble Eating            “Girl Has Trouble Eating Milkshake
                                                                                             3          Milkshake After Surgery”            After Oral Surgery”
                                                                                             4          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                             5          v=QlWSimWrjBw) – acquired           s/girl-has-trouble-eating-milkshake-
                                                                                             6          Aug. 26, 2016                       after-oral-surgery/85120756/) –
                                                                                             7                                              posted Aug. 30, 2016
                                                                                             8   521.   “Dad Pulverizes Red Car”            “Dad Destroys His Daughter’s Car
                                                                                             9          (https://www.youtube.com/watch?     After She Sneaks Out”
                                                                                            10          v=2Eje6pJdWWo) – acquired           (http://www.ebaumsworld.com/video
                                                                                            11          Aug. 26, 2016                       s/furious-father-destroys-his-
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                              daughters-car-after-busting-her-with-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                              a-man-she-wasnt-allowed-to-
                                                                             310-229-9900




                                                                                            14                                              see/85117004/) – posted Aug. 30,
                                                                                            15                                              2016
                                                                                            16   522.   “Cyclist Passes Up Motorcycles”     “Bicyclists passing motorbikes”
                                                                                            17          (https://www.youtube.com/watch?     (http://www.ebaumsworld.com/video
                                                                                            18          v=aEcIdSjCADw) – acquired Aug. s/bicyclists-passing-
                                                                                            19          31, 2016                            motorbikers/85124184/) – posted
                                                                                            20                                              Sept. 2, 2016
                                                                                            21

                                                                                            22                                              “Cyclist Serves Butt-Whoopin’ of the
                                                                                            23                                              Century…”
                                                                                            24                                              (http://www.ebaumsworld.com/video
                                                                                            25                                              s/cyclist-serves-butt-whoopin-of-the-
                                                                                            26                                              century/85123566/) – posted Sept. 1,
                                                                                            27                                              2016
                                                                                            28   523.   “New Driver Keeps Stalling”         “Guys Laugh Because Student Driver
                                                                                                                                      148
                                                                                                                                                                       COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?         Can’t Merge!”
                                                                                             2          v=4Pl6qedpavw) – acquired Sept.         (http://www.ebaumsworld.com/video
                                                                                             3          2, 2016                                 s/guys-laugh-because-student-driver-
                                                                                             4                                                  cant-merge/85123846/) – posted
                                                                                             5                                                  Sept. 2, 2016
                                                                                             6

                                                                                             7   524.   “Student Throws Trash Ball into         “Student Makes Insane Paper Ball
                                                                                             8          Trashcan from Across Room”              Shot Giving Entire Class an “A” on
                                                                                             9          (https://www.youtube.com/watch?         their Quiz”
                                                                                            10          v=Nq0ueSS6CqA) – acquired               (http://www.ebaumsworld.com/video
                                                                                            11          Sept. 3, 2016                           s/student-makes-insane-paper-ball-
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                                                                                            12                                                  shot-securing-class-an-a-on-their-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                  quiz/85128435/) – posted Sept. 6,
                                                                             310-229-9900




                                                                                            14                                                  2016
                                                                                            15   525.   “Over Excited Kid Baptizes Self”        “Little Boy Couldn’t Wait for the
                                                                                            16          (https://www.youtube.com/watch?         Priest to Baptize Him!”
                                                                                            17          v=pQaOKau5eaY) – acquired               (http://www.ebaumsworld.com/video
                                                                                            18          Sept. 5, 2016                           s/little-boy-couldnt-wait-for-the-
                                                                                            19                                                  priest-to-baptize-him/85128756/) –
                                                                                            20                                                  posted Sept. 6, 2016
                                                                                            21   526.   “Man Survives Dangerous Cliff           “Cliff Jumping Idiot Nearly KILLS
                                                                                            22          Jump”                                   Himself”
                                                                                            23          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            24          v=dlFwJ1NBlLY) – acquired Sept. s/cliff-jumping-idiot-nearly-
                                                                                            25          7, 2016                                 paralyzes-himself/85129392/) –
                                                                                            26                                                  posted Sept. 7, 2016
                                                                                            27   527.   “Little Girl Gives Homeless Man         “Adorable girl gives her dinner”
                                                                                            28          Plate of Food”                          (http://www.ebaumsworld.com/video
                                                                                                                                          149
                                                                                                                                                                           COMPLAINT
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                                                                                             1          (https://www.youtube.com/watch?      s/adorable-girl-gives-her-
                                                                                             2          v=LadNzlR9Dfw) – acquired Sept. dinner/85133105/) – posted Sept. 10,
                                                                                             3          7, 2016                              2016
                                                                                             4   528.   “Dog Scares Curious Cats”            “Scaredy Cats”
                                                                                             5          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                             6          v=ZHbuFS3kw5o) – acquired            s/scaredy-cats/85132365/) – posted
                                                                                             7          Sept. 9, 2016                        Sept. 9, 2016
                                                                                             8   529.   “Snake Plays in New Sandbox”         “My Kenyan Sand Boa, Waffle,
                                                                                             9          (https://www.youtube.com/watch?      Playing With His New Toy!”
                                                                                            10          v=wz2opOBqClo) – acquired            (http://www.ebaumsworld.com/video
                                                                                            11          Sept. 9 2016                         s/my-kenyan-sand-boa-waffle-
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                                                                                            12                                               playing-with-his-new-toy/85132592/)
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                               – posted Sept. 10, 2016
                                                                             310-229-9900




                                                                                            14   530.   “Teens Swim Across Pool without      “Somebody Forgot to Fill Pool
                                                                                            15          Water”                               Before the Big Race!”
                                                                                            16          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            17          v=2e6I9CZZKQg) – acquired            s/somebody-forgot-to-fill-pool-
                                                                                            18          Sept. 13, 2016                       before-the-big-race/85136602/) –
                                                                                            19                                               posted Sept. 14, 2016
                                                                                            20   531.   “Man Jumps from Top of Wailua        “Crazy Cliff Jump Ends With Man
                                                                                            21          Falls”                               Needing to be Rescued”
                                                                                            22          (https://www.youtube.com/watch?      (http://www.ebaumsworld.com/video
                                                                                            23          v=9CAmEStqE6A) – acquired            s/man-needs-to-be-
                                                                                            24          Sept. 11, 2016                       rescued/85134251/) – posted Sept.
                                                                                            25                                               12, 2016
                                                                                            26   532.   “Girl Breaks Zip Tie Using           “Young Girl Breaks Out of Zip-Tie
                                                                                            27          Shoelaces”                           Handcuffs Using Her Shoelaces”
                                                                                            28          (https://www.facebook.com/miche (http://www.ebaumsworld.com/video
                                                                                                                                       150
                                                                                                                                                                          COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 152 of 168 Page ID #:152



                                                                                             1          lle.oneal.965/videos/13992360334       s/young-girl-breaks-out-of-zip-tie-
                                                                                             2          26105/) – acquired Sept. 14, 2016      handcuffs-using-her-
                                                                                             3                                                 shoelaces/85136789/) – posted Sept.
                                                                                             4                                                 13, 2016
                                                                                             5   533.   “Guy Attempts to Break Into U-         “Man Tries To Break Into a Truck as
                                                                                             6          Haul on Highway”                       it Speeds Down a Highway”
                                                                                             7          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             8          v=-3jWqj73qaE) – acquired Sept.        s/man-tries-to-break-into-a-truck-as-
                                                                                             9          14, 2016                               it-speeds-down-a-
                                                                                            10                                                 highway/85137331/) – posted Sept.
                                                                                            11                                                 15, 2016
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                                                                                            12   534.   “Man Removes Soda Can from             “Brave Man Saves Skunk from a
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Skunk's Head”                          Coke Can”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            15          v=9NoSSCmaHn4) – acquired              s/brave-man-saves-skunk-from-a-
                                                                                            16          Sept. 26, 2016                         coke-can/85148832/) – posted Sept.
                                                                                            17                                                 26, 2016
                                                                                            18   535.   “Good Samaritan Gives Umbrella         “Driver Gives Umbrella to Homeless
                                                                                            19          to Homeless Person”                    Person”
                                                                                            20          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            21          v=wluhBpq2914) – acquired Sept.        s/driver-gives-umbrella-to-homeless-
                                                                                            22          26, 2016                               person/85148811/) – posted Sept. 26,
                                                                                            23                                                 2016
                                                                                            24   536.   “Moose Attacks Lawnmower”              “Moose vs. Robo-mower”
                                                                                            25          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            26          v=4JpKZ9ZK1xo) – acquired              s/moose-vs-robomower/85146970/) –
                                                                                            27          Sept. 28, 2016                         posted Sept. 24, 2016
                                                                                            28

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                                                                                             1                                                 “Lawnmower vs apple thieving
                                                                                             2                                                 moose”
                                                                                             3                                                 (http://www.ebaumsworld.com/video
                                                                                             4                                                 s/lawnmower-vs-apple-thieving-
                                                                                             5                                                 moose/85144545/) – posted Sept. 22,
                                                                                             6                                                 2016
                                                                                             7   537.   “Science Experiment Excites            “Teacher Wins Over Class With
                                                                                             8          Class”                                 Dangerous Science Experiment”
                                                                                             9          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            10          v=6vFZpko0VKI) – acquired Oct.         s/teacher-wins-over-class-with-
                                                                                            11          2, 2016                                dangerous-science-
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                                                                                            12                                                 experiment/85157619/) – posted Oct.
                                                    LOS ANG ELES, CA 90067
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                                                                                            14   538.   “Two Guys Collide While Trying         “Bonfire Jumping Goes Wrong!”
                                                                                            15          to Jump Over Bonfire”                  (http://www.ebaumsworld.com/video
                                                                                            16          (https://www.youtube.com/watch?        s/bonfire-jumping-goes-
                                                                                            17          v=rOBB5KDn60w) – acquired              wrong/85155991/) – posted Oct. 3,
                                                                                            18          June 29, 2015                          2016
                                                                                            19   539.   “Kid Runs Into Mirror at Fun           “Kid Runs Into Mirror at Fun
                                                                                            20          House”                                 House!”
                                                                                            21          (https://www.facebook.com/jessic       (http://www.ebaumsworld.com/video
                                                                                            22          aelmer297/videos/1020035285938 s/kid-runs-into-mirror-at-fun-
                                                                                            23          1504/) – acquired Oct. 3, 2016         house/85155948/) – posted Oct. 3,
                                                                                            24                                                 2016
                                                                                            25   540.   “Rough Waters Cause Waves in           “Rough Waters Cause Waves”
                                                                                            26          Cruise Ship Pool”                      (http://www.ebaumsworld.com/video
                                                                                            27          (https://www.youtube.com/watch?        s/rough-waters-cause-
                                                                                            28          v=VxzPC-GiAH4) – acquired              waves/85155499/) – posted Oct. 3,
                                                                                                                                         152
                                                                                                                                                                         COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 154 of 168 Page ID #:154



                                                                                             1          Sept. 30, 2016                          2016
                                                                                             2   541.   “Dad Walks Around House in              “Dad has Awesome Costume This
                                                                                             3          Gnome Costume”                          Year”
                                                                                             4          (https://www.facebook.com/10000 (http://www.ebaumsworld.com/video
                                                                                             5          3176734059/videos/87052284639           s/dad-has-awesome-costume-this-
                                                                                             6          6932/) – acquired Dec. 22, 2016         year/85155491/) – posted Oct. 3,
                                                                                             7                                                  2016
                                                                                             8   542.   “Bengal Cat Plays with Shiba Inu        “Bengal Cat Plays with Shiba Inu
                                                                                             9          Puppy”                                  Puppy”
                                                                                            10          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            11          v=pChK_hSV6HY) – acquired               s/bengal-cat-plays-with-shiba-inu-
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                                                                                            12          Oct. 9, 2015                            puppy/82016220/) – posted Nov. 15,
                                                    LOS ANG ELES, CA 90067
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                                                                                            14   543.   “Guy Performs Magic Trick for           “Guy Performs Magic Trick For
                                                                                            15          Orangutan”                              Orangutan”
                                                                                            16          (https://www.facebook.com/mattg         (http://www.ebaumsworld.com/video
                                                                                            17          magic/videos/1213463142033922/ s/guy-performs-magic-trick-for-
                                                                                            18          ) – acquired Oct. 11, 2016              orangutan/85164177/) – posted Oct.
                                                                                            19                                                  12, 2016
                                                                                            20   544.   “Kid Pukes on Ride”                     “Kid pukes on Ride at the State Fair
                                                                                            21          (https://www.youtube.com/watch?         of Texas”
                                                                                            22          v=16xy4S2eX1c) – acquired Oct.          (http://www.ebaumsworld.com/video
                                                                                            23          12, 2016                                s/kid-pukes-on-ride-at-the-state-fair-
                                                                                            24                                                  of-texas/85164007/) – posted Oct. 12,
                                                                                            25                                                  2016
                                                                                            26

                                                                                            27                                                  “Kid on a ride at the State Fair of
                                                                                            28                                                  Texas pukes while upside down and
                                                                                                                                          153
                                                                                                                                                                           COMPLAINT
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                                                                                             1                                                  spinning around.”
                                                                                             2                                                  (http://www.ebaumsworld.com/video
                                                                                             3                                                  s/kid-on-a-ride-at-the-state-fair-of-
                                                                                             4                                                  texas-pukes-while-upside-down-and-
                                                                                             5                                                  spinning-around/85163798/) – posted
                                                                                             6                                                  Oct. 12, 2016
                                                                                             7   545.   “Man Rescues Dogs from Elevator “Manager Rescues Dog From
                                                                                             8          Trap”                                   Elevator Doors”
                                                                                             9          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            10          nsing/view/942349) – acquired           s/manager-rescues-dog-from-
                                                                                            11          Oct. 11, 2016                           elevator-doors/85163920/) – posted
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                                                                                            12                                                  Oct. 12, 2016
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   546.   “Goat Licks Dog”                        “Strange Goat Licks a Dog”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            15          v=9-QcWVPFxGA) – acquired               s/strange-goat-licks-a-
                                                                                            16          Oct. 11, 2016                           dog/85161402/) – posted Oct. 10,
                                                                                            17                                                  2016
                                                                                            18   547.   “Autoshade Sunglasses”                  “A guy has made a prototype
                                                                                            19          (https://www.youtube.com/watch?         invention of his ‘Automatic
                                                                                            20          v=CF4J4e7vOC8) – acquired Oct.          Sunglasses’”
                                                                                            21          20, 2016                                (http://www.ebaumsworld.com/video
                                                                                            22                                                  s/a-guy-has-made-a-prototype-
                                                                                            23                                                  invention-of-his-automatic-
                                                                                            24                                                  sunglasses/85169957//) – posted Oct.
                                                                                            25                                                  20, 2016
                                                                                            26   548.   “Guy Lifts Girl off Grass”              “Guy Lifts Girl off Grass”
                                                                                            27          (https://instagram.com/p/BJ01sZc        (http://www.ebaumsworld.com/video
                                                                                            28          A8S2/) – acquired Oct. 19, 2016         s/guy-lifts-girl-off-grass/85169422/)
                                                                                                                                          154
                                                                                                                                                                             COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 156 of 168 Page ID #:156



                                                                                             1                                                 – posted Oct. 19, 2016
                                                                                             2   549.   “Man Claps During Bench Press”         “Man Claps During Bench Press!”
                                                                                             3          (https://instagram.com/p/BDo_nV        (http://www.ebaumsworld.com/video
                                                                                             4          XlA7R/) – acquired Oct. 18, 2016       s/man-claps-during-bench-
                                                                                             5                                                 press/85169307/) – posted Oct. 19,
                                                                                             6                                                 2016
                                                                                             7   550.   “Girl Passes Out Twice on              “Funny Irish Girl Passes Out Twice
                                                                                             8          Slingshot Ride”                        On Slingshot Ride in Magaluf!”
                                                                                             9          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                            10          v=URSj-Lk3vo4) – acquired Aug.         s/funny-irish-girl-passes-out-twice-
                                                                                            11          31, 2015                               on-slingshot-ride-in-
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                                                                                            12                                                 magaluf/85167037/) – posted Oct.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                 17, 2016
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                                                                                            14   551.   “Amazing Onion Cutting Skills”         “This Guy’s Onion Chopping Skills
                                                                                            15          (https://www.youtube.com/watch?        Will Put You To Shame!”
                                                                                            16          v=tzd0t1VaWfA) – acquired Jun.         (http://www.ebaumsworld.com/video
                                                                                            17          9, 2016                                s/this-guys-onion-chopping-skills-is-
                                                                                            18                                                 not-for-the-faint-of-heart/85166814/)
                                                                                            19                                                 – posted Oct. 16, 2016
                                                                                            20   552.   “Woman Gracefully Spins Inside         “Girl Shows Off Her Amazing Ring
                                                                                            21          Hoop”                                  Skills!”
                                                                                            22          (https://www.jukinmedia.com/lice       (http://www.ebaumsworld.com/video
                                                                                            23          nsing/view/942206) – acquired          s/girl-shows-off-her-amazing-ring-
                                                                                            24          Oct. 10, 2016                          skills/85165775/) – posted Oct. 14,
                                                                                            25                                                 2016
                                                                                            26   553.   “Garage Door Looks Like                “Garage Door Looks Like Monster”
                                                                                            27          Monster”                               (http://www.ebaumsworld.com/video
                                                                                            28          (https://www.facebook.com/aman         s/garage-door-looks-like-
                                                                                                                                         155
                                                                                                                                                                           COMPLAINT
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                                                                                             1          da.destro/videos/10157497231705         monster/85165736/) – posted Oct. 14,
                                                                                             2          398/) – acquired Oct. 14, 2016          2016
                                                                                             3   554.   “Man Releases Rescued Snakes            “This Snake Release Video Is The
                                                                                             4          Back into Wild”                         Stuff Nightmares Are Made Of”
                                                                                             5          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                             6          nsing/view/942405) – acquired           s/this-snake-release-video-is-the-
                                                                                             7          Oct. 10, 2016                           stuff-nightmares-are-made-
                                                                                             8                                                  of/85164393/) – posted Oct. 13, 2016
                                                                                             9   555.   “Girl Climbs out of Pool Like a         “This Woman Is The Ultimate
                                                                                            10          Monster”                                Possessed Pool Demon”
                                                                                            11          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
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                                                                                            12          v=IyaVnzU_kXA) – acquired Oct. s/i-cant-tell-if-im-more-aroused-or-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          19, 2016                                terrified/85173340/) – posted Oct. 24,
                                                                             310-229-9900




                                                                                            14                                                  2016
                                                                                            15   556.   “Man Dances and Performs Tricks “Indoor Skydiving Looks Awesome”
                                                                                            16          in Wind Tunnel”                         (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.jukinmedia.com/lice        s/indoor-skydiving-looks-
                                                                                            18          nsing/view/925350) – acquired           awesome/85173184/) – posted Oct.
                                                                                            19          Jan. 27, 2016                           24, 2016
                                                                                            20   557.   “Chicken Runs Around Wearing            “Is There Anything Funnier Than A
                                                                                            21          Blue Pants”                             Rooster Wearing Pants?”
                                                                                            22          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            23          v=35dCC81xhx0) – acquired Aug. s/is-there-anything-funnier-than-a-
                                                                                            24          17, 2016                                rooster-wearing-pants/85172651/) –
                                                                                            25                                                  posted Oct. 23, 2016
                                                                                            26   558.   “Parking Lot Full of Terrible           “Apparently Croatian Drivers’
                                                                                            27          Drivers”                                Handbook Doesn’t Include Parking”
                                                                                            28          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                                                                          156
                                                                                                                                                                            COMPLAINT
                                                         Case 2:17-cv-00356-DSF-AFM Document 1 Filed 01/17/17 Page 158 of 168 Page ID #:158



                                                                                             1          v=Ue1zBu6fR5Q) – acquired Oct.          s/apparently-croatian-drivers-
                                                                                             2          5, 2016                                 handbook-doesnt-include-
                                                                                             3                                                  parking/85172647/) – posted Oct. 23,
                                                                                             4                                                  2016
                                                                                             5   559.   “Cars Play Soccer”                      “Real Life Rocket League”
                                                                                             6          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             7          v=KRt4_lsTUJw) – acquired Aug.          s/real-life-rocket-league/85171269/)
                                                                                             8          8, 2016                                 – posted Oct. 21, 2016
                                                                                             9   560.   “Guy Singing in Car Crashes”            “Guy Singing His Heart Out
                                                                                            10          (https://www.youtube.com/watch?         Hydroplanes and Flips His Car”
                                                                                            11          v=w-HKSWf5xso) – acquired Oct. (http://www.ebaumsworld.com/video
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                                                                                            12          21, 2016                                s/guy-singing-his-heart-out-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13                                                  hydroplanes-and-flips-his-
                                                                             310-229-9900




                                                                                            14                                                  car/85170759/) – posted Oct. 21,
                                                                                            15                                                  2016
                                                                                            16   561.   “Man Runs Into Bear”                    “Pot Head Plows Into a Black Bear
                                                                                            17          (https://www.youtube.com/watch?         While on the Phone”
                                                                                            18          v=TgOCATWRLug) – acquired               (http://www.ebaumsworld.com/video
                                                                                            19          Oct. 19, 2016                           s/pot-head-plows-into-a-black-bear-
                                                                                            20                                                  while-on-the-phone/85170499/) –
                                                                                            21                                                  posted Oct. 20, 2016
                                                                                            22   562.   “Teen Backflips into Goal Post”         “Leroy Jenkins Throat Punches
                                                                                            23          (https://www.youtube.com/watch?         Himself Trying Stupid Stunt”
                                                                                            24          v=tnAZ4BE2yS4) – acquired June          (http://www.ebaumsworld.com/video
                                                                                            25          29, 2016                                s/leroy-jenkins-throat-punches-
                                                                                            26                                                  himself-trying-stupid-
                                                                                            27                                                  stunt/85182041/) – posted Nov. 3,
                                                                                            28                                                  2016
                                                                                                                                          157
                                                                                                                                                                           COMPLAINT
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                                                                                             1   563.   “Guy Dresses Up as Comfortable          “A Very Surprising Halloween
                                                                                             2          Chair”                                  Costume”
                                                                                             3          (https://www.facebook.com/61722 (http://www.ebaumsworld.com/video
                                                                                             4          4/videos/10102706351202297/) –          s/a-very-surprising-halloween-
                                                                                             5          acquired Oct. 31, 2016                  costume/85180926/) – posted Nov. 2,
                                                                                             6                                                  2016
                                                                                             7   564.   “Haircut from Hell”                     “Haircut from Hell Epic Meltdown”
                                                                                             8          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                             9          v=TzBDpdhC8Hs) – acquired               s/haircut-from-hell-epic-
                                                                                            10          Dec. 11, 2015                           meltdown/85180924/) – posted Nov.
                                                                                            11                                                  2, 2016
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                                                                                            12   565.   “Girl Gets Tossed from Boat and         “When Throwing Your Girlfriend
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          Hits Neck on Railing”                   Overboard Goes Painfully Wrong!”
                                                                             310-229-9900




                                                                                            14          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            15          v=bvhaerEsAd8) – acquired July          s/when-throwing-your-girlfriend-
                                                                                            16          7, 2015                                 overboard-goes-painfully-
                                                                                            17                                                  wrong/85178339/) – posted Oct. 30,
                                                                                            18                                                  2016
                                                                                            19   566.   “Old Ladies Argue in The Car”           “Gramma and Ginga: Shut Your
                                                                                            20          (https://www.facebook.com/gram          Damn Big Mouth, Will Ya?”
                                                                                            21          maandginga/videos/159428059753 (http://www.ebaumsworld.com/video
                                                                                            22          4484/) – acquired Oct. 31, 2016         s/gramma-and-ginga-shut-your-
                                                                                            23                                                  damn-big-mouth-will-ya/85178044/)
                                                                                            24                                                  – posted Oct. 30, 2016
                                                                                            25   567.   “Разбойное нападение в                  “Attempted Murse [sic] Snatching
                                                                                            26          Челябинске.”                            Caught on Dash Cam in Russia”
                                                                                            27          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            28          v=K23Ts4HAQbk) – acquired               s/attempted-murse-snatching-caught-
                                                                                                                                          158
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                                                                                             1          Oct. 31, 2016                          on-dash-cam-in-russia/85177638/) –
                                                                                             2                                                 posted Oct. 29, 2016
                                                                                             3   568.   “Tow Truck Makes Things                “Rookie Tow Truck Driver Turns
                                                                                             4          Worse”                                 Accident Into Total Loss”
                                                                                             5          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
                                                                                             6          v=KBxSntGGm8U) – acquired              s/rookie-tow-truck-driver-turns-
                                                                                             7          Oct. 29, 2013                          accident-a-into-total-loss/85177454/)
                                                                                             8                                                 – posted Oct. 29, 2016
                                                                                             9   569.   “Car Crashes into Another Car and “Tesla Flies Over Hill, Onto
                                                                                            10          Dealership”                            Mercedes and Into Dealership”
                                                                                            11          (https://www.youtube.com/watch?        (http://www.ebaumsworld.com/video
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                                                                                            12          v=jwtATsAlx2A) – acquired Oct.         s/tesla-flies-over-hill-onto-mercedes-
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          28, 2016                               and-into-dealership/85176766/) –
                                                                             310-229-9900




                                                                                            14                                                 posted Oct. 28, 2016
                                                                                            15   570.   “Girl's Head Get’s Stuck in            “Girl Gets Head Stuck in Pumpkin!”
                                                                                            16          Pumpkin”                               (http://www.ebaumsworld.com/video
                                                                                            17          (https://www.youtube.com/watch?        s/girl-gets-head-stuck-in-
                                                                                            18          v=SkGh_wkUvU0) – acquired              pumpkin/85176205/) – posted Oct.
                                                                                            19          Oct. 27, 2016                          27, 2016
                                                                                            20   571.   “Guy Sits while Using Treadmill”       “Man SITS DOWN on treadmill and
                                                                                            21          (https://www.youtube.com/watch?        snacks”
                                                                                            22          v=_QdirBxSl-s) – acquired Oct.         (http://www.ebaumsworld.com/video
                                                                                            23          27, 2016                               s/man-sits-down-on-treadmill-and-
                                                                                            24                                                 snacks/85176201/) – posted Oct. 27,
                                                                                            25                                                 2016
                                                                                            26   572.   “Guy Falls During Virtual Reality      “FAIL! Guy Falls During Virtual
                                                                                            27          Demo”                                  Reality Demo”
                                                                                            28          (https://instagram.com/p/BL1jM2        (http://www.ebaumsworld.com/video
                                                                                                                                         159
                                                                                                                                                                            COMPLAINT
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                                                                                             1          RBQXm/) – acquired Oct. 27,           s/fail-guy-falls-during-virtual-reality-
                                                                                             2          2016                                  demo/85176200/) – posted Oct. 27,
                                                                                             3                                                2016
                                                                                             4   573.   “Aftermath of Girl Stuck in           “Girl frees her head from pumkin
                                                                                             5          Pumpkin”                              [sic]!”
                                                                                             6          (https://www.youtube.com/watch?       (http://www.ebaumsworld.com/video
                                                                                             7          v=qmFosLLIHLM) – acquired             s/girl-frees-her-head-from-
                                                                                             8          Oct. 31, 2016                         pumkin/85175869/) – posted Oct. 27,
                                                                                             9                                                2016
                                                                                            10   574.   “Drone Gets Caught in Model's         “POV Footage of a Drone Attack of
                                                                                            11          Hair”                                 Civilians On Beach”
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                                                                                            12          (https://www.instagram.com/p/BG (http://www.ebaumsworld.com/video
                                                    LOS ANG ELES, CA 90067
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                                                                                            13          8FnQLTcOm/) – acquired Oct. 20, s/pov-footage-of-a-drone-attack-of-
                                                                             310-229-9900




                                                                                            14          2016                                  civilians-on-beach/85175620/) –
                                                                                            15                                                posted Oct. 27, 2016
                                                                                            16   575.   “Guy Reaches Running Speed of         “Sprinting at the Gym Like a Boss!”
                                                                                            17          23.5 MPH”                             (http://www.ebaumsworld.com/video
                                                                                            18          (https://www.youtube.com/watch?       s/sprinting-at-the-gym-like-a-
                                                                                            19          v=ISDNTrI3yJk) – acquired Aug.        boss/85187483/) – posted Nov. 9,
                                                                                            20          30, 2016                              2016
                                                                                            21   576.   “Life-Like Alien Dolls”               “The Internet Is Freaking Out Over
                                                                                            22          (https://www.youtube.com/watch?       These Creepy Avatar ‘Babies’”
                                                                                            23          v=6yW7umUiyY8) – acquired             (http://www.ebaumsworld.com/video
                                                                                            24          Nov. 9, 2016                          s/the-internet-is-freaking-out-over-
                                                                                            25                                                these-creepy-avatar-
                                                                                            26                                                babies/85184499/) – posted Nov. 6,
                                                                                            27                                                2016
                                                                                            28   577.   “Bartender Shows Off Cool Bottle      “Bartender Shows Us a Very
                                                                                                                                        160
                                                                                                                                                                          COMPLAINT
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                                                                                             1          Trick”                                  Amazing Trick”
                                                                                             2          (https://instagram.com/p/BKTVczj (http://www.ebaumsworld.com/video
                                                                                             3          AAdi/) – acquired Nov. 11, 2016         s/bartender-shows-us-a-very-
                                                                                             4                                                  amazing-trick/85192403/) – posted
                                                                                             5                                                  Nov. 15, 2016
                                                                                             6   578.   “Guy Uses Fire Extinguisher             “Cyclist Has A Secret Weapon!”
                                                                                             7          During Bike Ride”                       (http://www.ebaumsworld.com/video
                                                                                             8          (https://instagram.com/p/BMOjjcq        s/cyclist-has-a-secret-
                                                                                             9          Bhi3/) – acquired Nov. 3, 2016          weapon/85191506/) – posted Nov.
                                                                                            10                                                  15, 2016
                                                                                            11   579.   “Girl Lands on Back in Water”           “Girl’s Backflip Turns into a Painful
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                                                                                            12          (https://www.jukinmedia.com/lice        Back Flop”
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                                                                                            13          nsing/view/941081) – acquired           (http://www.ebaumsworld.com/video
                                                                             310-229-9900




                                                                                            14          Nov. 4, 2016                            s/girls-backflip-turns-into-a-painful-
                                                                                            15                                                  back-flop/85189425/) – posted Nov.
                                                                                            16                                                  11, 2016
                                                                                            17   580.   “Kid on Bike Falls down Stairs”         “BMX Biker Needs 911!”
                                                                                            18          (https://www.youtube.com/watch?         (http://www.ebaumsworld.com/video
                                                                                            19          v=Se4jBlvtA7M) – acquired Oct.          s/bmx-biker-needs-911/85189118/) –
                                                                                            20          24, 2016                                posted Nov. 11, 2016
                                                                                            21   581.   “E-Cig Explodes in Man's Pocket” “E-Cigs Exploding in Pockets”
                                                                                            22          (https://s3.amazonaws.com/jukinvi (http://www.ebaumsworld.com/video
                                                                                            23          deo_footage_master/945181-              s/e-cigs-exploding-in-
                                                                                            24          masterfootage-                          pockets/85203334/) – posted Nov.
                                                                                            25          1611230535.mp4?AWSAccessKe              28, 2016
                                                                                            26          yId=AKIAINR7NSBYX4Q5LHX
                                                                                            27          A&Expires=1795484169&Signatu “Las Vegas Speed Trap”
                                                                                            28          re=K3D5JI0LoOOtinMUNMRzqs               (http://www.ebaumsworld.com/video
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                                                                                             1          zCR4M%3D) – acquired Nov. 23,           s/e-cigarette-explodes-in-mans-
                                                                                             2          2016                                    pocket/85202072/) – posted Nov. 27,
                                                                                             3                                                  2016
                                                                                             4   582.   “Rock Breaks off Cliff after Guy        “Cliff Jumper Almost Crushes
                                                                                             5          Jumps off It”                           Himself After Dislodging Huge
                                                                                             6          (https://www.youtube.com/watch?         Boulder”
                                                                                             7          v=3Ke0IlD_lbA) – acquired Nov.          (http://www.ebaumsworld.com/video
                                                                                             8          26, 2016                                s/huge-rocks-come-loose-as-cliff-
                                                                                             9                                                  jumper-leaps-from-92-feet-azure-
                                                                                            10                                                  window/85202411/) – posted Nov.
                                                                                            11                                                  28, 2016
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                                                                                            12   583.   “Parents Prank Kids With Turkey” “Dad Trolls His Three Daughters
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                                                                                            13          (https://www.youtube.com/watch?         With Pregnant Turkey Prank”
                                                                             310-229-9900




                                                                                            14          v=mmsB8iAXBdI) – acquired               (http://www.ebaumsworld.com/video
                                                                                            15          Nov. 28, 2016                           s/dad-trolls-his-three-daughters-with-
                                                                                            16                                                  pregnant-turkey-prank/85201396/) –
                                                                                            17                                                  posted Nov. 26, 2016
                                                                                            18   584.   “Little Kid Can't Find Goggles”         “Poor Kid Can’t Find His Goggles!”
                                                                                            19          (https://www.jukinmedia.com/lice        (http://www.ebaumsworld.com/video
                                                                                            20          nsing/view/945224) – acquired           s/poor-kid-cant-find-his-
                                                                                            21          Nov. 25, 2016                           goggles/85200732/) – posted Nov.
                                                                                            22                                                  25, 2016
                                                                                            23   585.   “Guys Light Trail of Leaves on          “Epic Supersonic Redneck Bonfire
                                                                                            24          Fire”                                   Using a Line of Leaves”
                                                                                            25          (https://www.facebook.com/10000 (http://www.ebaumsworld.com/video
                                                                                            26          5546417765/videos/42675809085           s/epic-supersonic-redneck-bonfire-
                                                                                            27          2401/) – acquired Dec. 21, 2015         using-a-line-of-leaves/85205665/) –
                                                                                            28                                                  posted Dec. 1, 2016
                                                                                                                                          162
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                                                                                             1

                                                                                             2                          Harm Caused by the Infringement;
                                                                                             3                  Jukin’s Efforts to Stop Defendants’ Infringement
                                                                                             4         158. As described above, Defendant has engaged in at least 600 instances
                                                                                             5   of infringement of Jukin’s Original Videos.
                                                                                             6         159. Both Jukin and the individual video creators are harmed by
                                                                                             7   Defendant’s infringement. For example, the infringement causes them to lose
                                                                                             8   license fees that Defendant should have paid for use of the videos, as well as losing
                                                                                             9   the ability to monetize the videos through ad placement and the revenue derived
                                                                                            10   from the network effects of viewers coming to Jukin-owned and managed
                                                                                            11   properties to view the Jukin content (e.g., repeated viewing within Jukin’s
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                                                                                            12   channels, conversion of single-time viewers to long-term subscribers, etc.).
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                                                                                            13         160. Since Defendant is either using the entire Jukin videos or is using the
                                                                             310-229-9900




                                                                                            14   most significant and valuable portions of Jukin’s videos, after viewers watch the
                                                                                            15   Infringing Videos on ebaumsworld.com, and the Viumbe Social Media Accounts,
                                                                                            16   they are unlikely to go to Jukin’s channels to watch the Original Videos. As such,
                                                                                            17   Jukin is losing views on its own channels and is missing out on capturing potential
                                                                                            18   new viewers who otherwise may have watched the videos on Jukin’s channels and
                                                                                            19   become repeat viewers. While Jukin derives significant market value from its
                                                                                            20   licenses, Defendant’s actions produce an adverse effect to the licensing market by
                                                                                            21   exposing the material to a significant number of viewers who no longer have a
                                                                                            22   need to view the video from Jukin or Jukin licensee.
                                                                                            23         161. Jukin has undertaken various efforts to stop Defendant’s infringement,
                                                                                            24   such as takedown notices with ebaumsworld.com. Despite these efforts, Defendant
                                                                                            25   not only continues to regularly and willfully infringe Jukin’s videos, but the
                                                                                            26   instances of infringement have increased exponentially and require more action by
                                                                                            27   Jukin and involvement of the Court to adjudicate this dispute.
                                                                                            28                             FIRST CLAIM FOR RELIEF
                                                                                                                                          163
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                                                                                             1            COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106 and 501)
                                                                                             2         162. Jukin incorporates and references the allegations asserted in each of
                                                                                             3   the preceding paragraphs, as if fully set forth herein.
                                                                                             4         163. Defendant has infringed Jukin’s copyright in the Original Videos in
                                                                                             5   violation of at least Sections 106 and 501 of the Copyright Act, 17 U.S.C. by
                                                                                             6   copying videos owned or exclusively licensed by Jukin without a license or
                                                                                             7   permission.
                                                                                             8         164. In addition, Defendant is directly liable for copyright infringement
                                                                                             9   based on its volitional acts which include a policy of encouraging subscribers to
                                                                                            10   upload files and its use of a screening procedure in which its employees view all
                                                                                            11   files uploaded and organize certain files by category.
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                                                                                            12         165. Upon information and belief, Defendant’s acts of infringement are
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                                                                                            13   willful, intentional, continuous, and purposeful, in disregard of and with
                                                                             310-229-9900




                                                                                            14   indifference to Jukin’s rights.
                                                                                            15         166. As a direct and proximate result of said infringement by Defendant,
                                                                                            16   Jukin is entitled to damages in an amount to be proven at trial.
                                                                                            17         167. Jukin is also entitled to Defendant’s profits attributable to the
                                                                                            18   infringement, pursuant to 17 U.S.C. § 504 and otherwise according to law.
                                                                                            19         168. Jukin is also entitled to its costs and fees pursuant to 17 U.S.C. § 505
                                                                                            20   and otherwise according to law.
                                                                                            21         169. Jukin is entitled to injunctive relief and redress for Defendant’s use
                                                                                            22   and exploitation of the Jukin Original Videos for its own financial benefit in
                                                                                            23   disregard of Jukin’s rights. Defendant’s conduct is causing and, unless
                                                                                            24   immediately enjoined, will continue to cause enormous and irreparable harm to
                                                                                            25   Jukin. Jukin is suffering lost revenue from loss of licensing fees, decreased
                                                                                            26   monetization because viewers are diverted to Defendants’ site, and reputational
                                                                                            27   harm. Defendant may not continue to exploit Jukin’s video compositions without
                                                                                            28   authorization. Defendant’s conduct must immediately be stopped and Jukin must
                                                                                                                                           164
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                                                                                             1   be compensated for its willful acts of infringement.
                                                                                             2         170. As a direct and proximate result of the foregoing acts and conduct,
                                                                                             3   Jukin has sustained and will continue to sustain substantial, immediate, and
                                                                                             4   irreparable injury, for which there is no adequate remedy at law. Jukin is informed
                                                                                             5   and believes, and on that basis avers, that unless enjoined and restrained by this
                                                                                             6   Court, Defendant will continue to infringe Jukin’s rights in Jukin’s videos. Jukin
                                                                                             7   Media is entitled to preliminary and permanent injunctive relief to restrain and
                                                                                             8   enjoin Defendant’s continuing infringing conduct.
                                                                                             9                            SECOND CLAIM FOR RELIEF
                                                                                            10    CONTRIBUTORY COPYRIGHT INFRINGEMENT (17 U.S.C. §§ 106 and
                                                                                            11                                            501)
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12         171. Jukin incorporates and references the allegations asserted in each of
                                                    LOS ANG ELES, CA 90067
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                                                                                            13   the preceding paragraphs, as if fully set forth herein.
                                                                             310-229-9900




                                                                                            14         172. Third party users of ebaumsworld.com are copying videos owned or
                                                                                            15   exclusively licensed by Jukin and uploading these videos to ebaumsworld.com
                                                                                            16   without a license or permission.
                                                                                            17         173. Defendant has knowledge of this infringing activity, in part, based on
                                                                                            18   multiple takedown requests sent by Jukin. Moreover, Defendant has and continues
                                                                                            19   to induce, cause, or materially contribute to third uploads of the infringing content,
                                                                                            20   a direct infringement by those parties, in part, by storing infringing copies of the
                                                                                            21   Jukin Original Videos and providing users with access to these copies.
                                                                                            22         174. Defendant’s contributory copyright infringement was and is willful,
                                                                                            23   and executed with knowledge of Jukin’s copyrights in the Jukin Original Videos,
                                                                                            24   and in conscious disregard of Jukin’s exclusive rights.
                                                                                            25         175. As a direct and proximate result of said infringement by Defendant,
                                                                                            26   Jukin is entitled to damages in an amount to be proven at trial.
                                                                                            27         176. Jukin is also entitled to Defendant’s profits attributable to the
                                                                                            28   infringement, pursuant to 17 U.S.C. § 504 and otherwise according to law.
                                                                                                                                           165
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                                                                                             1            177. Jukin is also entitled to its costs and fees pursuant to 17 U.S.C. § 505
                                                                                             2   and otherwise according to law.
                                                                                             3            178. Jukin is entitled to injunctive relief and redress for Defendant’s
                                                                                             4   willful, intentional, and purposeful use and exploitation of the Jukin Original
                                                                                             5   Videos for its own financial benefit with full knowledge that such use constituted
                                                                                             6   infringement of, and was in disregard of, Jukin’s rights. Defendant’s conduct is
                                                                                             7   causing and, unless immediately enjoined, will continue to cause enormous and
                                                                                             8   irreparable harm to Jukin. Jukin is suffering lost revenue from loss of licensing
                                                                                             9   fees, decreased monetization because viewers are diverted to Defendants’ site, and
                                                                                            10   reputational harm. Defendant may not continue to exploit Jukin’s video
                                                                                            11   compositions without authorization. Defendant’s conduct must immediately be
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12   stopped and Jukin must be compensated for its willful acts of infringement.
                                                    LOS ANG ELES, CA 90067
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                                                                                            13            179. As a direct and proximate result of the foregoing acts and conduct,
                                                                             310-229-9900




                                                                                            14   Jukin has sustained and will continue to sustain substantial, immediate, and
                                                                                            15   irreparable injury, for which there is no adequate remedy at law. Jukin is informed
                                                                                            16   and believes, and on that basis avers, that unless enjoined and restrained by this
                                                                                            17   Court, Defendant will continue to infringe Jukin’s rights in Jukin’s videos. Jukin
                                                                                            18   Media is entitled to preliminary and permanent injunctive relief to restrain and
                                                                                            19   enjoin Defendant’s continuing infringing conduct.
                                                                                            20                                  PRAYER FOR RELIEF
                                                                                            21            WHEREFORE, Jukin prays for judgment against Defendant as follows:
                                                                                            22            A.    For damages, or statutory damages, in amount to be determined at
                                                                                            23   trial;
                                                                                            24            B.    For an accounting of Defendant’s profits attributable to its
                                                                                            25   infringements of Jukin’s copyright in the Original Videos;
                                                                                            26            C.    For a preliminary and permanent injunction prohibiting Defendant,
                                                                                            27   and its respective agents, servants, employees, officers, successors, licensees and
                                                                                            28   assigns, and all persons acting in concert or participation with them, from
                                                                                                                                            166
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                                                                                             1   continuing to infringe Jukin’s copyrights in the Original Videos;
                                                                                             2          D.     For prejudgment interest according to law;
                                                                                             3          E.     For Jukin’s reasonable attorneys’ fees and costs incurred in this
                                                                                             4   action; and
                                                                                             5          F.     For such other and further relief as the Court may deem just and
                                                                                             6   proper.
                                                                                             7

                                                                                             8    Dated: January 13, 2017                   VENABLE LLP
                                                                                             9
                                                                                                                                            By: /s/ Tamany Vinson Bentz
                                                                                            10                                                 Douglas C. Emhoff
                                                                                            11                                                 Tamany Vinson Bentz
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                                                               Matthew J. Busch
                                                                                            12                                                 Attorneys for Plaintiff Jukin Media,
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                            13                                                 Inc.
                                                                             310-229-9900




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                                                                                            17
                                                                                                                            DEMAND FOR JURY TRIAL
                                                                                            18
                                                                                                        Plaintiff Jukin Media, Inc. hereby demands a trial by jury for all issues to
                                                                                            19
                                                                                                 which it is so entitled.
                                                                                            20

                                                                                            21
                                                                                                  Dated: January 13, 2017                   VENABLE LLP
                                                                                            22
                                                                                                                                            By: /s/ Tamany Vinson Bentz
                                                                                            23
                                                                                                                                               Douglas C. Emhoff
                                                                                            24                                                 Tamany Vinson Bentz
                                                                                                                                               Matthew J. Busch
                                                                                            25
                                                                                                                                               Attorneys for Plaintiff Jukin Media,
                                                                                            26                                                 Inc.
                                                                                            27

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